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                        UNITED STATES DISTRICT COURT
15                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16                                (San Diego)

17 AL OTRO LADO, Inc., et al.,                       Case No. 3:17-cv-02366-BAS-KSC
18                              Plaintiffs,
                                                     Hon. Cynthia A. Bashant
19                         v.
20 Kevin K. McALEENAN, Acting Secretary DEFENDANTS’ ANSWER TO
   of Homeland Security; Mark A. MORGAN, PLAINTIFFS’ SECOND AMENDED
21                                           COMPLAINT
   Acting Commissioner, U.S. Customs and
22 Border Protection; and Todd C. OWEN, Ex-
23 ecutive Assistant Commissioner, Office of
   Field Operations, U.S. Customs and Border
24 Protection; in their official capacities,
25                             Defendants*
26
27    *
       Acting Secretary McAleenan and Acting Commissioner Morgan are automatically
28    substituted for their predecessors in office pursuant to Federal Rule of Civil Proce-
      dure 25(d).
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1         DEFENDANTS’ ANSWER TO PLAINTIFFS’ SECOND AMENDED
2                           COMPLAINT

3           Defendants hereby answer the allegations in Plaintiffs’ Second Amended

4     Complaint (ECF No. 189) (“SAC”). Defendants generally deny all allegations ex-

5     cept those specifically admitted. Defendants’ inclusion of the text, headings, and

6     footnotes of Plaintiffs’ allegations is done solely for the convenience of the Court

7     and the parties and should not be understood as either an admission of or agreement

8     with those allegations.

9                                     I. INTRODUCTION

10          1.     Class Plaintiffs are noncitizens who have fled grave harm in their coun-
11    tries to seek protection in the United States. All of them sought to access the U.S.
12    asylum process by presenting themselves at official ports of entry (“POEs,” or indi-
13    vidually, “POE”) along the U.S.-Mexico border, but were denied such access by or
14    at the instruction of U.S. Customs and Border Protection (“CBP”) officials pursuant
15    to a policy initiated by Defendants or practices effectively ratified by Defendants in
16    contravention of U.S. and international law.
17          Answer: Defendants admit that the individual Plaintiffs in this action are not
18    citizens of the United States. Defendants admit that the individual Plaintiffs seek to
19    represent a class, but deny that any class has been certified in this action. Defendants
20    lack knowledge or information sufficient to form a belief as to the truth of the alle-
21    gations that each individual Plaintiff fled grave harm in his or her country to seek
22    protection in the United States. Defendants admit that some, but not all, individual
23    Plaintiffs presented themselves within ports of entry along the U.S.-Mexico border,
24    were found to be inadmissible, and asserted an intention to apply for asylum or a
25    fear of persecution. Defendants deny that they have “denied” the individual Plaintiffs
26    “access” to the asylum process. Defendants deny any remaining allegations in this
27    paragraph.
28
            2.     Since 2016 and continuing to this day, CBP has engaged in an unlawful,

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1     widespread pattern and practice of denying asylum seekers access to the asylum pro-
2     cess at POEs on the U.S.-Mexico border through a variety of illegal tactics. These
3     tactics include lying; using threats, intimidation and coercion; employing verbal
4     abuse and applying physical force; physically obstructing access to the POE build-
5     ing; imposing unreasonable delays before granting access to the asylum process;
6     denying outright access to the asylum process; and denying access to the asylum
7     process in a racially discriminatory manner. Since the presidential election, CBP
8     officials have, for example, misinformed asylum seekers that they could not apply
9     for asylum because “Donald Trump just signed new laws saying there is no asylum
10    for anyone,” coerced asylum seekers into signing forms abandoning their asylum
11    claims by threatening to take their children away, threatened to deport asylum seek-
12    ers back to their home countries (where they face persecution) if they persisted in
13    their attempts to seek asylum, and even forcefully removed asylum seekers from
14    POEs. In March 2018, four Guatemalan asylum seekers at an El Paso POE, were
15    denied access to the asylum process after CBP officials told them that “Guatemalans
16    make us sick.” As recently as September 2018, CBP denied access to an asylum
17    seeker who was four months pregnant and a victim of sexual violence. These prac-
18    tices all violate U.S. law, which requires that asylum seekers “shall” have access to
19    the asylum process.
20          Answer: Defendants deny the allegations in the first sentence of this para-
21    graph. With respect to the allegations in the second sentence of this paragraph, De-
22    fendants deny that CBP has sanctioned the use of lying, threats, intimidation, coer-
23    cion, verbal abuse, outright denial of access to the asylum process, or denial of ac-
24    cess to the asylum process in a racially discriminatory manner. Defendants admit
25    that CBP officers are permitted to lawfully use physical force according to agency
26    policy, but deny that they have sanctioned the use of physical force as part of an
27    unlawful, widespread pattern and practice of denying asylum seekers access to the
28    asylum process at ports of entry along the U.S.-Mexico border. Defendants admit

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1     that they have used physical access controls at the border, but deny that such physical
2     access controls are illegal or done for the purpose of denying anyone access to the
3     asylum process. Defendants admit that CBP officers at ports of entry have at times
4     instructed aliens without entry documents to wait in Mexican territory until the port
5     has capacity to process them for admission, but deny that any delays are unreasona-
6     ble or unlawful. With respect to the allegations in the third sentence of this para-
7     graph, Defendants are aware of at least one occasion where CBP officers forcibly
8     removed individuals from a port of entry without properly processing them, but state
9     that such conduct is and was against agency policy; Defendants lack knowledge or
10    information sufficient to form a belief as to the remaining allegations in the third
11    sentence. Defendants deny the allegations in the fourth sentence of this paragraph.
12    Defendants lack knowledge or information sufficient to form a belief as to the alle-
13    gations in the fifth sentence of this paragraph. With respect to the allegations in the
14    sixth sentence of this paragraph, Defendants admit that certain of this conduct runs
15    afoul of CBP’s statutory duty to process certain aliens’ applications for admission,
16    but deny that “all” such conduct violates U.S. law.
17
            3.     In addition, beginning around 2016, high-level CBP officials, under the
18
      direction or with the knowledge or authorization of the named Defendants (the “De-
19
      fendants”), adopted a formal policy to restrict access to the asylum process at POEs
20
      by mandating that lower-level officials directly or constructively turn back asylum
21
      seekers at the border (the “Turnback Policy”) contrary to U.S. law. In accordance
22
      with the Turnback Policy, CBP officials have used and are continuing to use various
23
      methods to unlawfully deny asylum seekers access to the asylum process based on
24
      purported—but ultimately untrue—assertions that there is a lack of “capacity” to
25
      process them. These methods include coordinating with Mexican immigration au-
26
      thorities and other third parties to implement a “metering,” or waitlist, system that
27
28

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1     creates unreasonable and life-threatening delays in processing asylum seekers; in-
2     structing asylum seekers to wait on the bridge, in the pre-inspection area, or at a
3     shelter until there is adequate space at the POE; or simply asserting to asylum seekers
4     that they cannot be processed because the POE is “full” or “at capacity.” On infor-
5     mation and belief, the claims of a lack of capacity are false.
6           Answer: Defendants deny the allegations in the first sentence of this para-
7     graph. With respect to the remaining allegations in this paragraph, Defendants admit
8     that metering or queue management practices are implemented to ensure that a port
9     has sufficient capacity to safely and securely process all travelers and to temporarily
10    hold those found to be inadmissible. Defendants deny that CBP’s assertions of a lack
11    of capacity are untrue. Defendants admit that they have at times communicated with
12    Mexican government officials or other third parties regarding the ports’ capacities
13    to process aliens without entry documents. Defendants deny any remaining allega-
14    tions in this paragraph.
15
            4.     Both Defendants’ widespread practice of denying access to the asylum
16
      process and their formal Turnback Policy are designed to serve the Trump admin-
17
      istration’s broader, publicly proclaimed goal of deterring individuals from seeking
18
      access to the asylum process. Rather than changing existing law, the Administration
19
      is simply not following it. The Turnback Policy also reflects the Trump administra-
20
      tion’s significant antipathy to the fundamental humanitarian principles embodied in
21
      asylum laws, as well as to the Central and South American populations seeking ac-
22
      cess to the asylum process in the United States.
23
            Answer: Defendants deny the allegations in this paragraph.
24
25          5.     In the spring of 2018, and in response to the anticipated arrival of a
26    sizeable number of asylum seekers who had traveled together on the dangerous jour-
27    ney North in a so-called “caravan,” high-level Trump administration officials pub-
28    licly and unambiguously proclaimed the existence of their policy to intentionally

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1     restrict access to the asylum process at POEs in violation of U.S. law. Attorney Gen-
2     eral Jefferson B. Sessions pledged that asylum seekers would not “stampede” our
3     borders and announced a related “Zero Tolerance” policy to prosecute all who enter
4     the country unlawfully, and thereby to separate them from their children (the very
5     threat a number of Plaintiffs received when attempting to seek asylum). Around the
6     same time, United States Department of Homeland Security (“DHS”) Secretary
7     Kirstjen Nielsen characterized the asylum process—mandated by U.S. statute and
8     international law—as a legal “loophole” and publicly announced a “metering” pro-
9     cess designed to restrict—and to constructively deny—access to the asylum process
10    through unreasonable and dangerous delay.
11          Answer: Defendants deny the allegations in the first sentence of this para-
12    graph. Defendants deny that former Attorney General Jeff Sessions’ May 7, 2018
13    statement refers to Defendants’ metering/queue management practices at ports of
14    entry along the U.S.-Mexico border and aver that the statement speaks for itself.
15    Defendants deny that former Secretary of Homeland Security Kirstjen Nielsen’s
16    May 15, 2018 statement reflects a “design[]” to restrict or deny access to the asylum
17    process and aver that the statement speaks for itself. Defendants deny any remaining
18    allegations in this paragraph.
19
            6.     Indeed, President Trump offered a public, full-throated and racially dis-
20
      criminatory defense of his administration’s aggressive implementation of the Turn-
21
      back Policy and the related, widespread CBP practice of denying access to the asy-
22
      lum process, by referring to asylum seekers as “criminals” and “animals” seeking to
23
      “infest” and “invade” the United States, and by specifically stating, via tweet, that
24
      the United States “must bring them back from where they came” and must “escort
25
      them back without going through years of legal maneuvering.”
26
            Answer: Defendants deny Plaintiffs’ characterization of the President’s cited
27
      statements and aver that those statements speak for themselves. Defendants deny
28

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1     any remaining allegations in this paragraph.
2
            7.     Soon afterward, CBP officials implemented the Turnback Policy
3
      through a tactic of asserting a “lack of capacity” to process asylum-seekers and by
4
      coordinating with Mexican officials to prevent or delay asylum seekers from reach-
5
      ing inspection points at POEs, even as CBP officials knew or should have known of
6
      the dangerous conditions of rampant crime and violence by gangs and cartels on the
7
      Mexican side of the border. The unreasonable delays imposed on asylum seekers—
8
      which are done pursuant to the Trump administration’s broader goal of deterring
9
      future asylum seekers from presenting at the border at all—also amount to a con-
10
      structive denial of access to the asylum process.
11
            Answer: Defendants deny that CBP has implemented a “Turnback Policy,”
12
      and aver instead that CBP has issued guidance permitting ports of entry along the
13
      U.S.-Mexico border to implement metering procedures based on their operational
14
      capacities when necessary or appropriate to facilitating orderly processing and main-
15
      taining the security of the port and safe and sanitary conditions for the traveling
16
      public. See Ex. 1, Memorandum from Todd C. Owen, Executive Assistant Commis-
17
      sioner, Office of Field Operations, to the Directors of Field Operations for El Paso,
18
      Laredo, San Diego, and Tucson (Apr. 27, 2018) (“Owen Memo”). Defendants deny
19
      any remaining allegations in this paragraph.
20
21          8.     As detailed more fully below, the Turnback Policy comes from high-
22    level U.S. government officials and is having the intended effect of severely restrict-
23    ing—and constructively denying—access to the asylum process at POEs. Indeed, an
24    October 2018 report by DHS’s Office of Inspector General (“OIG”) concluded that
25    CBP has been “regulating the flow of asylum-seekers at ports of entry,” and that by
26    limiting the volume of asylum seekers entering at POEs, the government has
27    prompted some individuals “who would otherwise seek legal entry into the United
28

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1     States to cross the border illegally.”1
2              Answer: Defendants deny the allegations in the first sentence of this para-
3     graph. Defendants deny that Plaintiffs’ characterization of the cited OIG Report is
4     accurate and aver that the Report speaks for itself. Defendants deny any remaining
5     allegations in this paragraph.
6
               9.    Many desperate asylum seekers, faced with the consequences of the
7
      Turnback Policy and unlawful CBP practices, have felt compelled to enter the
8
      United States outside of POEs, often by swimming across the Rio Grande or paying
9
      smugglers exorbitant sums to transport them, to reach safety as quickly as possible.
10
               Answer: Defendants deny that they have implemented a “Turnback Policy”
11
      or have sanctioned unlawful practices. Defendants lack knowledge or information
12
      sufficient to form a belief as to the truth of the remaining allegations in this para-
13
      graph.
14
15             10.   On information and belief, CBP’s conduct pursuant to the Turnback
16    Policy and other unlawful practices were and continue to be performed at the insti-
17    gation, under the control or authority of, or with the direction, knowledge, consent
18    or acquiescence of Defendants. By refusing to follow the law, Defendants have
19    caused, and will continue to cause, Class Plaintiffs and Al Otro Lado concrete and
20    demonstrable injuries and irreparable harm.
21             Answer: With respect to the allegations in the first sentence of this paragraph,
22    Defendants deny that they have implemented a “Turnback Policy” or that CBP has
23    sanctioned the use of unlawful practices. Defendants admit that they are aware of
24    the ports’ metering/queue management practices, but deny that such practices are
25
26    1
        U.S. Dep’t of Homeland Sec., Office of the Inspector Gen., OIG-18-84, Special
27    Review – Initial Observations Regarding Family Separation Issues Under the Zero
28    Tolerance Policy 5–6 (2018), https://www.oig.dhs.gov/sites/default/files/as-
      sets/2018-10/OIG-18-84-Sep18.pdf [hereinafter OIG Report].

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1     unlawful. With respect to the allegations in the second sentence of this paragraph,
2     Defendants deny that they are “refusing to follow the law.” Defendants lack
3     knowledge or information sufficient to form a belief as to the truth of the allegations
4     that Defendants have caused the individual Plaintiffs and Al Otro Lado any injuries
5     or harm.
6
            11.    Each of the Class Plaintiffs has been subject to Defendants’ pattern and
7
      practice of denying access to the asylum process and/or to the Turnback Policy.
8
            Answer: Defendants deny that they have implemented a “Turnback Policy”
9
      or a “pattern and practice of denying access to the asylum process” and therefore
10
      deny the allegations in this paragraph.
11
12          12.    Defendants have deprived Class Plaintiffs and similarly situated indi-
13    viduals of their statutory and international-law rights to apply for asylum, violated
14    their due process rights under the Fifth Amendment to the United States Constitu-
15    tion, and violated the United States’ obligations under international law to uphold
16    the principle of non-refoulement. Defendants’ Turnback Policy and other unlawful
17    practices also constitute unlawful agency action that should be set aside and enjoined
18    pursuant to the Administrative Procedure Act, 5 U.S.C. § 706. Each Class Plaintiff
19    has attempted to access the asylum process and would seek to do so again, but for
20    Defendants’ systematic, illegal Turnback Policy and other unlawful practices at is-
21    sue in this action, which have impeded their access.
22          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
23    response is required. To the extent the Court requires a response, Defendants deny
24    the allegations in this paragraph.
25
            13.    Defendants have caused injury to Plaintiff Al Otro Lado by frustrating
26
      its ability to advance and maintain its central institutional mission and forcing the
27
      organization to divert substantial portions of its limited time and resources away
28

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1     from its various programs in Los Angeles, California, and Tijuana, Mexico, to coun-
2     teract the effects of the Turnback Policy and Defendants’ other unlawful practices.
3           Answer: Defendants lack knowledge or information sufficient to form a be-
4     lief as to the truth of the allegations in this paragraph.
5
            14.    Despite persistent advocacy by Al Otro Lado and other advocates, and
6
      despite Class Plaintiffs’ desperate need and right to seek asylum without delay in the
7
      United States, CBP shows no signs of abating its illegal policy and practices. Ac-
8
      cordingly, Al Otro Lado and Class Plaintiffs require the intervention of this Court to
9
      declare that Defendants’ conduct violates U.S. and international law, to enjoin De-
10
      fendants from continuing to violate the law, and to order Defendants to implement
11
      procedures to ensure effective compliance with the law, including, without limita-
12
      tion, oversight and accountability in the inspection and processing of asylum seek-
13
      ers. Absent the Court’s intervention, CBP’s unlawful conduct will continue to im-
14
      peril the lives and safety of countless vulnerable asylum seekers.
15
            Answer: Defendants deny the allegations in this paragraph.
16
17                             II. JURISDICTION AND VENUE
18          15.    This Court has subject matter jurisdiction pursuant to 28 U.S.C.
19    §§ 1331, 1346, and 1350. Defendants have waived sovereign immunity for purposes
20    of this suit pursuant to 5 U.S.C. § 702. The Court has authority to grant declaratory
21    relief under 28 U.S.C. §§ 2201 and 2202.
22          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
23    response is required. To the extent the Court requires a response, Defendants deny
24    the allegations in this paragraph.
25
            16.    Venue is proper in this district under 28 U.S.C. § 1391(e) because a
26
      substantial part of the events or omissions giving rise to the claim occurred at or in
27
      the vicinity of the San Ysidro POE. All Defendants are sued in their official capacity.
28

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1           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
2     response is required. To the extent the Court requires a response, Defendants admit
3     that all Defendants are sued in their official capacities. Defendants deny the remain-
4     ing allegations in this paragraph.
5
                                           III. PARTIES
6
      A.    Plaintiffs
7
            17.    Plaintiff Al Otro Lado is a non-profit, non-partisan organization incor-
8
      porated in California and established in 2014. Al Otro Lado is a legal services or-
9
      ganization serving indigent deportees, migrants, refugees and their families, princi-
10
      pally in Los Angeles, California, and Tijuana, Mexico. Al Otro Lado’s mission is to
11
      coordinate and to provide screening, advocacy, and legal representation for individ-
12
      uals in asylum and other immigration proceedings, to seek redress for civil rights
13
      violations, and to provide assistance with other legal and social service needs. De-
14
      fendants have frustrated Al Otro Lado’s mission and have forced Al Otro Lado to
15
      divert significant resources away from its other programs to counteract CBP’s illegal
16
      practice of turning back asylum seekers at POEs.
17
            Answer: Defendants admit that Al Otro Lado, Inc., is a non-profit corporation
18
      incorporated in California in 2014. Defendants presently lack knowledge or infor-
19
      mation sufficient to form a belief as to the truth of the remaining allegations in this
20
      paragraph.
21
22          18.    Through its Border Rights Project in Tijuana, Mexico, Al Otro Lado
23    assists individuals seeking protection from persecution in the United States. In re-
24    sponse to CBP’s unlawful policy and practices, Al Otro Lado has had to expend
25    significant organizational time and resources and alter entirely its previously used
26    large-scale clinic model. For example, Al Otro Lado previously held large-scale,
27    mass-advisal legal clinics in Tijuana that provided a general overview on asylum
28

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1     laws and procedures. This type of assistance (similar to the Legal Orientation Pro-
2     gram of the Executive Office for Immigration Review) only was workable when
3     CBP allowed asylum seekers into the United States in accordance with the law.
4           Answer: Defendants presently lack knowledge or information sufficient to
5     form a belief as to the truth of the allegations in this paragraph.
6
            19.    Since 2016, however, CBP’s illegal conduct has compelled Al Otro
7
      Lado to expend significant time and resources to send representatives to Tijuana
8
      from Los Angeles multiple times per month for extended periods to provide more
9
      individualized assistance and coordination of legal and social services, including in-
10
      dividual screenings and in-depth trainings to educate volunteer attorneys and asylum
11
      seekers regarding CBP’s unlawful policy and practices and potential strategies to
12
      pursue asylum in the face of CBP’s tactics. Whereas Al Otro Lado previously was
13
      able to accommodate several dozen attorneys and over 100 clients at a time in its
14
      large-scale clinics, Al Otro Lado has been forced to transition to an individualized
15
      representation model where attorneys are required to work with asylum seekers one-
16
      on-one and provide direct representation. Al Otro Lado has expended (and continues
17
      to expend) significantly more resources recruiting, training and mentoring pro bono
18
      attorneys to help counteract CBP’s unlawful policy and practices. Nevertheless, even
19
      asylum seekers provided with such individualized pro bono representation are being
20
      turned back by CBP in violation of the law.
21
            Answer: Defendants presently lack knowledge or information sufficient to
22
      form a belief as to the truth of the allegations in this paragraph.
23
24          20.    Al Otro Lado also has spent time and resources advocating that CBP
25    provide asylum seekers with access to the asylum process and cease using unlawful
26    tactics to circumvent its legal obligations. For example, Al Otro Lado representatives
27    have filed numerous complaints with the U.S. government detailing examples of
28

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1     CBP’s unlawful policy and practices depriving asylum seekers of access to the asy-
2     lum process.
3           Answer: Defendants presently lack knowledge or information sufficient to
4     form a belief as to the truth of the allegations in the first sentence of this paragraph.
5     With respect to the allegations in the second sentence of this paragraph, Defendants
6     admit only that at least one individual associated with Al Otro Lado has filed com-
7     plaints with DHS relating to CBP officers’ alleged actions at land ports of entry
8     along the U.S.-Mexico border.
9
            21.      Such diversion of Al Otro Lado’s time and resources negatively im-
10
      pacts its other programs. For example, Al Otro Lado has not been able to pursue
11
      funding for or otherwise advance the following programs: (1) its Deportee Reinte-
12
      gration Program through which Al Otro Lado assists deportees who struggle to sur-
13
      vive in Tijuana, many of whom have no Mexican identity documents or health cov-
14
      erage, and may not even speak Spanish; and (2) its Cross-Border Family Support
15
      Program through which Al Otro Lado assists families with cross-border custody is-
16
      sues, and helps connect family members residing in the United States to social, legal,
17
      medical and mental health services. Al Otro Lado has all but ceased its programmatic
18
      work with deportees and families separated by deportation due to the diversion of
19
      resources caused by CBP's unlawful actions.
20
            Answer: Defendants presently lack knowledge or information sufficient to
21
      form a belief as to the truth of the allegations in this paragraph.
22
23          22.      In addition, the constraints on Al Otro Lado’s limited time and re-
24    sources have negatively impacted its operations in Los Angeles, including delaying
25    the opening and expansion of its Los Angeles office through which it coordinates
26    “Wraparound” services for low-income immigrants in Los Angeles. The increased
27    need for on-the-ground support in Tijuana has impacted Al Otro Lado’s ability to
28    satisfy its clinical obligations for low-income immigrants at the Wellness Center,

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1     located on the grounds of the Los Angeles County+USC Medical Center, and to
2     conduct outreach to provide free legal assistance to homeless individuals in Los An-
3     geles to allow them to better access permanent supportive housing, employment and
4     educational opportunities.
5           Answer: Defendants presently lack knowledge or information sufficient to
6     form a belief as to the truth of the allegations in this paragraph.
7
            23.    Al Otro Lado continues to be harmed by Defendants because CBP’s
8
      illegal conduct at or in the vicinity of the border frustrates its organizational mission
9
      and forces Al Otro Lado to divert resources from its other objectives. If Al Otro Lado
10
      had not been compelled to divert resources to address CBP’s unlawful conduct at
11
      the U.S.-Mexico border, it would have directed these resources toward its other pro-
12
      grams to further the advancement of its core mission.
13
            Answer: Defendants presently lack knowledge or information sufficient to
14
      form a belief as to the truth of the allegations in this paragraph.
15
16          24.    Plaintiff Abigail Doe is a female native and citizen of Mexico. She is
17    the mother of two children under the age of ten.2 Abigail and her family have been
18    targeted and threatened with death or severe harm in Mexico by a large drug cartel
19    that had previously targeted her husband, leaving her certain she would not be pro-
20    tected by local officials. Abigail fled with her two children to Tijuana, where they
21    presented themselves at the San Ysidro POE. On behalf of herself and her children,
22    Abigail expressed her fear of returning to Mexico and her desire to seek asylum in
23    the United States. CBP officials coerced Abigail into recanting her fear and signing
24    a form withdrawing her application for admission to the United States. As a result
25    of this coercion, the form falsely states that Abigail does not have a credible fear of
26    returning to Mexico. As a result of Defendants’ conduct, Abigail and her children
27
      2
28     The ages listed for children of Abigail Doe, Beatrice Doe, Carolina Doe, and Di-
      nora Doe are as they were at the time the initial Complaint was filed.

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1     were unable to access the asylum process and were forced to return to Tijuana, where
2     at the time the initial Complaint was filed, they remained in fear for their lives. Fol-
3     lowing the filing of the initial Complaint in this case, Defendants made arrangements
4     to facilitate the entry of Abigail and her children into the United States.
5           Answer: Defendants admit the allegations in the first, second, and last sen-
6     tences of this paragraph. With respect to the third through seventh sentences of this
7     paragraph, Defendants admit that CBP officers encountered Abigail and her children
8     inside the San Ysidro port of entry on May 24, 2017. Defendants aver that Abigail
9     did not have entry documents and that she told CBP officers that she wanted to go
10    live with family in San Clemente, California. Defendants admit that Abigail signed
11    a Form I-275, Withdrawal of Application for Admission/Consular Notification, on
12    May 24, 2017, which has the legal effect of withdrawing her application for admis-
13    sion. Defendants deny that they coerced Abigail into signing this document. Defend-
14    ants admit that the Form I-275 is written in English, but aver that Abigail’s pro-
15    cessing was conducted in Spanish. Defendants deny all remaining allegations in this
16    paragraph.
17
            25.    Plaintiff Beatrice Doe is a female native and citizen of Mexico. She is
18
      the mother of three children under the age of sixteen. Beatrice and her family have
19
      been targeted and threatened with death or severe harm in Mexico by a dangerous
20
      drug cartel; she was also subject to severe domestic violence. Beatrice fled with her
21
      children and her nephew to Tijuana, where they presented themselves once at the
22
      Otay Mesa POE and twice at the San Ysidro POE. On behalf of herself and her
23
      children, Beatrice expressed her fear of returning to Mexico and her desire to seek
24
      asylum in the United States. CBP officials coerced Beatrice into recanting her fear
25
      and signing a form withdrawing her application for admission to the United States.
26
      As a result of this coercion, the form falsely states that Beatrice and her children
27
      have no fear of returning to Mexico. As a result of Defendants’ conduct, Beatrice
28

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1     and her children were unable to access the asylum process and were forced to return
2     to Tijuana, where at the time the initial Complaint was filed, they remained in fear
3     for their lives. While she was sheltered in Tijuana, her abusive spouse located her
4     and coerced her and her children to return home with him.
5           Answer: Defendants admit the allegations in the first two sentences of this
6     paragraph. Defendants lack knowledge or information sufficient to form a belief as
7     to the truth of the allegations in the third sentence of this paragraph. With respect to
8     the fourth through eighth sentences of this paragraph, Defendants admit that CBP
9     officers encountered Beatrice and her children inside the San Ysidro port of entry on
10    May 25, 2017. Defendants aver that Beatrice did not have entry documents, and that
11    she stated that she wanted a work permit to enter the United States and live in San
12    Diego. Defendants aver that Beatrice expressed no fear of returning to Mexico and
13    requested to voluntarily return to Mexico, which CBP permitted. Defendants aver
14    that Beatrice’s processing was conducted in Spanish. Defendants deny that they co-
15    erced Beatrice into withdrawing her application for admission. Defendants deny the
16    remaining allegations in this paragraph.
17
            26.    Plaintiff Carolina Doe is a female native and citizen of Mexico. She is
18
      the mother of three children. Carolina’s brother-in-law was kidnapped and dismem-
19
      bered by a dangerous drug cartel in Mexico, and after the murder, her family also
20
      was targeted and threatened with death or severe harm. Carolina fled with her chil-
21
      dren to Tijuana, where they presented themselves at the San Ysidro, POE. On behalf
22
      of herself and her children, Carolina expressed her fear of returning to Mexico and
23
      her desire to seek asylum in the United States. CBP officials coerced Carolina into
24
      recanting her fear on video and signing a form withdrawing her application for ad-
25
      mission to the United States. As a result of this coercion, the form falsely states that
26
      Carolina and her children have no fear of returning to Mexico. As a result of De-
27
28

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1     fendants’ conduct, Carolina and her children were unable to access the asylum pro-
2     cess and were forced to return to Tijuana, where at the time the initial Complaint
3     was filed, they remained in fear for their lives. Following the filing of the initial
4     Complaint in this case, Defendants made arrangements to facilitate the entry of Car-
5     olina and her children into the United States.
6           Answer: Defendants admit the allegations in the first two sentences and the
7     last sentence of this paragraph. Defendants lack knowledge or information sufficient
8     to form a belief as to the truth of the allegations in the third sentence of this para-
9     graph. With respect to the fourth through eighth sentences of this paragraph, De-
10    fendants admit that CBP officers encountered Carolina and her children inside the
11    San Ysidro port of entry on May 17, 2017. Defendants aver that Carolina did not
12    have entry documents, and that she stated that she was coming from Guerrero, Mex-
13    ico, and wanted to live in the Portland, Oregon area with family. Defendants admit
14    that Carolina signed a Form I-275, Withdrawal of Application for Admission/Con-
15    sular Notification, on May 18, 2017, which has the legal effect of withdrawing her
16    application for admission. Defendants admit that the Form I-275 is written in Eng-
17    lish, but aver that Carolina’s processing was conducted in Spanish. Defendants deny
18    that they coerced Carolina into withdrawing her application for admission. Defend-
19    ants lack knowledge or information sufficient to form a belief as to the truth of the
20    remaining allegations in this paragraph.
21
            27.    Plaintiff Dinora Doe is a female native and citizen of Honduras. Dinora
22
      and her eighteen-year-old daughter have been targeted, threatened with death or se-
23
      vere harm, and repeatedly raped by MS-13 gang members. Dinora fled with her
24
      daughter to Tijuana, where they presented themselves at the Otay Mesa, POE on
25
      three occasions. Dinora expressed her fear of returning to Honduras and her desire
26
      to seek asylum in the United States. CBP officials misinformed Dinora about her
27
      rights under U.S. law and denied her the opportunity to access the asylum process.
28

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1     As a result of Defendants’ conduct, Dinora and her daughter were forced to return
2     to Tijuana, where at the time the initial Complaint was filed, they remained in fear
3     for their lives. Following the filing of the initial Complaint in this case, Defendants
4     made arrangements to facilitate the entry of Dinora and her daughter into the United
5     States.
6           Answer: Defendants admit the allegations in the first and last sentences of
7     this paragraph. Defendants lack knowledge or information sufficient to form a belief
8     as to the truth of the remaining allegations in this paragraph.
9
            28.    Plaintiff Ingrid Doe is a female native and citizen of Honduras. At the
10
      time the initial Complaint was filed, she had two children and was pregnant with her
11
      third child. Ingrid’s mother and three siblings were murdered by 18th Street gang
12
      members in Honduras. After the murders, 18th Street gang members threatened to
13
      kill Ingrid. Ingrid and her children were also subject to severe domestic violence.
14
      Ingrid fled with her children to Tijuana, where they presented themselves at the Otay
15
      Mesa POE and at the San Ysidro POE. On behalf of herself and her children, Ingrid
16
      expressed her fear of returning to Honduras and her desire to seek asylum in the
17
      United States. CBP officials misinformed Ingrid about her rights under U.S. law and
18
      denied her the opportunity to access the asylum process. As a result of Defendants’
19
      conduct, Ingrid and her children were forced to return to Tijuana, where at the time
20
      the initial Complaint was filed, they remained in fear for their lives. Following the
21
      filing of the initial Complaint in this case, Defendants made arrangements to facili-
22
      tate the entry of Ingrid and her children into the United States.
23
            Answer: Defendants admit the allegations in the first two sentences and the
24
      last sentence of this paragraph. Defendants lack knowledge or information sufficient
25
      to form a belief as to the truth of the remaining allegations in this paragraph.
26
27          29.    Plaintiff Roberto Doe is a male native and citizen of Nicaragua. Fearing
28    for his life and the lives of his family members, Roberto fled Nicaragua due to threats

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1     of violence from the Nicaraguan government and paramilitaries allied with the gov-
2     ernment. Roberto sought access to the asylum process by presenting himself at the
3     Hidalgo, Texas POE. When he encountered CBP officials in the middle of the
4     bridge, he told them that he wanted to seek asylum in the United States. CBP offi-
5     cials denied Roberto access to the asylum process by telling him the POE was full
6     and that he could not enter. Mexican officials then escorted Roberto back to Mexico.
7     At the time of the filing of the First Amended Complaint, Roberto desired to return
8     immediately to the Hidalgo POE to seek asylum, but based on his experiences and
9     the experiences of others with CBP’s practices at the U.S.-Mexico border, he under-
10    stood that he would likely be turned away again. After the filing of the First
11    Amended Complaint, Roberto did return to the Hidalgo POE, where Mexican offi-
12    cials detained him as he was walking onto the international bridge to seek access to
13    the asylum process in the United States. Roberto remains in the custody of the Mex-
14    ican government. On information and belief, his refoulement to Nicaragua is immi-
15    nent. He can no longer remain in Mexico and has no place else to turn for safety but
16    the United States.
17          Answer: Defendants admit the allegations in the first sentence of this para-
18    graph. Defendants lack knowledge or information sufficient to form a belief as to
19    the truth of the remaining allegations in this paragraph.
20
            30.    Plaintiff Maria Doe is a female native and citizen of Guatemala and a
21
      permanent resident of Mexico. She was married to a Mexican citizen, with whom
22
      she has two children who were both born in Mexico. Since Maria left her husband,
23
      who was abusive and is involved with cartels, two different cartels have been track-
24
      ing and threatening her. Maria and her children fled and sought access to the asylum
25
      process by presenting themselves at the Laredo, Texas POE. When Maria encoun-
26
      tered CBP officials in the middle of the bridge, she told them that she and her chil-
27
      dren wanted to seek asylum in the United States. CBP officials told them to wait on
28

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1     the Mexican side of the bridge. There, two Mexican officials told Maria that U.S.
2     officials would not let her and her children cross the bridge, but that they could help
3     her if she paid a bribe. Having no money to pay the bribe, Maria traveled with her
4     children to Reynosa, Mexico. There, accompanied by an American lawyer, they
5     sought access to the asylum process by presenting themselves at the Hidalgo POE.
6     On the Mexican side of the bridge leading to the Hidalgo POE, a Mexican official
7     threatened to destroy Maria’s identity documents if she and her children did not leave
8     the bridge. Two weeks later, Maria and her children, accompanied by the same
9     American lawyer, again sought access to the asylum process by presenting them-
10    selves at the Hidalgo POE. When Maria encountered CBP agents at the middle of
11    the bridge, she told them that she and her children wanted to seek asylum in the
12    United States. Mexican officials then forced Maria and her children off the bridge.
13    Although Maria and her lawyer repeatedly told CBP officials that she and her chil-
14    dren wanted to seek asylum in the United States, the CBP officials denied Maria and
15    her children access to the asylum process. At the time the First Amended Complaint
16    was filed, Maria and her children desired to return immediately to a POE to seek
17    asylum, but based on their experience and the experiences of others with CBP’s
18    practices at the U.S.-Mexico border, she understood that they would likely be turned
19    away again. Maria and her children remained in Mexico, where their lives were in
20    danger. They could no longer remain in Mexico and had no place else to turn for
21    safety but the United States. Following the filing of the First Amended Complaint in
22    this case, Defendants made arrangements to facilitate the entry of Maria and her
23    children into the United States.
24          Answer: Defendants admit that Maria is a native and citizen of Guatemala
25    and that she is the mother of two minor children who were born in Mexico. Defend-
26    ants admit the allegations in the last sentence of this paragraph. Defendants lack
27    knowledge or information sufficient to form a belief as to the truth of the remaining
28    allegations in this paragraph.

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1           31.    Plaintiff Juan Doe is a male native and citizen of Honduras. Plaintiff
2     Úrsula Doe is a female native and citizen of Honduras. Juan and Úrsula are husband
3     and wife and together have two children, twin thirteen-year-old boys. They fled Hon-
4     duras with their sons after receiving death threats from gangs. Juan, Úrsula, and their
5     children sought access to the asylum process by presenting themselves at the Laredo
6     POE. When Juan, Úrsula, and their children reached the middle of the bridge to the
7     POE, CBP officials denied them access to the asylum process by telling them the
8     POE was closed and that they could not enter. Juan, Úrsula, and their children sub-
9     sequently tried to seek access to the asylum process by presenting themselves at the
10    Hidalgo POE, but Mexican officials stopped them just as they were entering the pe-
11    destrian walkway on the Reynosa bridge and threatened to deport them to Honduras
12    if they did not leave. At the time the First Amended Complaint was filed, Juan, Úr-
13    sula, and their children desired to return immediately to the Hidalgo POE to seek
14    asylum, but based on their experience and the experiences of others with CBP’s
15    practices at the U.S.-Mexico border, they understood that they would likely be
16    turned away again. At that time, Juan, Úrsula, and their children resided in Reynosa,
17    Mexico, where they remained in fear for their lives. They could no longer remain in
18    Mexico and had no place else to turn for safety but the United States. Following the
19    filing of the First Amended Complaint in this case, Defendants made arrangements
20    to facilitate the entry of Juan, Úrsula, and their children into the United States.
21          Answer: Defendants admit the allegations in the first three sentences and the
22    last sentence of this paragraph. Defendants lack knowledge or information sufficient
23    to form a belief as to the truth of the remaining allegations in this paragraph.
24
            32.    Plaintiff Victoria Doe is a sixteen-year old female native and citizen of
25
      Honduras. Victoria has been threatened with severe harm and death by members of
26
      the 18th Street gang for refusing to become the girlfriend of one of the gang’s lead-
27
      ers. Fearing for her life, Victoria fled to Mexico where she gave birth to her son.
28

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1     Victoria and her son sought access to the asylum process by presenting themselves
2     at the San Ysidro POE. When Victoria expressed her desire to seek asylum in the
3     United States, CBP officers denied her access to the asylum process by stating that
4     she could not apply for asylum at that time and telling her to speak to a Mexican
5     official without providing any additional information. At the time the First Amended
6     Complaint was filed, Victoria desired to return immediately to the San Ysidro POE
7     to seek asylum on behalf of herself and her son, but based on her experience and the
8     experience of others with CBP’s practices at the U.S.-Mexico border, she understood
9     that she would likely be turned away again. At that time, Victoria and her son were
10    residing in a shelter in Tijuana, but could no longer remain in Mexico because of
11    threats from gangs who continued to target them in Mexico. They had no place else
12    to turn for safety but the United States. Following the filing of the First Amended
13    Complaint in this case, Defendants made arrangements to facilitate the entry of Vic-
14    toria and her child into the United States.
15          Answer: Defendants admit the allegations in the first and last sentences of
16    this paragraph. Defendants admit that Victoria gave birth to a son in Mexico. De-
17    fendants lack knowledge or information sufficient to form a belief as to the truth of
18    the remaining allegations in this paragraph.
19
            33.    Plaintiff Bianca Doe is a transgender woman who is a native and citizen
20
      of Honduras. Bianca has been subjected to extreme and persistent physical and sex-
21
      ual assault, as well as discrimination and ongoing threats of violence in Honduras
22
      and Mexico City, where she subsequently moved, because she is a transgender
23
      woman. Fearing for her safety based on numerous threats and harassment, including
24
      at the hands of Mexican police, Bianca fled to Tijuana and sought access to the asy-
25
      lum process by presenting herself at the San Ysidro POE. CBP officers denied
26
      Bianca access to the asylum process by stating that she could not apply at that time
27
      because they were at capacity. Bianca returned to the POE the next day. She was
28

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1     given a piece of paper with the number “919,” placed on a waiting list, and told that
2     she would have to wait several weeks to proceed to the POE. Feeling desperate and
3     unsafe, Bianca attempted to enter the United States without inspection by climbing
4     a fence on a beach in Tijuana. Once over the fence, a U.S. Border Patrol officer
5     stopped Bianca, who expressed her desire to seek asylum in the United States. The
6     U.S. Border Patrol officer told Bianca that there was no capacity in U.S. detention
7     centers and threatened to call Mexican police if Bianca did not climb the fence back
8     into Mexico. Terrified, Bianca returned to Mexico. Bianca subsequently sought ac-
9     cess to the asylum process by again presenting herself at the San Ysidro POE. She
10    was told, once again, that CBP had no capacity for asylum seekers. At the time the
11    First Amended Complaint was filed, Bianca desired like to return immediately to the
12    San Ysidro POE to seek asylum, but based on her experience and the experience of
13    others with CBP’s practice at the U.S.-Mexico border, she understood that she would
14    likely be turned away again. At that time, Bianca was residing in a shelter in Tijuana
15    where she feared further violence as a transgender woman. She could no longer re-
16    main in Mexico and had no place else to turn for safety but the United States. Fol-
17    lowing the filing of the First Amended Complaint in this case, Defendants made
18    arrangements to facilitate Bianca’s entry into the United States.
19          Answer: Defendants admit the allegations in the first and last sentences of
20    this paragraph. Defendants lack knowledge or information sufficient to form a belief
21    as to the truth of the remaining allegations in this paragraph.
22
            34.    Plaintiff Emiliana Doe is a transgender woman and a native and citizen
23
      of Honduras. Emiliana was subjected to multiple sexual and physical assaults, kid-
24
      napping, discrimination, as well as threats of severe harm and violence in Honduras
25
      because she is a transgender woman. Fearing for her life, she made an arduous and
26
      dangerous journey to Mexico, where she was raped repeatedly and threatened with
27
      death. After arriving in Tijuana, Emiliana sought access to the asylum process by
28

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1     presenting herself at the San Ysidro POE and stating her intention to apply for asy-
2     lum in the United States. She was given a piece of paper with the number “1014” on
3     it, placed on a waiting list, and told to return in six weeks. Feeling desperate and
4     unsafe, Emiliana returned to the POE just a few weeks later. CBP officers denied
5     Emiliana access to the asylum process by telling her that there was no capacity for
6     asylum seekers and instructing her to wait for Mexican officials. At the time the First
7     Amended Complaint was filed, Emiliana desired like to return immediately to the
8     San Ysidro POE to seek asylum, but based on her past experience with CBP’s prac-
9     tice at the U.S.-Mexico border, she understood that she would likely be turned away
10    again. At that time, Emiliana was residing in a hotel in Tijuana where she feared
11    further violence as a transgender woman. She suffers from serious health issues
12    caused by a stroke two years ago, could no longer remain in Mexico, and had no
13    place else to turn for safety but the United States. Following the filing of the First
14    Amended Complaint in this case, Defendants made arrangements to facilitate Emi-
15    liana’s entry into the United States.
16          Answer: Defendants admit the allegations in the first and last sentences of
17    this paragraph. Defendants lack knowledge or information sufficient to form a belief
18    as to the truth of the remaining allegations in this paragraph.
19
            35.    Plaintiff César Doe is an eighteen-year old male native and citizen of
20
      Honduras. César has been threatened numerous times with severe harm and death
21
      and kidnapped by members of the 18th Street gang. Fearing for his life, César fled
22
      Honduras and traveled to Tijuana. César sought access to the asylum process by
23
      presenting himself at the San Ysidro POE, but was intercepted by individuals be-
24
      longing to “Grupo Beta.” César was told he would be placed on a waitlist, but instead
25
      was detained for twelve days by Mexican immigration under threat of deportation to
26
      Honduras. After an individual at a local shelter secured César’s release from deten-
27
      tion, he returned to the San Ysidro POE and was placed on a waitlist. After a few
28

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1     weeks, César again sought access to the asylum process by presenting himself at the
2     San Ysidro POE, but CBP officers refused to accept him. A few weeks later, he
3     returned to the San Ysidro POE, but members of Grupo Beta intercepted him and
4     threatened to call Mexican immigration officials and child protective services. A
5     staff member from Plaintiff Al Otro Lado intervened and escorted César back to the
6     shelter. At the time the First Amended Complaint was filed, César desired to return
7     immediately to the San Ysidro POE to seek asylum, but based on his experience and
8     the experiences of others with CBP’s practices at the U.S.-Mexico border, he under-
9     stood that he would likely be turned away again. At that time, César was residing in
10    a shelter in Tijuana, could no longer remain in Mexico because of crime, violence
11    and threats from gangs, and had no place else to turn for safety but the United States.
12    Following the filing of the First Amended Complaint in this case, Defendants made
13    arrangements to facilitate César’s entry into the United States.
14          Answer: Defendants admit the allegations in the first and last sentences of
15    this paragraph. Defendants lack knowledge or information sufficient to form a belief
16    as to the truth of the remaining allegations in this paragraph.
17
      B.    Defendants
18
            36.    Defendant Kirstjen Nielsen is the Secretary of DHS. In this capacity,
19
      she is charged with enforcing and administering U.S. immigration laws. She over-
20
      sees each of the component agencies within DHS, including CBP, and has ultimate
21
      authority over all CBP policies, procedures and practices. She is responsible for en-
22
      suring that all CBP officials perform their duties in accordance with the Constitution
23
      and all relevant laws.
24
            Answer: Defendants deny that Kirstjen Nielsen is the current Secretary of
25
      Homeland Security and aver instead that Kevin K. McAleenan is the Acting Secre-
26
      tary of Homeland Security. Defendants admit the remaining allegations in this par-
27
      agraph.
28

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1           37.    Defendant Kevin K. McAleenan is the Commissioner of CBP. In this
2     capacity, he has direct authority over all CBP policies, procedures and practices, and
3     is responsible for ensuring that all CBP interactions with asylum seekers are per-
4     formed in accordance with the Constitution and all relevant laws. Defendant
5     McAleenan oversees a staff of more than 60,000 employees, manages a budget of
6     more than $13 billion, and exercises authority over all CBP operations.
7           Answer: Defendants admit that Kevin K. McAleenan is the Commissioner of
8     CBP, but aver that Mr. McAleenan is currently serving as the Acting Secretary of
9     Homeland Security. Defendants aver that Mark A. Morgan is CBP’s Chief Operating
10    Officer and is the Senior Official Performing the Duties of the Commissioner. De-
11    fendants admit the remaining allegations in this paragraph.
12
            38.    Defendant Todd C. Owen is the Executive Assistant Commissioner of
13
      CBP’s Office of Field Operations (“OFO”). OFO is the largest component of CBP
14
      and is responsible for border security, including immigration and travel through U.S.
15
      POEs. Defendant Owen exercises authority over 20 major field offices and 328
16
      POEs. Defendant Owen oversees a staff of more than 29,000 employees, including
17
      more than 24,000 CBP officials and specialists, and manages a budget of more than
18
      $5.2 billion. Defendant Owen is responsible for ensuring that all OFO officials per-
19
      form their duties in accordance with the Constitution and all relevant laws.
20
            Answer: Defendants admit the allegations in this paragraph.
21
22          39.    Does 1 through 25, inclusive, are sued herein under fictitious names
23    inasmuch as their true names and capacities are presently unknown to Al Otro Lado
24    and Class Plaintiffs. Al Otro Lado and Class Plaintiffs will amend this complaint to
25    designate the true names and capacities of these parties when the same have been
26    ascertained. Al Otro Lado and Class Plaintiffs are informed and believe, and on that
27    basis allege, that Does 1 through 25, inclusive, were agents or alter egos of Defend-
28    ants, or are otherwise responsible for all of the acts hereinafter alleged. Al Otro Lado

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1     and Class Plaintiffs are informed and believe, and on that basis allege, that the ac-
2     tions of Does 1 through 25, inclusive, as alleged herein, were duly ratified by De-
3     fendants, with each Doe acting as the agent or alter ego of Defendants, within the
4     scope, course, and authority of the agency. Defendants and Does 1 through 25, in-
5     clusive, are collectively referred to herein as “Defendants.”
6           Answer: Defendants admit that the Second Amended Complaint purports to
7     sue unnamed CBP officers, but deny that unnamed CBP officers are proper defend-
8     ants in this action. Defendants further aver that Plaintiffs have not perfected service
9     on any unnamed CBP officers. Defendants deny any remaining allegations in this
10    paragraph.
11
                               IV. FACTUAL BACKGROUND
12
      A.    Humanitarian Crisis South of the U.S.-Mexico Border
13
            40.    In recent years, children and adults have fled horrendous persecution in
14
      their home countries and arrived at POEs along the U.S.-Mexico border to seek pro-
15
      tection in the United States through the asylum process. While asylum seekers travel
16
      to the U.S.-Mexico border from all across the world, including from Haiti, Cuba,
17
      Venezuela and Iraq, the vast majority of these individuals come from Guatemala,
18
      Honduras and El Salvador, an area often termed Central America’s “Northern Tri-
19
      angle.”
20
            Answer: With respect to the allegations in the first sentence of this paragraph,
21
      Defendants admit that many adults and children have arrived at ports of entry along
22
      the U.S.-Mexico border and have expressed an intention to seek asylum or a fear of
23
      persecution; Defendants lack knowledge or information sufficient to form a belief
24
      as to the truth of the remaining allegations in the first sentence. With respect to the
25
      allegations in the second sentence of this paragraph, Defendants admit that many
26
      aliens who enter the United States along the U.S.-Mexico border and then express a
27
      fear of return or a desire to apply for asylum are citizens of countries from all across
28

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1     the world, but lack knowledge or information sufficient to form a belief as to the
2     truth of the allegation that the “vast majority” of such persons “come from” Guate-
3     mala, Honduras, and El Salvador.
4
               41.    The Northern Triangle governments are known for corruption,3 includ-
5
      ing having corrupt police forces filled with gang-related members.4 Furthermore, the
6
      “penetration of the state by criminal groups” is responsible, at least in part, for the
7
      fact that as many as 95% of crimes go unpunished in those countries.5
8
               Answer: Defendants presently lack knowledge or information sufficient to
9
      form a belief as to the truth of the allegations in this paragraph and its footnotes.
10
11             42.    The “pervasive and systematic levels of violence” associated with the
12
13
14
15    3
        See Christina Eguizábal et al., Woodrow Wilson Center Reports on the Americas
16    No. 34, Crime and Violence in Central America’s Northern Triangle: How U.S. Pol-
17    icy Reponses are Helping, Hurting, and Can be Improved 2 (2015), https://www.wil-
      soncenter.org/sites/default/files/FINAL%20PDF_CARSI%20REPORT_0.pdf+; see
18    also U.S. Dep’t of State, Bureau of Democracy, Human Rights & Labor, Country
19    Reports on Human Rights Practices for 2017, https://www.state.gov/j/drl/rls/hrrpt/
      humanrightsreport/index.htm#wrapper (noting “widespread government corrup-
20    tion” is a significant human rights issue in El Salvador, Guatemala, and Honduras).
21    4
        “Over the past five years, at least 435 members of the [Salvadoran] armed forces
22    were fired for being gang members or having ties to gangs . . . Another 39 aspiring
      police officers were expelled from the National Public Security Academy over the
23
      same period, of which 25 ‘belonged to’ the Mara Salvatrucha, or MS13, while 13
24    were from the Barrio 18 gang. Nine more active police officers were also dismissed
25    for alleged gang ties over the five years.” Mimi Yagoub, 480 Gang Members Infil-
      trated El Salvador Security Forces: Report, InSight Crime (Feb. 22, 2016), https://
26    www.insightcrime.org/news/brief/did-480-gang-members-infiltrate-el-salvador-se-
27    curity-forces/ (citation omitted).
      5
28        Eguizábal et al., supra note 3, at 2.


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1     increasing reach and power of gangs in the Northern Triangle have been well docu-
2     mented.6 Those fleeing the Northern Triangle cite “violence [from] criminal armed
3     groups, including assaults, extortion, and disappearances or murder of family mem-
4     bers,”7 as reasons for their flight. These armed groups operate with impunity due to
5     their influence and control over the governments of Northern Triangle countries,
6     which have repeatedly proven to be unable or unwilling to protect their citizens.8
7     The degree of violence suffered by people in the Northern Triangle has been com-
8     pared to that experienced in war zones.9
9           Answer: Defendants presently lack knowledge or information sufficient to
10
      6
11     UNHCR, Women on the Run: First-Hand Accounts of Refugees Fleeing El Salva-
      dor, Guatemala, Honduras, and Mexico 15 (2015), http://www.unhcr.org/en-
12    us/publications/operations/5630f24c6/women-run.html [hereinafter Women on the
13    Run]; see also Int’l Crisis Grp., Latin America Report No. 64, El Salvador’s Politics
      of Perpetual Violence 8–11 (2017), https://d2071andvip0wj.cloudfront.net/064-el-
14
      salvador-s-politics-of-perpetual-violence.pdf.
15    7
        Women on the Run, supra note 6, at 15; see Refugees Int’l, Closing Off Asylum at
16    the U.S.-Mexico Border 7 (2018), https://static1.squarespace.com/static/506c8ea1
17    e4b01d9450dd53f5/t/5b86d0a188251bbfd495ca3b/1535561890743/U.S.-Mexico+
      Border+Report+-+August+2018+-+FINAL.pdf [hereinafter Closing Off Asylum];
18    Int’l Crisis Grp., Latin America Report No. 62, Mafia of the Poor: Gang Violence
19    and Extortion in Central America 2 (2017), https://d2071andvip0wj.cloud-
      front.net/062-mafia-of-the-poor_0.pdf.
20    8
        Women on the Run, supra note 6, at 16 (finding that citizens of Northern Triangle
21    countries are “murdered with impunity”); id. at 23 (finding that 69% of women in-
22    terviewed tried relocating within their own countries at least once before fleeing and
      indicating that 10% “stated that the police or other authorities were the direct source
23
      of their harm”); Closing off Asylum, supra note 7, at 7 (“[T]here is considerable ev-
24    idence that officials in each of the Northern Triangle countries have extremely lim-
25    ited capacity – and in many cases limited will – to protect those at grave risk.”).
      9
        Médecins Sans Frontières (Doctors Without Borders), Forced to Flee Central
26
      America’s Northern Triangle: A Neglected Humanitarian Crisis 6 (2017),
27    https://www.msf.org/sites/msf.org/files/msf_forced-to-flee-central-americasnorth-
28    ern-triangle_e.pdf [hereinafter Forced to Flee].


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1     form a belief as to the truth of the allegations in this paragraph and its footnotes.
2
                 43.    In addition, Central American women and children often flee severe
3
      domestic violence and sexual abuse.10 Women report prolonged instances of physi-
4
      cal, sexual, and psychological domestic violence, and most of their accounts demon-
5
      strate that the authorities in their home countries were either unable or unwilling to
6
      provide meaningful assistance.11 Abusive partners are often members or associates
7
      of criminal armed groups.12 Abusers frequently threaten women with harm to their
8
      parents, siblings or children if they try to leave.13 Some women who fled their coun-
9
      tries have heard from family members back home that their abusers continue to look
10
      for them.14 In addition, “[s]exual harassment and the threat of sexual violence by
11
      gangs shapes the everyday lives of women and girls,” in the Northern Triangle, and
12
      experts estimate that rape and torture of girls is “extremely widespread.”15
13
                 Answer: Defendants presently lack knowledge or information sufficient to
14
      form a belief as to the truth of the allegations in this paragraph and its footnotes.
15
16
17    10
         Kids in Need of Def. & Human Rights Ctr. Fray Matías de Córdova, Childhood
18    Cut Short: Sexual and Gender-based Violence Against Central American Migrant
19    and Refugee Children 12–20 (2017), https://supportkind.org/wpcontent/up-
      loads/2017/06/Childhood-Cut-Short-KIND-SGBVReport_June2017.pdf [hereinaf-
20    ter Childhood Cut Short] (describing sexual and gender-based violence against chil-
21    dren and young women in the Northern Triangle).
      11
22      Women on the Run, supra note 6, at 25. The women interviewed described re-
      peated rapes and sexual assaults as well as violent physical abuse that included:
23    “beatings with hands, a baseball bat and other weapons; kicking; threats to do bodily
24    harm with knives; and repeatedly being thrown against walls and the ground.” Id.
      12
25         Id.
      13
26         Id. at 27.
      14
27         Id.
      15
28         Childhood Cut Short, supra note 10, at 17.


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1              44.    After fleeing their home countries, children and adults face an arduous
2     and dangerous journey to the United States.16 The situation along the popular migra-
3     tion routes to the United States has been termed a “humanitarian crisis” because of
4     the extraordinary violence faced by those making the journey.17 In 2015 and 2016,
5     68% of migrants from the Northern Triangle region experienced violence, including
6     sexual assault, on their journeys through Central America and Mexico.18 Mexico has
7     faced a drastic rise in criminal activity since the early 2000s that is attributed to
8     cartels and has been accompanied by increases in violence and corruption.19 The rate
9     of violence continues to rise; 2017 was the deadliest year on record in Mexico.20
10
11
12    16
         See Women on the Run, supra note 6, at 43-45 (describing extortion, sexual vio-
13    lence, and physical violence); see also Rodrigo Dominguez Villegas, Central Amer-
      ican Migrants and “La Bestia”: The Route, Dangers, and Government Responses,
14    Migration Info. Source (Sept. 10, 2014), https://www.migrationpolicy.org/arti-
15    cle/central-american-migrants-and-%E2%80%9Cla-bestia%E2%80%9D-routedan-
      gers-and-government-responses (listing “injury or death from unsafe travelling con-
16    ditions, gang violence, sexual assault, extortion, kidnapping, and recruitment by or-
17    ganized crime” as dangers faced on the journey to the United States).
      17
18         See Eguizábal et al., supra note 3, at 3.
      18
19      See Forced to Flee, supra note 9, at 11. Close to half (44%) of the migrants re-
      ported being hit, 40% said they had been pushed, grabbed or asphyxiated, and 7%
20    said they had been shot. Id. Nearly one-third (31.4%) of women and 17.2% of men
21    surveyed during that same time period had been sexually abused during their jour-
      neys. Id. at 12.
22
      19
         Dominic Joseph Pera, Drugs Violence and Public [In]Security: Mexico’s Federal
23
      Police and Human Rights Abuse, 2–4, 7 (Justice in Mex. Working Paper Ser. Vol.
24    14, No. 1, 2015), https://justiceinmexico.org/wpcontent/uploads/2015/12/151204_
25    PERA_DOMINIC_DrugViolenceandPublicInsecurity_FINAL.pdf; see U.S. Dep’t
      of State, Bureau of Democracy, Human Rights & Labor, Country Reports on Human
26    Rights Practices for 2017 (Mexico), http://www.state.gov/j/drl/rls/hrrpt/human-
27    rightsreport/index.htm?year=2017 &dlid=277345.
      20
28         Human Rights First, Mexico: Still Not Safe for Refugees and Migrants 1 (2018),


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1     Although the northern half of Mexico was often considered the most dangerous, re-
2     cent reports reveal an increase in violence in the central and southern states of Mex-
3     ico, particularly in Guerrero, Michoacán, and the State of Mexico.21 The U.S. State
4     Department currently advises “no travel”—its highest level of travel warning, which
5     also applies in active war zones like Syria, Afghanistan, and Yemen—to five Mexi-
6     can states due to high crime rates.22 Human rights groups report that since mid-2017,
7     “the dangers facing refugees and migrants in Mexico have escalated.”23 Perpetrators
8     of violence against migrants “include[] members of gangs and other criminal organ-
9     izations, as well as members of the Mexican security forces.”24 Along with the in-
10    crease in violence and organized criminal activity, it is well documented that the
11    police and armed forces operate with impunity in Mexico, leaving victims unable to
12
13    https://www.humanrightsfirst.org/sites/default/files/Mexico_Not_Safe.pdf [herein-
      after Mexico: Still Not Safe].
14    21
         See, e.g., U.S. Dep’t of State, Bureau of Diplomatic Sec., Mexico 2015 Crime and
15    Safety Report: Mexico City, https://www.osac.gov/pages/ContentReportDe-
16    tails.aspx?cid=17114 (reporting that a “common practice is for gangs to charge ‘pro-
      tection fees’ or add their own tax to products and services with the threat of violence
17    for those who fail to pay”); see also Human Rights First, Dangerous Territory: Mex-
18    ico Still Not Safe for Refugees 4 (2017), http://www.humanrightsfirst.org/sites/de-
      fault/files/HRF-Mexico-Asylum-System-rep.pdf [hereinafter Dangerous Territory]
19    (“Human rights monitors stressed that there is a large presence of transnational gangs
20    in southern Mexico, which have easy access to those fleeing gang persecution in the
      Northern Triangle.”) (citations omitted).
21
      22
         U.S. Dep’t of State, Bureau of Consular Affairs, Mexico Travel Advisory (Aug.
22
      22, 2018), https://travel.state.gov/content/travel/en/traveladvisories/traveladviso-
23    ries/mexico-travel-advisory.html [hereinafter Mexico Travel Advisory].
      23
24      Mexico: Still Not Safe, supra note 20, at 1; see also Dangerous Territory, supra
25    note 21, at 3 (“Human rights monitors report an increase in kidnappings, disappear-
      ances, and executions of migrants and refugees in recent years.”).
26    24
        Forced to Flee, supra note 9, at 5; see also Closing Off Asylum, supra note 7, at 9
27    (explaining that when crossing Mexico, migrants suffer “abuses at the hands of or-
28    ganized crime, exploitative smugglers, and predatory state security and police”).


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1     resort to the government for protection.25 Indeed, “[i]n some regions of Mexico the
2     state has become so closely identified with criminal gangs and drug cartels that these
3     criminal organizations do not need to corrupt the state—they essentially ‘are’ part
4     of the state.”26 Thus, the initial mistrust and inability to rely upon government au-
5     thorities for protection that leads many to flee their home countries accompanies
6     them along their journeys through Mexico.27
7           Answer: Defendants admit that the U.S. Department of State currently ad-
8     vises “No Travel” for five Mexican states. Defendants presently lack knowledge or
9     information sufficient to form a belief as to the truth of the remaining allegations in
10    this paragraph and its footnotes.
11
            45.    Furthermore, migrants seeking international protection have a small
12
      chance of receiving it in Mexico. Amnesty International reports that “the Mexican
13
      government is routinely failing in its obligations under international law to protect
14
      those who are in need of international protection, as well as repeatedly violating the
15
16
17    25
        See Pera, supra note 19, at 4 (“Drug trafficking organizations have infiltrated gov-
18    ernment positions in many areas, and their influence over state personnel has dra-
19    matic implications.”); Ximena Suárez et al., Wash. Office on Latin Am., Access to
      Justice for Migrants in Mexico: A Right That Exists Only on the Books, 24–27, 30–
20    31 (2017), https://www.wola.org/wp-content/uploads/2017/07/Access-to-Justice-
21    for-Migrants_July-2017.pdf [hereinafter Access to Justice] (documenting Mexican
      authorities’ unwillingness to investigate crimes against migrants).
22
      26
        Access to Justice, supra note 25, at 30–31; Alberto Díaz-Cayeros et al., Caught in
23
      the Crossfire: The Geography of Extortion and Police Corruption in Mexico, 3–4
24    (Stanford Ctr. for Int’l Dev., Working Paper No. 545, 2015), https://globalpoverty.
25    stanford.edu/sites/default/files/publications/545wp_0.pdf.
      27
         See, e.g., Villegas, supra note 16 (referencing documentation of “the abuse of
26
      power by various Mexican authorities, including agents from the National Migration
27    Institute, municipal governments, and state police” against individuals traveling to
28    the U.S. border).


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1     non-refoulement principle.”28
2                Answer: Defendants lack knowledge or information sufficient to form a be-
3     lief as to the truth of the allegations in this paragraph and its footnotes.
4
                 46.   In addition, Mexico’s northern border region is particularly plagued
5
      with crime and violence, presenting renewed dangers for asylum seekers just as they
6
      approach their destination.29 The state of Tamaulipas, which borders South Texas
7
      cities including Laredo, McAllen, and Brownsville, is on the U.S. State Depart-
8
      ment’s “no travel” list.30 Most of Mexico’s other border states, including Sonora,
9
      Chihuahua, Coahuila, and Nuevo León, are classified at Level 3, “Reconsider
10
11
12
      28
         Amnesty Int’l, Overlooked, Under-Protected, Mexico’s Deadly Refoulement of
13    Central Americans Seeking Asylum 2 (2018), https://www.amnesty.org/down-
14    load/Documents/AMR4176022018ENGLISH.PDF; see id. at 8–20 (describing the
      multiple layers of institutional failure leaving refugees and asylum seekers vulnera-
15
      ble to refoulement in Mexico); accord Francisca Vigaud-Walsh et al., Refugees Int’l,
16    Putting Lives at Risk: Protection Failures Affecting Hondurans and Salvadorans
17    Deported from the United States and Mexico 11–12 (2018), https://static1.square
      space.com/static/506c8ea1e4b01d9450dd53f5/t/5a849f81c830250842098d87/1518
18    641035445/Northern+Triangle+-+Refugees+International.pdf; Dangerous Terri-
19    tory, supra note 21, at 4–9.
      29
20       See Mexico Travel Advisory, supra note 22 (reporting violent crime and an in-
      crease in homicide in the state of Baja California (encompassing border towns Ti-
21    juana and Mexicali) compared to 2016; widespread violent crime and gang activity
22    in the state of Chihuahua (encompassing border town Ciudad Juarez); widespread
      violent crime and limited law enforcement capacity to prevent and respond to crime
23
      in the state of Coahuila (particularly in the northern part of the state); that the state
24    of Sonora (encompassing border town Nogales) is a key region in the international
25    and human trafficking trades; and common violent crime, including homicide, armed
      robbery, carjacking, kidnapping, extortion, and sexual assault in the state of Tamau-
26    lipas (encompassing border towns Matamoros, Nuevo Laredo, and Reynosa), where
27    law enforcement capacity to respond to violence is limited throughout the state).
      30
28         Id.


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1     Travel,” due to the prevalence of violent crime and gang activity.31 The most perva-
2     sive problems migrants face in Mexico’s northern border states include disappear-
3     ances, kidnappings, rape, trafficking, extortion, execution and sexual and labor ex-
4     ploitation by state and non-state actors.32 Recently, the situation at the border has
5     worsened: smugglers have increased their prices, cartel members have increased
6     their surveillance and control of areas around border crossings, and the number of
7     migrants kidnapped and held for ransom has increased.33 Even migrants in the im-
8     mediate vicinity of a POE are at risk of violence and exploitation.34 Those who seek
9     refuge in shelters may be in particular danger. Some shelters are infiltrated by orga-
10    nized crime, while others have been the sites of recent vandalism, burglary, threats,
11    and kidnapping.35
12               Answer: Defendants admit that the U.S. Department of State recommends
13    “No Travel” for the Mexican state of Tamaulipas and “Reconsider Travel” for the
14
      31
15         Id.
      32
16       B. Shaw Drake et al., Human Rights First, Crossing the Line: U.S. Border Agents
      Illegally Reject Asylum Seekers 16 (2017), https://www.humanrightsfirst.org/
17    sites/default/files/hrf-crossing-the-linereport.pdf [hereinafter Crossing the Line].
18    33
           Id.
19    34
         Josiah Heyman & Jeremy Slack, Blockading Asylum Seekers at Ports of Entry at
20    the US-Mexico Border Puts Them at Increased Risk of Exploitation, Violence, and
      Death, Ctr. for Migration Stud. (June 25, 2018), http://cmsny.org/publications/hey-
21    man-slack-asylum-poe/#_ednref11.pdf (“When asylum-seekers are turned away by
22    US authorities, they return to areas around the Mexican-side POEs. These are char-
      acteristically busy zones of businesses, restaurants, bars, discos, drug sellers, hus-
23
      tlers, and commercial sex work, although each border port has its own characteris-
24    tics. They are areas that increase the vulnerability and exploitability of non-Mexican
25    migrants with little knowledge and few resources.”).
      35
        Id.; Wash. Office on Latin Am. et al., Situation of Impunity and Violence In Mex-
26
      ico’s Norther Border Region 2–4 (Mar. 2017), https://www.wola.org/wpcontent/up-
27    loads/2017/04/Situation-of-Impunity-and-Violence-in-Mexicosnorthern-border-
28    LAWG-WOLA-KBI.pdf.


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1     Mexican states of Sonora, Chihuahua, Coahuila, and Nuevo León. Defendants admit
2     the allegations in the first sentence of this paragraph only to the extent they are con-
3     sistent with the U.S. Department of State’s travel advisories. Defendants lack
4     knowledge or information sufficient to form a belief as to the truth of the remaining
5     allegations in this paragraph and its footnotes.
6
             47.    By turning back individuals who seek to access the asylum process by
7
      presenting themselves at POEs on the U.S.-Mexico border, Defendants are forcing
8
      them to return to the dangerous conditions that drove them to flee their countries in
9
      the first place.36
10
             Answer: Defendants lack knowledge or information sufficient to form a be-
11
      lief as to the truth of the allegations in this paragraph and its footnotes.
12
13    B.     Defendants’ Policy and Widespread Practice of Denying Asylum Seekers
14           Access to the Asylum Process

15           48.    Starting in 2016 and continuing to the present, CBP officials, at or un-

16    der the direction or with the knowledge and acquiescence or authorization of De-

17    fendants, have systematically restricted the number of asylum seekers who can ac-

18    cess the U.S. asylum process through POEs along the U.S.-Mexico border.37 That

19
      36
20       Crossing the Line, supra note 32, at 16; see also B. Shaw Drake, Human Rights
      First, Violations at the Border: The El Paso Sector 2–3 (2017), https://www.human-
21    rightsfirst.org/resource/violations-border-el-paso-sector (explaining the risks facing
22    asylum seekers who are turned back at U.S. POEs, including being deported back to
      their home countries where they face persecution).
23
      37
        There is anecdotal evidence that CBP officials began unlawfully dissuading asy-
24    lum seekers from pursuing their claims or flatly refusing them entry to the United
25    States even prior to 2016. See Sara Campos & Joan Friedland, Am. Immigration
      Council, Mexican and Central American Asylum and Credible Fear Claims: Back-
26
      ground and Context 10 (2014), https://www.americanimmigrationcouncil.org/sites/
27    default/files/research/asylum_and_credible_fear_claims_final_0.pdf (reporting that
28    Mexican asylum seekers arriving in El Paso “expressed a fear of persecution [but]


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1     has been accomplished both through the Turnback Policy that seeks to restrict access
2     to the asylum process and also through widespread practices across the U.S.-Mexico
3     border also designed to deny access to the asylum process.
4           Answer: With respect to the allegations in the first sentence of this paragraph,
5     Defendants deny Plaintiffs’ characterizations of Defendants’ conduct and deny that
6     they have implemented a “Turnback Policy,” but admit that CBP officials, at times
7     since 2016, have implemented metering/queue management procedures at land ports
8     of entry along the U.S.-Mexico border to ensure that the ports had sufficient capacity
9     to safely process all individuals and temporarily hold those found to be inadmissible.
10    Defendants deny the allegations in the second sentence of this paragraph. Defendants
11    lack knowledge or information sufficient to form a belief as to the truth of any re-
12    maining allegations in this paragraph and its footnote.
13
14
15
16
17
18    were told by CBP that the U.S. doesn’t give Mexicans asylum, and they [we]re
      turned back”); see also U.S. Comm’n on Int’l Religious Freedom, Report on Asylum
19
      Seekers in Expedited Removal: Volume I: Findings & Recommendations 54 (2005),
20    https://www.uscirf.gov/sites/default/files/resources/stories/pdf/asylum_seek-
21    ers/Volume_I.pdf [hereinafter 2005 USCIRF Report] (reporting that two groups of
      asylum seekers who arrived at the San Ysidro POE were “improperly refused entry
22    to the United States for . . . lacking proper documentation and [were] ‘pushed
23    back’ . . . without [being] refer[red] . . . to secondary inspection” and without a “rec-
      ord of the primary inspection” being created); see also Human Rights Watch, “You
24    Don’t Have Rights Here”: US Border Screening and Returns of Central Americans
25    to Risk of Serious Harm 2, 8 (2014), https://www.hrw.org/sites/default/files/reports/
      us1014_web_0.pdf [hereinafter “You Don’t Have Rights Here”] (concluding that
26
      the “cursory screening [conducted by CBP officials] is failing to effectively identify
27    [asylum seekers]” and reporting that some “border officials acknowledged hearing
28    [non-citizens’] expressions of fear but pressured them to abandon their claims”).


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1           49.    Al Otro Lado and Class Plaintiffs, as well as numerous nongovernmen-
2     tal organizations38 and news outlets,39 have documented thousands of cases in which
3     CBP officials have arbitrarily denied and/or unreasonably delayed access to the asy-
4     lum process to individuals seeking asylum by presenting themselves at POEs along
5     the U.S.-Mexico border.40 The Turnback Policy and CBP’s other widespread, un-
6     lawful practices have been documented at POEs spanning the length of the U.S.-
7     Mexico border, including POEs in San Ysidro, California; Otay Mesa, California;
8     Tecate, California; Calexico, California; San Luis, Arizona; Nogales, Arizona; El
9     Paso, Texas; Del Rio, Texas; Eagle Pass, Texas; Laredo, Texas; Roma, Texas; Hi-
10    dalgo, Texas; Los Indios, Texas; and Brownsville, Texas.
11
      38
12       See, e.g., Crossing the Line, supra note 32; Amnesty Int’l, Facing Walls: USA and
      Mexico’s Violation of the Rights of Asylum Seekers 19–22 (2017), https://www.am-
13    nestyusa.org/wp-content/uploads/2017/06/USA-Mexico-Facing-Walls-REPORT-
14    ENG.pdf [hereinafter Facing Walls]; “You Don’t Have Rights Here”, supra note 37,
      at 2, 4.
15
      39
        Joshua Partlow, U.S. Border Officials Are Illegally Turning Away Asylum Seekers,
16
      Critics Say, Wash. Post (Jan. 16, 2017), https://www.washingtonpost.com/world/
17    the_americas/us-border-officials-are-illegally-turning-awayasylum-seekers-critics-
18    say/2017/01/16/f7f5c54a-c6d0-11e6-acda-59924caa2450_story.html?noredirect=
      on&utm_term=.ed5c3100d451; Caitlin Dickerson & Miriam Jordan, ‘No Asylum
19    Here’: Some Say U.S. Border Agents Rejected Them, N.Y. Times (May 3, 2017),
20    https://www.nytimes.com/2017/05/03/us/ asylum-border-customs.html; Rafael Car-
      ranza, Are Asylum Seekers Being Turned Away at the Border?, USA Today (May 4,
21    2017, 10:55 PM), https://www.azcentral.com/story/news/politics/immigration/
22    2017/05/05/asylum-seekers-being-turned-away-border/309398001/.
      40
23       Amnesty Int’l, USA: ‘You Don’t Have Any Rights Here’: Illegal Pushbacks, Ar-
      bitrary Detention & Ill-Treatment of Asylum-Seekers in the United States 17 (2018),
24    https://www.amnesty.org/download/Documents/AMR5191012018ENGLISH.PDF
25    [hereinafter You Don’t Have Any Rights Here] (“While there are no official statistics
      on how many people CBP has illegally turned away without processing their asylum
26
      requests, Amnesty International has received numerous secondary reports from
27    NGOs indicating that CBP has forced thousands of asylum-seekers to wait in Mex-
28    ico – including families with children, mostly from Central America.”).


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1           Answer: With respect to the allegations in the first sentence of this paragraph,
2     Defendants admit only that Al Otro Lado, the individual Plaintiffs, and several
3     NGOs and news outlets purport to have documented “thousands” of cases of CBP
4     officials arbitrarily denying or unreasonably delaying individuals’ access to the asy-
5     lum process at ports of entry along the U.S.-Mexico border. With respect to the re-
6     maining allegations in this paragraph, Defendants deny that they have implemented
7     a “Turnback Policy” and deny that they have sanctioned the use of unlawful prac-
8     tices at ports of entry along the U.S.-Mexico border.
9
            1.     Initiation of the Turnback Policy
10
            50.    Internal CBP documents reveal that CBP officials at the highest levels
11
      mandated turnbacks at POEs along the U.S.-Mexico border.41
12
            Answer: Defendants deny that CBP officials at the highest levels have “man-
13
      dated turnbacks” at ports of entry along the U.S.-Mexico border, and deny the alle-
14
      gations in this paragraph to the extent they are inconsistent with the cited documents.
15
16          51.    Evidence of a Turnback Policy, at least regarding the San Ysidro POE,
17    exists starting in May 2016. In an email dated May 29, 2016, the Watch Commander
18    at the San Ysidro POE notes that “[t]he Asylee line in the pedestrian building is not
19    being used at this time, there is a line staged on the Mexican side.” In an email sent
20    roughly a month later, the same individual reiterated that “[i]t’s even more important
21    that when the traffic is free-flowing that the limit line officers ask for and check
22    documents to ensure that groups that may be seeking asylum are directed to remain
23    in the waiting area on the Mexican side.”
24
25
      41
        These documents, produced during the limited discovery that took place while this
26
      case was pending in the U.S. District Court for the Central District of California,
27    relate exclusively to POEs under the responsibility of the Laredo Field Office and
28    the San Ysidro POE. Additional discovery could reveal further details regarding the
      contours of the Turnback Policy.

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1           Answer: Defendants deny the allegations in the first sentence of this para-
2     graph. Defendants admit that the description of and quotations from the referenced
3     emails are accurate. See Ex. 1 to Defs.’ Mot. to Dismiss the SAC (ECF No. 192-3).
4
            52.    CBP’s collaboration with the Mexican government to turn back asylum
5
      seekers at the San Ysidro POE was formalized in a document issued on an unspeci-
6
      fied date after July 15, 2016, which provides:
7
            In coordination with the GoM [Government of Mexico] we have iden-
8           tified two (2) periods throughout the day to intake asylum claims into
9           our custody (8am and 4 pm). At each period, we intake approximately
            [redacted] applicants, with a daily intake total of approximately [re-
10
            dacted] applicants. If an applicant does not meet these intake time peri-
11          ods, they are requested to remain in-line in Mexico until the next intake
12          period. . . . In order to control the flow of asylees in their area, the GoM
            has instituted a numerical process by giving asylum applicants numbers
13          with intake dates in the order of their arrival. The applicants are also
14          given the locations of humanitarian shelters in Tijuana where they re-
            ceive food and shelter until their intake date. The implementation of
15          this process was developed by the GoM.
16          Answer: Defendants deny Plaintiffs’ characterizations in this paragraph and
17    admit only that this paragraph accurately quotes portions of the referenced docu-
18    ment, which, in its entirety, speaks for itself. See Ex. 2 to Defs.’ Mot. to Dismiss the
19    SAC (ECF No. 192-4).
20
21          53.    On December 6, 2016, the Director of Field Operations at CBP’s San

22    Diego Field Office confirmed that the Turnback Policy remained in effect:

23          Metering continues at both San Ysidro and Calexico POEs the numbers
            are adjusted based on space availability and ERO [ICE’s Office of En-
24          forcement and Removal Operations] movement of detainees from the
25          ports. Mexican immigration is handling the metering process before the
            OTMs [Other Than Mexicans] arrive at the port of entry; no issues on
26          our end with aliens being turned away.
27          Answer: Defendants admit only that this paragraph accurately quotes portions
28    of the referenced emails, which, in their entireties, speak for themselves. See Ex. 3

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1     to Defs.’ Mot. to Dismiss the SAC (ECF No. 192-5). Defendants deny that these
2     emails constitute evidence of a “Turnback Policy.” Defendants deny any remaining
3     allegations and characterizations in this paragraph.
4
            54.    On information and belief, other CBP Field Offices also implemented
5
      the Turnback Policy. Although certain port directors periodically suspended the
6
      Turnback Policy, they never abandoned it. Moreover, direct turnbacks of asylum
7
      seekers—via misrepresentations about the availability of asylum, intimidation, and
8
      coercion, among other tactics—continued in practice even during periods of formal
9
      suspension of the policy.
10
            Answer: Defendants deny the allegations in the first and second sentences of
11
      this paragraph. Defendants aver that CBP has issued guidance permitting ports of
12
      entry along the U.S.-Mexico border to implement metering procedures based on
13
      their operational capacities when necessary or appropriate to facilitating orderly pro-
14
      cessing and maintaining the security of the port and safe and sanitary conditions for
15
      the traveling public. See Ex. 1, Owen Memo. Defendants admit that, on at least one
16
      occasion, a CBP officer at a land port of entry along the U.S.-Mexico border used
17
      verbal abuse or physical force, but deny that such conduct was or is consistent with
18
      agency policy. Defendants lack knowledge or information sufficient to form a belief
19
      as to the truth of the allegations that CBP officers used “misrepresentations,” “in-
20
      timidation,” and “coercion,” but also aver that such conduct is inconsistent with
21
      agency policy. See, e.g., Ex. 1, Owen Memo.
22
23          55.    Evidence that a border-wide Turnback Policy was authorized at the
24    highest levels of CBP, including by Defendant and now-Commissioner Kevin
25    McAleenan, exists as of November 2016. In an email communication dated Novem-
26    ber 12, 2016, the Assistant Director Field Operations for the Laredo Field Office
27    instructed all Port Directors under his command to follow the mandate of the then-
28    CBP Commissioner and Deputy Commissioner:

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1           At the request of C-1 [then CBP Commissioner R. Gil Kerlikowski] and
2           C-2 [then CBP Deputy Commissioner Kevin McAleenan], you are to
            meet with your INM [Instituto Nacional de Migración, Mexico’s immi-
3           gration agency] counterpart and request they control the flow of aliens
4           to the port of entry. For example, if you determine that you can only
            process 50 aliens at a time, you will request that INM release only 50.
5
            If INM cannot or will not control the flow, your staff is to provide the
6           alien with a piece of paper identifying a date and time for an appoint-
7           ment and return then [sic] to Mexico. This is similar to what San Diego
            is doing. We understand the alien may express a fear of returning to
8           Mexico and we will address as the situation dictates.42
9           Answer: Defendants deny the allegations in the first sentence of this para-
10    graph. Defendants admit that this paragraph and the first sentence of footnote 42
11    accurately quotes and describes portions of the referenced emails, which, in their
12    entireties, speak for themselves. See Ex. 4 to Defs.’ Mot. to Dismiss the SAC (ECF
13    No. 192-6). Defendants deny that these emails constitute evidence of a “Turnback
14    Policy.” Defendants lack knowledge or information sufficient to form a belief as to
15    the truth of the allegations in the second sentence of footnote 42.
16
17          56.    This email directive was promptly implemented by the Laredo Field

18    Office, which encompasses the Brownsville, Del Rio, Eagle Pass, Hidalgo, Laredo,

19    Progreso, Rio Grande, and Roma, Texas POEs and covers nearly 400 miles of the

20    Texas-Mexico border. According to an internal email dated November 22, 2016,

21    “Our instructions from Service Headquarters and LFO [Laredo Field Office] is that

22    we will only accept ‘what we can handle/process’. All others will be turned back to

23    Mexico with an appointment date/time if possible.” Other email correspondence

24    from CBP officials at the Laredo, Hidalgo and Roma POEs indicates that individuals

25    turned back did not receive appointment notices.

26
27    42
        An email sent the following day clarified that this directive was to apply only to
28    Central Americans. In practice, however, individuals of many other nationalities
      have also been affected.

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1           Answer: With respect to the allegations in the first sentence of this paragraph,
2     Defendants admit that the Laredo Field Office encompasses the Brownsville, Del
3     Rio, Eagle Pass, Hidalgo, Laredo, Progreso, Rio Grande, and Roma ports of entry
4     and cover nearly 400 miles of the Texas-Mexico border, but deny that all ports of
5     entry in the Laredo Field Office provided individuals with a “piece of paper identi-
6     fying a date and time for an appointment.” Defendants admit that the second and
7     third sentences of this paragraph accurately quote portions of the referenced emails,
8     which, in their entireties, speak for themselves. Defendants admit the allegations in
9     the fourth sentence of this paragraph.
10
            57.    The directive was memorialized in a memorandum from the Laredo
11
      Field Office dated January 13, 2017. The memorandum directs that “metering” pro-
12
      cedures—i.e. procedures to regulate and restrict the access of asylum seekers to
13
      POEs—be implemented once case processing numbers exceed a certain (redacted)
14
      number, that such procedures are to be conducted “at the middle of the bridge,” and
15
      that “all foreign nationals seeking a benefit are given an appointment window to
16
      return for processing.” The Laredo Command Center is required to provide hourly
17
      updates to “local upper management,” among others, who must also be notified once
18
      normal operations resume.
19
            Answer: Defendants admit that this paragraph accurately quotes portions of
20
      the referenced document, which, in its entirety, speaks for itself. See Ex. 8 to Defs.’
21
      Mot. to Dismiss the SAC (ECF No. 192-8). Defendants deny Plaintiffs’ characteri-
22
      zations in this paragraph to the extent they are inconsistent with the content of the
23
      cited document.
24
25          58.    In the months that followed, asylum seekers from Central America and
26    elsewhere continued to seek access to the U.S. asylum process by presenting them-
27    selves at POEs along the U.S.-Mexico border, but many were turned back by, at the
28    instruction of, or with the knowledge of CBP officials.

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1             Answer: Defendants admit only that many aliens who lacked entry docu-
2     ments, some of whom were from Central America and some of whom may have later
3     sought asylum in the United States, sought to enter the ports of entry in the months
4     following January 2017, and that on at least one occasion, an individual arrived at a
5     port of entry and was not properly processed.
6
              59.    On June 13, 2017, in questioning before the House Appropriations
7
      Committee, John P. Wagner, the Deputy Executive Assistant Commissioner for
8
      OFO, admitted that CBP officials were turning back asylum applicants at POEs
9
      along the U.S.-Mexico border.43 When asked to comment on the numerous press
10
      reports that CBP officers at POEs had been “turning away individuals attempting to
11
      claim credible fear,” Mr. Wagner acknowledged that CBP had indeed engaged in
12
      turnbacks, and argued the practice was justified by a lack of capacity.44 Mr. Wagner
13
14    43
         Department of Homeland Security Appropriations for 2018 Hearings Before a
15    Subcomm. of the H. Comm. on Appropriations, 115th Cong. 289–90 (2017) (testi-
16    mony of John P. Wagner, Deputy Executive Assistant Comm’r, Office of Field Op-
      erations, Customs and Border Protection), https://www.gpo.gov/fdsys/pkg/CHRG-
17    115hhrg27050/pdf/CHRG-115hhrg27050.pdf [hereinafter Wagner Testimony].
18    44
           Congresswoman Roybal-Allard asked:
19         It is my understanding that CBP is legally required to process credible fear claims
20         when they are presented, and it is not authorized to turn back individuals claiming
           fear even temporarily. In addition to commenting on those allegations, what steps
21         can be taken or have been taken to ensure this is not occurring or continuing to
22         occur at the ports of entry, such as, is there training or other guidance, reminding
           CBP personnel how they are required to treat individuals who express fear?
23
      Mr. Wagner responded:
24
           Sure. It was a question really of the space available to process people. And our
25         facilities were at capacity to be able to take more people in, go through the pro-
26         cessing, and turn them over to ICE after that. And the building was full, and we
           could not humanely and safely and securely hold any more people in our space.
27
      The Congresswoman later clarified:
28

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1     also stated on the record that because POEs “do not have the kind of space to hold
2     large volumes of people,” CBP “worked a process out with the Mexican authorities
3     to be able to limit how many people a day could come across the border into [CBP’s]
4     facility to be processed.”45
5                Answer: Defendants admit that Mr. Wagner testified on June 13, 2017, before
6     the House Committee on Appropriations, Subcommittee on Homeland Security. De-
7     fendants aver that Mr. Wagner’s testimony speaks for itself and deny Plaintiffs’
8     characterizations in this paragraph to the extent they are inconsistent therewith.
9
                 60.   Following dozens of turnbacks of asylum seekers in San Ysidro in De-
10
      cember 2017, the CBP Field Operations Director in charge of the San Ysidro POE
11
      acknowledged and defended the turnbacks, stating: “So they weren’t being allowed
12
      into the port-of-entry. We said, ‘we’re at capacity, so wait here.’ It’s because of our
13
      detention space limitation, we were at capacity.”46
14
                 Answer: Defendants admit that this paragraph accurately quotes the cited
15
      Amnesty International report, but presently lack knowledge or information sufficient
16
      to form a belief as to whether the Amnesty International report accurately quotes the
17
      Director of the San Diego Field Office. Even assuming the report accurately quotes
18
      the Director of the San Diego Field Office, Defendants deny that he acknowledged
19
      or defended any “turnbacks.”
20
21
22
23          “So it wasn’t an issue of officers not knowing what the law was. It was more of
            an issue of capacity?” And Mr. Wagner responded: “It was an issue of capacity
24          and being able to put people into the facility without being overrun or having
25          unsafe and unsanitary conditions.”
26    Id.
      45
27         Id.
      46
28         You Don’t Have Any Rights Here, supra note 40, at 16.


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1           2.     High Level Officials’ Public Confirmation and Escalation of the
2                  Turnback Policy and CBP’s Aggressive Implementation
            61.    In late April 2018, following an arduous, widely-publicized journey, a
3
      group of several hundred asylum seekers—referred to in the press as a “caravan”—
4
      arrived at the San Ysidro POE. As they approached the United States, President
5
      Trump posted a series of messages on Twitter warning of the dangers posed by the
6
      group, including one indicating that he had instructed DHS “not to let these large
7
      Caravans of people into our Country.”47
8
            Answer: Defendants admit that in April 2018, a group of more than 100 aliens
9
      without entry documents arrived in Tijuana with the stated intention of seeking asy-
10
      lum in the United States. Defendants deny the allegations in the second sentence of
11
      this paragraph because Plaintiffs have misquoted the cited April 2, 2018 tweet. De-
12
      fendants aver that the cited tweet states, in relevant part: “Mexico has the absolute
13
      power not to let these large ‘Caravans’ of people enter their country.”
14
15          62.    Thereafter, the highest-ranking officials in the Department of Justice
16    and DHS publicly and unambiguously proclaimed the existence of a Turnback Pol-
17    icy. CBP continued to buttress the Turnback Policy through the practices described
18    above, including misrepresentations, threats and intimidation, verbal abuse and
19    physical force, coercion, outright denials of access, and physically obstructing ac-
20    cess to POEs.
21          Answer: Defendants deny that they implemented a “Turnback Policy” and
22    therefore deny the allegations in this paragraph.
23
24          63.    Attorney General Sessions, refusing to acknowledge that some of the

25
26
27    47
         Donald J. Trump (@realDonaldTrump) Twitter (Apr. 2, 2018, 4:02 AM)
28    https://twitter.com/realDonaldTrump/status/980762392303980544.


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1     caravan members might have legitimate claims to asylum under U.S. law, character-
2     ized the caravan’s arrival as “a deliberate attempt to undermine our laws and over-
3     whelm our system.”48 Upon the caravan’s arrival, CBP officials indicated—in ac-
4     cordance with the Turnback Policy—that they had exhausted their capacity to pro-
5     cess individuals traveling without proper documentation.49
6           Answer: Defendants admit that Plaintiffs have accurately quoted from one
7     portion of the former Attorney General’s statement, but deny Plaintiffs’ characteri-
8     zation of that statement. Defendants aver that the former Attorney General’s state-
9     ment, in its full context, speaks for itself. Defendants admit, as the cited New York
10    Times article indicates, that the San Ysidro port of entry in late April 2018 reached
11    its capacity to process individuals without entry documents, but deny that those
12    statements are false or part of any “Turnback Policy.”
13
            64.    As the caravan was approaching the United States, Attorney General
14
      Sessions announced that all individuals who crossed the U.S.-Mexico border ille-
15
      gally would be criminally prosecuted.50 Following the arrival of the caravan, he pro-
16
      nounced that “[p]eople are not going to caravan or otherwise stampede our border,”
17
      and reiterated his commitment to prosecuting illegal border crossers.51
18
19
      48
20      Press Release, U.S. Dep’t of Justice, Attorney General Jeff Sessions Statement on
      Central America ‘Caravan’, (Apr. 23, 2018), https://www.justice.gov/opa/pr/attor-
21
      ney-general-jeff-sessions-statement-central-american-caravan.
22    49
        Kirk Semple & Miriam Jordan, Migrant Caravan of Asylum Seekers Reaches U.S.
23    Border, N.Y. Times (Apr. 29, 2018), https://www.nytimes.com/2018/04/29/world/
24    americas/mexico-caravan-trump.html.
      50
25      Press Release, U.S. Dep’t of Justice, Attorney General Announces Zero-Tolerance
      Policy for Criminal Illegal Entry (Apr. 6, 2018), https://www.justice.gov/opa/pr/at-
26    torney-general-announces-zero-tolerance-policy-criminal-illegalentry.
27    51
        U.S. Attorney Gen. Jefferson B. Sessions, Remarks Discussing the Immigration
28    Enforcement Actions of the Trump Administration (May 7, 2018), https://www.jus-


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1           Answer: Defendants admit the allegations in this paragraph; however, De-
2     fendants deny that these allegations are relevant to this litigation, because, by their
3     own terms, they pertain to individuals who crossed the border illegally, rather than
4     individuals who lawfully arrived at ports of entry.
5
            65.     On May 15, 2018, DHS Secretary Kirstjen Nielsen likewise publicly
6
      and unambiguously confirmed the existence of the Turnback Policy, dismissing the
7
      United States’ legal obligation to receive and process asylum seekers at U.S. borders
8
      as a legal “loophole”:
9
            We are “metering,” which means that if we don’t have the resources to
10          let them [asylum-seekers] in on a particular day, they are going to have
11          to come back. They will have to wait their turn and we will process
            them as we can, but that’s the way that the law works. Once they come
12
            into the United States, we process them. We have asked Congress to fix
13          this loophole. It’s a huge gaping hole that we need to fix because it is
14          so abused.52
            Answer: Defendants admit that this paragraph accurately quotes ports of for-
15
      mer Secretary Nielsen’s May 15, 2018 statements, which, in their entireties, speak
16
      for themselves. Defendants deny that these statements “unambiguously” confirm the
17
      existence of a “Turnback Policy.” Defendants deny any remaining allegations in this
18
      paragraph.
19
20          66.     Trump himself continued to publicly pronounce the importance of the
21    Turnback Policy, through tweets, including direct statements that promote the direct
22    violation of the law:
23                • June 24, 2018: “When somebody comes in, we must immedi-
24                  ately, with no Judges or Court Cases, bring them back from
25
      tice.gov/opa/speech/attorney-general-sessions-delivers-remarksdiscussing-immi-
26    gration-enforcement-actions.
27    52
        Secretary Nielsen Talks Immigration, Relationship with Trump, Fox News (May
28    15, 2018), https://video.foxnews.com/v/5785340898001/?#sp=showclips.


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1                    where they came.”53
2                 • June 30: “When people come into our Country illegally, we must
3                   IMMEDIATELY escort them back out without going through
                    years of legal maneuvering.”54
4
                  • July 5: “When people, with or without children, enter our Coun-
5                   try, they must be told to leave without our Country being forced
6                   to endure a long and costly trial. Tell the people, ‘OUT,’ and they
                    must leave, just as they would if they were standing in your front
7                   lawn.”55
8           Answer: Defendants admit that the quoted excerpts are accurate, but deny
9     that they constitute evidence of a “Turnback Policy” or that they relate to Defend-
10    ants’ metering or queue management practices.
11
12          67.      Meanwhile, CBP officials continue to turn back asylum seekers who
13    seek access to the U.S. asylum process by presenting themselves at POEs. Predicta-
14    bly, the Turnback Policy has caused and continues to cause many asylum seekers,
15    desperate to avoid danger on the Mexican side of the border, to seek to enter the
16    United States outside POEs and thereafter be arrested and prosecuted for unlawful
17    entry and in many cases forcibly separated from their children.
18          Answer: Defendants deny that they have continued to turn back individuals
19    as a matter of agency policy, and aver instead that CBP has issued guidance permit-
20    ting ports of entry along the U.S.-Mexico border to implement metering procedures
21    based on their operational capacities when necessary or appropriate to facilitating
22
23    53
         Donald J. Trump (@realDonaldTrump) Twitter (Apr. 24, 2018, 8:02 AM)
24    https://twitter.com/realdonaldtrump/status/1010900865602019329?lang=en.
      54
25       Donald J. Trump (@realDonaldTrump) Twitter (June 30, 2018, 12:44 PM)
      https://twitter.com/realdonaldtrump/status/1013146187510243328?lang=en.
26    55
          Donald J. Trump (@realDonaldTrump) Twitter (July 5, 2018, 7:08 AM)
27    https://twitter.com/realDonaldTrump/status/1014873774003556354; Donald J.
28    Trump (@realDonaldTrump) Twitter (July 5, 2018, 7:16 AM) https://twit-
      ter.com/realDonaldTrump/status/1014875575557804034.

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1     orderly processing and maintaining the security of the port and safe and sanitary
2     conditions for the traveling public. See Ex. 1, Owen Memo. Defendants lack
3     knowledge or information sufficient to form a belief as to the truth of the allegation
4     that the implementation of metering procedures causes aliens without entry docu-
5     ments to cross the border unlawfully.
6
               68.   In recent months, Commissioner McAleenan and other high-level CBP
7
      officials have openly acknowledged that the Turnback Policy remains in effect, and
8
      that the United States is actively collaborating with Mexico to reduce the flow of
9
      asylum seekers.56
10
               Answer: Defendants deny that they have implemented a “Turnback Policy”
11
      or that a “Turnback Policy” remains or is in effect. Defendants aver that CBP’s April
12
      29, 2018 metering guidance has not been withdrawn or superseded. Defendants ad-
13
      mit that Defendant McAleenan released a statement on April 29, 2018, which states
14
      that “CBP will communicate with Mexican authorities for operational awareness on
15
      this issue of capacity within CBP facilities as appropriate.”
16
17             69.   A high-level CBP officer reiterated the contours of the Turnback Policy
18    in a meeting with immigrant rights groups in El Paso on June 27, 2018 and confirmed
19    that it was being applied border-wide.57
20
21    56
        See, e.g., CBP Comm’r Kevin McAleenan, Statement on Operations at San Ysidro
22    Port of Entry (April 29, 2018), https://www.cbp.gov/newsroom/speeches-and-state-
      ments/statement-commissioner-kevin-mcaleenan-operationssan-ysidro-port           (ex-
23
      plaining that “individuals [without appropriate entry documentation] may need to
24    wait in Mexico as CBP officers work to process those already within our facilities”);
25    Molly Hennessy-Fiske, Border Protection Commissioner Talks ‘Zero Tolerance,’
      Family Separations and How To Discourage Immigration, L.A. Times (June 11,
26    2018) http://www.latimes.com/denying people approaching the U.S. border without
27    documents. We’re asking them to come back when we have the capacity to manage
      them.”).
28    57
           You Don’t Have Any Rights Here, supra note 40, at 17.

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1              Answer: Defendants deny that they have implemented a “Turnback Policy.”
2     Defendants aver that CBP has issued guidance permitting ports of entry along the
3     U.S.-Mexico border to implement metering procedures based on their operational
4     capacities when necessary or appropriate to facilitating orderly processing and main-
5     taining the security of the port and safe and sanitary conditions for the traveling
6     public. See Ex. 1, Owen Memo. Defendants presently lack knowledge or information
7     sufficient to form a belief as to whether the Amnesty International report cited in
8     footnote 57 accurately summarizes the statements of the “high-level CBP officer” in
9     the June 2018 meeting in El Paso.
10
               70.     Notably, a September 27, 2018 report from the OIG (“OIG Report”),
11
      attached as Exhibit A, references the policy under which CBP systematically re-
12
      stricts access to the asylum process at POEs and confirms the policy was directed by
13
      DHS. The OIG Report states the existence of a “CBP guidance” which indicates that
14
      “[w]hen the ports of entry are full . . . [CBP] officers should inform individuals that
15
      the port is currently at capacity and that they will be permitted to enter once there is
16
      sufficient space and resources to process them.”58 Although this “guidance” states
17
      that CBP officers “may not discourage individuals from waiting to be processed,”
18
      some officers in El Paso informed OIG investigators that they advise asylum seekers
19
      to “return later.”59 Also, according to the report, while “[u]nder the Zero Tolerance
20
      Policy, the Government encouraged asylum-seekers to come to U.S. ports of en-
21
      try[,] . . . [a]t the same time, CBP reported that overcrowding at the ports of entry
22
      caused them to limit the flow of people that could enter.”60 The report elaborates that
23
24
25
      58
26         OIG Report, supra note 1, at 6.
      59
27         Id. at 7.
      60
28         Id. at 5.


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1     “CBP was regulating the flow of asylum-seekers at ports of entry through ‘meter-
2     ing,’ a practice CBP has utilized at least as far back as 2016 to regulate the flow of
3     individuals at ports of entry.”61
4              Answer: With respect to the allegations in the first sentence of this paragraph,
5     Defendants admit that an OIG report issued on September 27, 2018, mentions that
6     OFO had implemented metering procedures at some ports of entry along the U.S.-
7     Mexico border at the same time the zero tolerance policy was in effect. Defendants
8     deny that the OIG report characterizes CBP’s metering procedures as “systemati-
9     cally restrict[ing] access to the asylum process at [ports of entry],” and aver instead
10    that the OIG report states that “CBP officials informed the OIG team that CBP in-
11    stituted metering to address safety and health hazards that resulted from overcrowd-
12    ing at ports of entry.” Defendants admit the allegations in the second sentence of this
13    paragraph. Defendants admit that this guidance states that CBP officers may not dis-
14    courage individuals from waiting to be processed. Defendants presently lack
15    knowledge or information sufficient to form a belief as to the truth of the allegations
16    that some officers in El Paso advised asylum seekers to return later. Defendants ad-
17    mit the allegations in the fourth and fifth sentences of this paragraph and the allega-
18    tions in the parenthetical in footnote 61.
19
               71.   DHS’s response to the OIG Report confirms that CBP has engaged in
20
      “queue management practices . . . directed by [Defendant Nielsen].62 The response
21
      also confirms that “CBP’s processes and policies at ports of entry may require some
22
23
      61
24      Id. at 5–6; see id. at 6–7 (describing CBP’s “metering” practice at POEs, explain-
25    ing that “CBP officers stand at the international line out in the middle of the foot-
      bridges,” checking pedestrians’ travel documents, and preventing asylum-seekers
26    from crossing the international line until space is “available . . . to hold the individual
27    while being processed”).
      62
28         Id. at 19–20.


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1     individuals who do not have travel documents to wait at the International Boundary
2     prior to entering the United States.”63
3              Answer: Defendants admit the allegations in this paragraph, and aver that
4     DHS’s response, in its entirety, speaks for itself. Defendants aver that DHS’s re-
5     sponse to the OIG report also explains that CBP’s metering/queue management pro-
6     cedures “are in place to protect the health and safety of both travelers and CBP em-
7     ployees in the port area and to ensure appropriate balance of resources across CBP’s
8     multiple critical missions at ports of entry. CBP policy does not require that the in-
9     dividual leave the line and prohibits officers from requiring individuals to leave or
10    turning individuals seeking admission away. At its discretion, CBP may prioritize
11    certain individuals with urgent needs such as those traveling with children, or indi-
12    viduals who may be pregnant or have other medical emergencies, to be processed,
13    even when there otherwise may not be processing resources or holding capacity ab-
14    sent those urgent needs.”
15
               72.      In addition, officials from the Mexican immigration agency, Instituto
16
      Nacional de Migración (“INM”), have confirmed the existence of an agreement with
17
      CBP under which INM assists with the Turnback Policy by hindering asylum seek-
18
      ers’ access to POEs. For example, as reported in the Amnesty International report
19
      released on October 11, 2018, the INM head delegate in the Mexican state of Baja
20
      California reportedly expressed doubt about CBP’s claims of capacity constraints
21
      and “voiced his frustration that [CBP was] making INM do [its] dirty work.”64 The
22
      INM delegate stated:
23
               [T]hat CBP requested INM to remove . . . 20 asylum-seekers from the
24             turnstiles [at the San Ysidro POE], as well as the rest of the [April 2018]
25             caravan members from the plaza at El Chaparral, where they were
26
      63
27         Id. at 20.
      64
28         You Don’t Have Any Rights Here, supra note 40, at 23.


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1              camping on the Mexican side of the port-of-entry. Implicit in the CBP
2              request, the INM delegate said, was that such detentions could result in
               INM deporting those asylum-seekers who were not legally present in
3              Mexico.65
4              Answer: Defendants admit that the allegations in this paragraph accurately
5     quote the cited Amnesty International report, but presently lack knowledge or infor-
6     mation sufficient to form a belief as to the truth of the allegations in this paragraph.
7
               73.      Later, on June 14, 2018, a senior Mexican immigration official in So-
8
      nora reportedly stated that US officials had requested INM to detain and check the
9
      papers of the asylum-seekers whom CBP was pushing back to the Mexican side of
10
      the Nogales border crossing. The INM official relayed also that he understood the
11
      request by US authorities implicitly to be for INM to deport asylum-seekers without
12
      legal status in Mexico to their home countries from which they had fled.66
13
               Answer: Defendants lack knowledge or information sufficient to form a be-
14
      lief as to the truth of the allegations in this paragraph or its footnote.
15
16             74.      Also in June 2018, Mexican immigration officials told human rights
17
18    65
           Id. at 23.
19    66
         Id. at 21; see also id. at 22 (“On the Mexico side of the bridges in July 2018, three
20    Mexican immigration officials informed [a] US immigration lawyer . . . that they
21    were screening asylum-seekers and preventing their access to US ports-of-entry
      upon the request of CBP. One of the Mexican officials told her: ‘Yes, it’s a collabo-
22    rative program that we’re doing with the Americans.’ The immigration officials were
23    detaining non-Mexicans who lacked valid Mexican transit visas, and threatened
      them with deportation if they returned to the bridge. At the mid-point of the bridge,
24    CBP again screened those who were able to pass through the Mexican immigration
25    filter, and forced them to wait on the half of the bridge closer to Mexico. According
      to [the U.S. immigration lawyer], the Mexican immigration officers informed her
26
      that when asylum seekers crossed onto the bridge without valid Mexican travel doc-
27    uments, CBP officers called on Mexican immigration officials to remove them from
28    the bridge.”).


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1     researchers that “CBP officers were calling Mexican immigration to collect any in-
2     dividuals at the border line, including asylum seekers, who attempted to approach
3     the port of entry to request protection and did not have visas or other documenta-
4     tion.” As a result, asylum seekers were physically prevented from reaching the POE
5     to request protection.67
6           Answer: Defendants presently lack knowledge or information sufficient to
7     form a belief as to the truth of the allegations in this paragraph.
8
            75.    Statements from on-the-ground CBP officials further confirm the con-
9
      tinued existence of a high-level Turnback Policy. In El Paso, a CBP official blocking
10
      asylum seekers’ path to the POE on the bridge explained that he was “following
11
      directions. And this is not even local directions.”68 On a separate occasion, CBP
12
      officials in El Paso, including supervisors, told a non-profit worker that they were
13
      turning back asylum seekers because they “ha[d] orders not to let anybody in,” that
14
      “this is a policy across the border,” and that “[i]t’s an order from [U.S. Attorney
15
      General Jeff] Sessions.”69
16
            Answer: Defendants deny that they have implemented a “Turnback Policy.”
17
      Defendants lack knowledge or information sufficient to form a belief as to the truth
18
      of the allegations that individual CBP officers made the statements quoted in this
19
20
      67
21      Human Rights First, Zero-Tolerance Criminal Prosecutions: Punishing Asylum
      Seekers and Separating Families 8 (2018), https://www.humanrightsfirst.org/re-
22
      source/zero-tolerance-criminal-prosecutions-punishing-asylumseekers-and-separat-
23    ing-families [hereinafter Zero-Tolerance Criminal Prosecutions].
      68
24      Robert Moore, Border Agents Are Using a New Weapon Against Asylum Seekers,
25    Tex. Monthly (June 2, 2018), https://www.texasmonthly.com/politics/immigrant-
      advocates-question-legality-of-latest-federal-tactics/.
26    69
         Declaration of Taylor Levy in Support of the State of Wash. at 8, Washington v
27    Trump, No. 18-939-MJP (W.D. Wash. July 2, 2018), https://agpor-
28    tals3bucket.s3.amazonaws.com/uploadedfiles/Another/News/Press_Releases/mo-
      tion%20declarations%201-33.pdf.

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1     paragraph, but in any event deny that they were made at the direction of higher-level
2     CBP officials.
3
               76.   Recent official government statements acknowledging the policy assert
4
      a “lack of capacity” to process the flow of asylum seekers at the southern border. In
5
      fact, and in accordance with a central goal of the Turnback Policy to deter future
6
      asylum seekers from presenting themselves at the U.S. border, CBP’s own statistics
7
      indicate that there has not been a particular surge in numbers of asylum seekers com-
8
      ing to POEs. From January through September 2018, the number of people without
9
      legal status attempting to enter the United States from Mexico, including asylum
10
      seekers, has stayed at roughly the same level as over the previous five years. During
11
      those five years, U.S. authorities regularly processed asylum seekers without the de-
12
      lays that CBP has imposed in 2018.70 Based on available statistics, Amnesty Inter-
13
      national has characterized the “supposedly unmanageable number of asylum claims”
14
      as “a fiction.”71
15
               Answer: Defendants admit that CBP’s metering/queue management proce-
16
      dures are implemented based on a lack of capacity at the ports of entry. Defendants
17
      deny that they have implemented a “Turnback Policy.” Defendants deny that CBP’s
18
      own statistics indicate that there has not been a surge of asylum seekers at ports of
19
      entry along the U.S.-Mexico border. Defendants aver instead that while the total
20
      number of inadmissible aliens apprehended at ports of entry along the U.S.-Mexico
21
      border increased slightly between FY2017 and FY2018, from 111,275 to 124,511,
22
      the total number of those inadmissible aliens who also asserted a claim of fear—i.e.,
23
      asylum seekers—more than doubled, from 17,284 to 38,269. See CBP, “Claims of
24
25
26    70
         Southwest Border Migration FY2018, U.S. Customs & Border Protection,
27    https://www.cbp.gov/newsroom/stats/sw-border-migration (last visited Oct. 10,
      2018).
28    71
           You Don’t Have Any Rights Here, supra note 40, at 14.

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1     Fear: CBP Southwest Border and Claims of Credible Fear Total Apprehensions/In-
2     admissibles (FY2017–FY2018),” https://www.cbp.gov/newsroom/stats/sw-border-
3     migration/claims-fear (last accessed Aug. 7, 2019). Defendants deny the remaining
4     allegations in this paragraph.
5
               77.   In fact, there is substantial evidence that calls into question the claims
6
      of a lack of capacity. There is evidence to suggest such claims are false and instead
7
      are designed to effectuate the broader policy goal of restricting access to the asylum
8
      process, according to governmental and non-governmental sources. In early 2018,
9
      senior CBP and ICE officials in San Ysidro, California, stated in interviews that
10
      “CBP has only actually reached its detention capacity a couple times per year and
11
      during ‘a very short period’ in 2017.”72 The OIG Report notes that while CBP justi-
12
      fies the official “metering” policy by citing a lack of capacity to process asylum
13
      seekers, “the OIG team did not observe severe overcrowding at the ports of entry it
14
      visited.”73 Human rights researchers visiting seven POEs in Texas in June 2018 re-
15
      ported that “[t]he processing rooms visible in the ports of entry . . . appeared to be
16
      largely empty.”74 CBP’s “capacity” excuse appears to be a cover for a “deliberate
17
      slowdown” of the rate at which the agency receives asylum seekers at POEs.75
18
19    72
        Id. at 15 (citing an interview with ICE’s Assistant Field Office Director at Otay
20    Mesa Detention Center on May 1, 2018, and an interview with the CBP Field Officer
      Director in San Diego on January 5, 2018).
21
      73
           OIG Report, supra note 1, at 8.
22
      74
           Zero-Tolerance Criminal Prosecutions, supra note 67, at 9.
23
      75
        Adam Isacson et al., Wash. Office on Latin Am., “Come Back Later”: Challenges
24    for Asylum Seekers Waiting at Ports of Entry 3 (2018), https://www.wola.org/wp-
25    content/uploads/2018/08/Ports-of-Entry-Report_PDFvers-3.pdf [hereinafter Come
      Back Later]; Debbie Nathan, Desperate Asylum-Seekers Are Being Turned Away by
26
      U.S. Border Agents Claiming There’s “No Room”, The Intercept (June 16, 2018,
27    8:37 AM), https://theintercept.com/2018/06/16/immigration-border-asylum-central-
28    america/ (reporting that a shelter manager in the El Paso area familiar with CBP’s


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1              Answer: With respect to the allegations in the first and second sentences of
2     this paragraph, Defendants deny that their claims of a lack of capacity are false.
3     Defendants presently lack knowledge or information sufficient to form a belief as to
4     the truth of the allegations in the third sentence of this paragraph. Defendants admit
5     that the OIG report states that the OIG team did not observe severe overcrowding at
6     the ports of entry it visited, and aver that the OIG report also clearly states: “During
7     our visits, OIG did not observe CBP turning away asylum-seekers while there was
8     available space.” Defendants admit that the Human Rights First report cited in foot-
9     note 74 states that “[t]he processing rooms visible in the ports of entry visited by
10    Human Rights First appeared to be largely empty,” but deny that the number of peo-
11    ple in a processing room—i.e., a waiting area—at a given moment is, by itself, nec-
12    essarily sufficient to demonstrate a port’s capacity. Defendants deny that their asser-
13    tions of a lack of capacity are a “cover” for a deliberate slowdown of the rate at
14    which the agency receives asylum seekers at ports of entry.
15
               78.   On October 10, 2018, CBP rejected thirty-two asylum seekers includ-
16
      ing small children and pregnant women at the Córdoba International Bridge between
17
      Ciudad Juarez and El Paso, Texas. CBP stopped the individuals and told them that
18
      there was no capacity to take them in, including the pregnant women who were some
19
      of the most vulnerable people in the group. However, only two or so hours later,
20
      CBP officers in the middle of the bridge received orders to let all thirty-two individ-
21
      uals in belying the initial assertion of a lack of capacity. Similarly, in Nogales, Ari-
22
      zona, recently CBP abruptly switched from processing six asylum seekers per day—
23
      citing a lack of capacity to take any more—to twenty asylum seekers per day. “The
24
      sudden change in processing capability points more to an administrative decision
25
      than to an increase in capacity which would more likely happen gradually.”76
26
27
      and ICE’s local processing facilities “can’t imagine they are overtaxed”).
28    76
           Come Back Later, supra note 75, at 5.

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1           Answer: Defendants admit that metering procedures were in place at the El
2     Paso port of entry on October 10, 2018. Defendants deny that the El Paso port of
3     entry “rejected” any individuals from crossing into the port. Defendants lack
4     knowledge or information sufficient to form a belief as to the truth of the remaining
5     allegations in this paragraph.
6
            79.    By restricting the number of individuals who can seek access to the
7
      asylum process—particularly given manifestly grave dangers asylum seekers face
8
      while waiting on the Mexican side of the border—the Turnback policy operates as a
9
      constructive denial of access to the asylum process. The denial threatens grave harm
10
      to vulnerable individuals waiting in very dangerous conditions on the Mexican side
11
      of the border.
12
            Answer: Defendants deny that they are restricting the number of individuals
13
      who can seek access to the asylum process or that they are constructively denying
14
      anyone the opportunity to seek access to the asylum process and aver instead that
15
      CBP has issued guidance permitting ports of entry along the U.S.-Mexico border to
16
      implement metering procedures based on their operational capacities when neces-
17
      sary or appropriate to facilitating orderly processing and maintaining the security of
18
      the port and safe and sanitary conditions for the traveling public. See Ex. 1, Owen
19
      Memo. Defendants lack knowledge or information sufficient to form a belief as to
20
      the truth of the remaining allegations in this paragraph.
21
22          80.    In addition, an assertion of a lack of capacity is not a lawful basis to
23    deny the non-discretionary duty to provide access to the asylum process.
24          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
25    response is required. To the extent the Court requires a response, Defendants deny
26    the allegations in this paragraph.
27
28

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1           81.    Other U.S. government entities have raised concerns about CBP’s treat-
2     ment of asylum seekers. In 2016, for example, the bipartisan U.S. Commission on
3     International Religious Freedom noted some CBP officers’ “outright skepticism, if
4     not hostility, toward asylum claims.”77
5           Answer: Defendants admit only that this paragraph accurately quotes the
6     cited portions of the Commission’s report, which, in its entirety, speaks for itself.
7     Defendants deny any remaining allegations in this paragraph.
8
            82.    Congress has also signaled concern over CBP’s treatment of asylum
9
      seekers at the border. “While proposing over $58 billion in federal funding for DHS
10
      agencies, the House Appropriations Committee in July 2018 called on DHS to ‘en-
11
      sure that the United States is meeting its legal obligations, to include reminding field
12
      officers and agents about CBP’s legal responsibilities to ensure that asylum-seekers
13
      can enter at POEs [ports-of-entry].’”78
14
            Answer: Defendants admit only that this paragraph accurately quotes from
15
      the House Committee report, which, in its entirety, speaks for itself. Defendants deny
16
17
18    77
         See U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection: The Treat-
19    ment of Asylum Seekers in Expedited Removal 2 (2016) (reporting that despite find-
20    ings and recommendations in a 2005 study relating to primary inspection, USCIRF
      observers in 2016 continued to find “several examples of non-compliance with re-
21    quired procedures” in CBP primary inspection interviews); see also 2005 USCIRF
22    Report, supra note 37, at 54 (finding that, in approximately half of the inspections
      observed, inspectors failed to read the proper advisals regarding asylum to the non-
23
      citizen and that “in 15 percent of [the] cases [ ] where an arriving [non-citizen] ex-
24    pressed a fear of return to the inspector, that [non-citizen] was not referred” for a
25    credible fear interview).
      78
        You Don’t Have Any Rights Here, supra note 40, at 11 (citing Staff of H.R. Comm.
26
      on Appropriations, 115th Cong., Rep. on Department of Homeland Security Appro-
27    priations Bill, 2019 4, 26 (Comm. Print 2018), https://docs.house.gov/meet-
28    ings/AP/AP00/20180725/108623/HMKP-115-AP00-20180725-SD004.pdf [herein-
      after Bill Report Draft]).

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1     any remaining allegations in this paragraph.
2
            83.    As detailed below, Plaintiffs Bianca, Emiliana, César, Roberto, Maria,
3
      Úrsula, and Juan were each subject to the Turnback Policy when CBP officials told
4
      them there was no capacity to process them and/or that they had to wait an unrea-
5
      sonable or indeterminate amount of time in very dangerous conditions on the Mexi-
6
      can side of the border before they could access the asylum process. Plaintiffs Victo-
7
      ria, César, Maria, Úrsula, and Juan were each subject to the Turnback Policy when
8
      CBP officials told them to speak to a Mexican official (Victoria) or when Mexican
9
      officials intercepted them (César, Maria, Úrsula, Juan) and interfered with their abil-
10
      ity to access the U.S. asylum process.
11
            Answer: Defendants deny that they have implemented a “Turnback Policy”
12
      and that any individual Plaintiff was subjected to a “Turnback Policy.” Defendants
13
      aver that CBP has issued guidance permitting ports of entry along the U.S.-Mexico
14
      border to implement metering procedures based on their operational capacities when
15
      necessary or appropriate to facilitating orderly processing and maintaining the secu-
16
      rity of the port and safe and sanitary conditions for the traveling public. See Ex. 1,
17
      Owen Memo. Defendants lack knowledge or information sufficient to form a belief
18
      as to whether any individual Plaintiff sought to enter a particular port of entry during
19
      a period when the port was metering, whether any individual Plaintiff was instructed
20
      to speak to a Mexican government official, or whether any individual Plaintiff was
21
      intercepted by a Mexican government official.
22
23    C.    CBP Officials’ Unlawful Practices Have Denied Hundreds of Asylum
24          Seekers Access to the Asylum Process

25          84.    Starting in or around mid-2016 and continuing to the present, CBP of-

26    ficials also have been engaging in other unlawful, widespread practices to deny asy-

27    lum seekers access to the asylum process—independently or as a part of or incident

28    to the Turnback Policy. These practices include the use of misrepresentations; threats


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1     and intimidation; coercion; and verbal and physical abuse; denying outright access
2     to the asylum process; physically obstructing access to the POE; forcing asylum
3     seekers to wait unreasonable or indeterminate amounts of time before being pro-
4     cessed; and racially discriminatory denials of access. Asylum seekers and advocates
5     have experienced and/or witnessed firsthand CBP’s illegal conduct.
6           Answer: Defendants deny the allegations in the first sentence of this para-
7     graph. With respect to the allegations in the second sentence of this paragraph, De-
8     fendants deny that they have sanctioned the use of lying, threats, intimidation, coer-
9     cion, verbal or physical abuse, outright denial of access to the asylum process, or
10    denial of access to the asylum process in a racially discriminatory manner in their
11    management of the ports of entry, either as part of or independent of CBP’s meter-
12    ing/queue management practices. Defendants admit that they have sanctioned the
13    use of physical access controls at the border. Defendants admit that some individuals
14    may be required to wait in Mexico before entering a port of entry, but deny that such
15    wait times are unreasonable. Defendants deny any remaining allegations in this par-
16    agraph.
17
            1.     Misrepresentations
18
            85.    CBP officials misinform asylum seekers with the following misrepre-
19
      sentations, among others: that the United States is no longer providing asylum; that
20
      President Trump signed a new law that ended asylum in the United States; that the
21
      law providing asylum to Central Americans ended; that Mexicans are no longer eli-
22
      gible for asylum; that the United States is no longer accepting mothers with children;
23
      that the United States got rid of the law that allowed for asylum for children; that
24
      asylum seekers cannot seek asylum at the POE, but must go to the U.S. Consulate in
25
      Mexico instead; that visas are required to cross at a POE; that asylum seekers must
26
      first speak with Mexican immigration officials before they will be allowed to enter
27
      the United States to seek asylum; that there is not “space” for additional asylum
28

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1     seekers to enter; that there are “too many people”; that the port is “full”; that the
2     shelters or detention centers where asylum seekers will be held are “full”; that there
3     are too few officials in the port to process asylum seekers; that asylum seekers must
4     wait for people to leave before they can enter; and that by coming to the POE, asylum
5     seekers are in a “federal zone” and therefore they must leave.
6           Answer: Defendants admit only that CBP officers have implemented meter-
7     ing/queue management practices based on the ports’ operational capacities and have
8     at times instructed aliens who lack entry documents to wait to enter until the port has
9     the capacity to process their application for admission. Defendants deny that CBP
10    officers’ statements related to the ports’ operational capacities are misrepresenta-
11    tions. Defendants deny that the use of “misrepresentations” is consistent with agency
12    guidance. Defendants presently lack knowledge or information sufficient to form a
13    belief as to the truth of the remaining allegations in this paragraph.
14
            86.    Class Plaintiffs Abigail, Beatrice, Dinora, Ingrid, Victoria, Bianca,
15
      Emiliana, Roberto, Úrsula, and Juan each experienced this practice. Dinora and In-
16
      grid both were told asylum was no longer available in the United States. Abigail was
17
      told that only the Mexican government could help her. Beatrice was told that the
18
      U.S. government had no obligation to help her and that she had no right to enter the
19
      United States. Victoria and Bianca were told they needed to speak with Mexican
20
      officials. When Bianca, Emiliana, and Roberto approached CBP officials to apply
21
      for asylum, they were told they could not apply because the ports were “full.” Úrsula
22
      and Juan were told that the POE was “closed” even though it was mid-afternoon.
23
            Answer: Defendants presently lack knowledge or information sufficient to
24
      form a belief as to the truth of the allegations in this paragraph.
25
26          2.     Threats and Intimidation
27          87.    CBP officials threaten and intimidate asylum seekers in the following
28    ways: threatening to take asylum seekers’ children away from them if they did not

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1     leave the POE; threatening to separate children from parents if they did not accept
2     voluntary departure; threatening to detain and to deport asylum seekers to their home
3     countries if they persisted in their claims; threatening to ban asylum seekers from
4     the United States for life if they continued to pursue asylum; threatening to bring
5     criminal charges against asylum seekers if they refused to leave the POE; threatening
6     to use a taser or let dogs loose if asylum seekers refused to go back to Mexico; and
7     threatening to call Mexican immigration officers if asylum seekers did not leave the
8     POE.
9            Answer: Defendants deny that the use of “threats and intimidation” is con-
10    sistent with agency policy. Defendants presently lack knowledge or information suf-
11    ficient to form a belief as to the truth of the remaining allegations in this paragraph.
12
             88.   Class Plaintiffs Abigail, Beatrice, and Carolina each experienced this
13
      practice and were threatened that if they tried to cross and pursue their asylum
14
      claims, U.S. government officials would take their children away or separate their
15
      families. Additionally, Dinora was threatened that if she and her daughter returned
16
      to the POE, they would be deported to Honduras. Beatrice was told that if she re-
17
      turned to the POE, she would be put in jail for three years.
18
             Answer: Defendants presently lack knowledge or information sufficient to
19
      form a belief as to the truth of the allegations in this paragraph.
20
21           3.    Verbal and Physical Abuse
22           89.   As part of their systematic practice of denying asylum seekers arriving
23    at POEs access to the U.S. asylum process, CBP officials also regularly resort to
24    verbal and even physical abuse, including, for example, by: grabbing an asylum
25    seeker’s six-year-old daughter’s arm and throwing her down onto the ground; hold-
26    ing a gun to an asylum seeker’s back and forcing her out of the POE; knocking a
27    transgender asylum seeker to the ground and stepping on her neck; telling an asylum
28    seeker she was scaring her five-year-old son by persisting in her request for asylum

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1     and accusing her of being a bad mother; laughing at an asylum-seeking mother and
2     her three children and mocking the asylum seeker’s thirteen-year-old son who has
3     cerebral palsy; yelling profanities at an asylum-seeking mother and her five-year-
4     old son, throwing her to the ground, and forcefully pressing her cheek into the pave-
5     ment; making very derogatory comments about an asylum seeker’s country of origin
6     (“Fuck Honduras”); denying four asylum seekers on five consecutive days because
7     “Guatemalans make us sick”; repeatedly and angrily yelling at asylum seekers to
8     make them leave the POE; inquiring whether an asylum seeker was pregnant, and
9     when the answer was negative, saying “that was good because they did not want
10    more children in the United States”; grabbing the arms of an asylum seeker hard
11    enough to leave bruises, bending them behind her back in order to drag her back to
12    Mexico, and also physically dragging her child back to Mexico; grabbing another
13    asylum seeker by the shoulders hard enough to leave bruises and dragging her out
14    of the POE with her seven-year-old watching and yelling “leave my mommy
15    alone!”; pushing an asylum seeker while she was holding her infant daughter; and
16    pushing another asylum seeker while she was holding her three-year-old son. One
17    asylum seeker reported that she sought mental health treatment to process how she
18    was treated after being forcibly dragged out of the POE and back to Mexico with her
19    two children.
20          Answer: Defendants admit that, on at least one occasion, CBP officers at a
21    land port of entry along the U.S.-Mexico border used verbal abuse or physical force,
22    but deny that such conduct was or is consistent with agency policy. Defendants pres-
23    ently lack knowledge or information sufficient to form a belief as to the truth of the
24    remaining allegations in this paragraph.
25
            90.    Class Plaintiffs Dinora and Beatrice both experienced this practice. One
26
      CBP official pulled Dinora inside a gate at the POE to try to separate her from her
27
      daughter. Later, as CBP officials escorted Dinora and her daughter out of the POE,
28

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1     one of the CBP officials tried to drag Dinora by her arm. Beatrice also experienced
2     rough treatment and cried out in pain when a CBP official forcefully searched her
3     for drugs.
4           Answer: Defendants lack knowledge or information sufficient to form a be-
5     lief as to the truth of the allegations in this paragraph.
6
            4.     Coercion
7
            91.    CBP officials resort to coercion to deny asylum seekers arriving at
8
      POEs access to the U.S. asylum process, including: coercing asylum seekers into
9
      recanting their fear on video; and coercing asylum seekers into withdrawing their
10
      applications for admission to the United States.
11
            Answer: Defendants deny that the use of “coercion” is consistent with CBP
12
      policy. Defendants presently lack knowledge or information sufficient to form a be-
13
      lief as to the truth of the remaining allegations in this paragraph.
14
15          92.    Class Plaintiffs Abigail, Beatrice and Carolina each experienced this
16    practice of coercion. Each was coerced to sign a form, written in English and not
17    translated, which they did not understand, that stated they were voluntarily with-
18    drawing their claims for asylum on the ground that they did not fear returning to
19    Mexico. The forms CBP officials coerced them to sign were and still are false. At
20    the time the initial Complaint in this case was filed, Abigail, Beatrice and Carolina
21    still had a grave fear of persecution in Mexico.
22          Answer: Defendants admit that Abigail, Beatrice, and Carolina each with-
23    drew their applications for admission, but deny that such withdrawals were coerced.
24    Defendants admit that the Form I-275, Withdrawal of Application for Admis-
25    sion/Consular Notification, is written in English, but aver that Abigail’s, Beatrice’s,
26    and Carolina’s processing was conducted in Spanish. Defendants lack knowledge or
27    information sufficient to form a belief as to the truth of the allegations in the last
28    sentence of this paragraph.

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1             5.    Outright Denial of Access
2             93.   In some cases, CBP officials simply turn asylum seekers away from
3     POEs without any substantive explanation. For example, CBP officials have indi-
4     cated that a particular POE is not receiving any asylum seekers; that asylum seekers
5     should “vete” (go away); that asylum seekers must leave; that asylum seekers will
6     not be allowed to enter the United States; that there is no help for asylum seekers at
7     the POE; and that asylum seekers simply must “move aside” to allow other pedes-
8     trian traffic to pass. In other cases, CBP officials simply ignore people who indicate
9     a desire to seek asylum, or flatly refuse to look at their identity documents.
10            Answer: Defendants admit that, on at least one occasion, an individual arrived
11    at a port of entry and was not properly processed, but deny that outright denial of
12    access to the ports of entry is consistent with agency policy. Defendants lack
13    knowledge or information sufficient to form a belief as to the truth of the remaining
14    allegations in this paragraph.
15
              94.   Victoria and César both experienced this practice. When Victoria told
16
      a CBP official she wanted to seek asylum, the official responded that she could not
17
      do so at that time. When César tried to present himself at a POE and stated his intent
18
      to apply for asylum, CBP officials refused to let him proceed to the POE.
19
              Answer: Defendants presently lack knowledge or information sufficient to
20
      form a belief as to the truth of the allegations in this paragraph.
21
22            6.    Physically Blocking Access to the POE
23            95.   In recent months, CBP officials at numerous POEs have begun prelim-
24    inarily checking pedestrian travelers’ documents at makeshift or permanent “pre-
25    checkpoints” housed under tarps or in tents at or near the U.S.-Mexico border.79 The
26
27
      79
28         See, e.g., Hannah Wiley, Critics Say New Barriers on Border Bridge Are Meant


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1     CBP officials do not permit asylum seekers to walk past the pre-checkpoint to enter
2     the POE building, forcing them to remain on the Mexican side of the border just
3     inches away from the United States.
4           Answer: Defendants admit only the allegations in this paragraph.
5
            96.    On information and belief, CBP sometimes enlists Mexican officials to
6
      act as their agents in blocking asylum seekers’ access to POEs. In the Rio Grande
7
      Valley, for example, Mexican officials have intercepted asylum seekers as they were
8
      approaching turnstiles at bridge entrances on the Mexican side. Without passing
9
      through the turnstile, an asylum seeker cannot walk across the bridge to the POE to
10
      seek protection in the United States. Mexican officials also reportedly meet CBP
11
      officials in the middle of bridges to escort asylum seekers away from the border and
12
      back into Mexico, where they are often detained or deported to dangerous conditions
13
      in their home countries.
14
            Answer: Defendants admit that CBP officers communicate with Mexican of-
15
      ficials regarding metering/queue management procedures. Defendants lack
16
      knowledge or information sufficient to form a belief as to the truth of the remaining
17
      allegations in this paragraph.
18
19
20
21
      to Deter Asylum-Seekers, Tex. Trib. (Oct. 1, 2018), https://www.texastrib-
22    une.org/2018/10/01/border-asylum-port-of-entry-texas-mexico/; Meredith Hoff-
23    man, The Horrible Conditions Endured by Migrants Hoping to Enter the US Legally,
      VICE (July 3, 2018), https://www.vice.com/en_us/article/59qny3/migrants-hoping-
24    to-get-us-asylum-forced-to-wait-on-bridge; John Burnett, After Traveling 2,000
25    Miles for Asylum, This Family's Journey Halts at a Bridge, NPR (June 15, 2018),
      https://www.npr.org/2018/06/15/620310589/after-a-2-000-mile-asylum-journey-
26
      family-is-turned-away-before-reaching-u-ssoil; Molly Hennessy-Fiske, Caught in
27    Limbo, Central American Asylum-Seekers Are Left Waiting on a Bridge Over the
28    Rio Grande, L.A. Times (June 7, 2018), http://www.latimes.com/nation/la-na-asy-
      lum-seeking-families-borderbridges-20180605-story.html; Moore, supra note 68.

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1           97.    CBP physically blocked Roberto, Maria, Úrsula, and Juan from access-
2     ing the asylum process by stopping them at pre-checkpoints at the border and refus-
3     ing to let them pass. In addition, César was intercepted by Mexican officials outside
4     the POE and pushed into a corner to prevent him from approaching the POE. Mexi-
5     can officials physically escorted Roberto and Maria away from CBP officials sta-
6     tioned at the border and detained them to block their access to the POE. Mexican
7     officials also blocked Maria, Juan, and Úrsula from reaching the POE by preventing
8     them from walking onto the sidewalk leading to the POE. CBP officials witnessed
9     Mexican officials block Maria’s access and, when Maria’s lawyer questioned them
10    about it, CBP officials refused to intervene.
11          Answer: Defendants presently lack knowledge or information sufficient to
12    form a belief as to the truth of the allegations in this paragraph.
13
            7.     Waitlists and Unreasonable Delays
14
            98.    By its own admission, CBP officials force asylum seekers to wait for
15
      days, weeks or indefinitely in Mexico before allowing them to access the asylum
16
      process.
17
            Answer: Defendants admit that, at times, aliens without entry documents,
18
      some of whom may later seek asylum, may need to wait to enter the land ports of
19
      entry along the U.S.-Mexico border until the ports have the operational capacity to
20
      process their applications for admission. Defendants admit that some such aliens
21
      may wait for days or weeks, but deny that the wait is indefinite. Defendants deny
22
      any remaining allegations or characterizations in this paragraph.
23
24          99.    CBP officials process a limited number of asylum seekers per day, even
25    when dozens are waiting. At some POEs, CBP appears to process a fixed number of
26    asylum seekers—often two, three, or four. On some days, CBP officials do not pro-
27    cess any asylum seekers.
28          Answer: Defendants admit only that, on a given day, CBP officials permit as

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1     many individuals who lack entry documents into the ports as operational capacity
2     permits, and that, on some days, a port may not have the capacity to process any
3     such individuals. Defendants deny any remaining allegations or characterizations in
4     this paragraph.
5
             100. CBP officials also routinely tell asylum seekers approaching POEs that
6
      in order to apply for asylum, they must get on a list or get a number. The lists are
7
      typically managed by Mexican immigration officials or other third parties based in
8
      Mexico. CBP officials will not permit asylum seekers to enter the United States until
9
      their number is called, which can take days, weeks or longer. Often, the people man-
10
      aging the lists only give out new numbers during particular hours of the day, and so
11
      are inaccessible to asylum seekers who are unable to locate them. Despite diligent
12
      efforts, some individuals have reportedly been unable to get their names on the lists
13
      due to the list managers’ biases against the individuals’ ethnicity, sexual orientation
14
      or gender identity.
15
             Answer: Defendants presently lack knowledge or information sufficient to
16
      form a belief as to the truth of the allegations in the first and second sentences of this
17
      paragraph. Defendants deny the allegations in the third sentence of this paragraph.
18
      Defendants presently lack knowledge or information sufficient to form a belief as to
19
      the truth of the allegations in the fourth and fifth sentences of this paragraph.
20
21           101. As a result of these practices, asylum-seeking men, women and children
22    wait endlessly on or near bridges leading to POEs in rain, cold, and blistering heat,
23    without sufficient food or water and with limited bathroom access. They sleep out-
24    side for many nights in a row, sometimes for a week or more. The entire time they
25    are waiting to be processed, the asylum seekers are at risk of harm from either per-
26    secutors that have followed them from their home countries, or from gang violence
27    and other criminal threats prevalent along the Mexico side of the U.S.-Mexico bor-
28    der.

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1              Answer: Defendants presently lack knowledge or information sufficient to
2     form a belief as to the truth of the allegations in this paragraph.
3
               102. Bianca, Emiliana, and César experienced this practice because they
4
      were required to get on a list in order to access the asylum process. Bianca, Emiliana,
5
      and Roberto were told they would have to wait an indeterminate and unreasonable
6
      amount of time before they could seek asylum—Bianca was told she would have to
7
      wait “multiple weeks”; Emiliana was told to come back in six weeks; Roberto was
8
      told he would have to wait for “hours, days, or weeks”. In addition, Bianca, Emili-
9
      ana, and Maria were merely told to stand aside and wait for an indeterminate period
10
      of time. Úrsula and Juan were told they had to “wait their turn,” without any indica-
11
      tion of what that meant.
12
               Answer: Defendants presently lack knowledge or information sufficient to
13
      form a belief as to the truth of the allegations in this paragraph.
14
15             8.    Racially Discriminatory Denials of Access
16             103. In March 2018, CBP officials at the midpoint of the Paso Del Norte
17    Bridge separating Ciudad Juarez, Mexico and El Paso, Texas, rejected four Guate-
18    malan asylum seekers’ requests to access the asylum process on five consecutive
19    days because according to CBP, “Guatemalans make us sick.”
20             Answer: Defendants deny that they have sanctioned the use of racially dis-
21    crimination in their port management practices. Defendants lack knowledge or in-
22    formation sufficient to form a belief as to the truth of the allegations in this para-
23    graph.
24
               104. On information and belief CBP agents racially profile individuals
25
      crossing on bridges, stopping and asking for identification documents from darker-
26
      skinned Central American-appearing individuals while allowing lighter-skinned in-
27
      dividuals to pass.
28

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1           Answer: Defendants lack knowledge or information sufficient to form a be-
2     lief as to the truth of the allegations in this paragraph.
3
            105. César was subject to this practice. When he approached the POE to ap-
4
      ply for asylum, he was placed in a group with only other Central Americans, away
5
      from the Africans and Mexicans, after which he was arrested, detained, and threat-
6
      ened with deportation.
7
            Answer: Defendants lack knowledge or information sufficient to form a be-
8
      lief as to the truth of the allegations in this paragraph.
9
10          106. All of the above-referenced tactics served to deny asylum seekers ac-
11    cess to the U.S. asylum process.
12          Answer: Defendants deny they have sanctioned the widespread tactics al-
13    leged above to deny asylum seekers access to the asylum process.
14
      D.    Documentation from Experts and NGOs Confirms the Prevalence and
15          Persistence of the Turnback Policy and CBP’s Other Unlawful Practices
16          107. Non-governmental organizations and other experts working in the U.S.-
17    Mexico border region have extensively documented the devastating consequences
18    of CBP’s unlawful Turnback Policy and other unlawful practices designed to restrict
19    or deny access to the asylum process.
20          Answer: Defendants deny that they have implemented a “Turnback Policy”
21    or other unlawful practices designed to restrict or deny access to the asylum process.
22    Defendants admit that non-governmental organizations and other individuals pur-
23    port to have documented CBP’s conduct at ports of entry along the U.S.-Mexico
24    border.
25
26          108. In June 2017, Amnesty International, a non-profit human rights organ-

27    ization, published a report on CBP’s ongoing practice of turning back asylum seek-

28    ers at the U.S.-Mexico border entitled Facing Walls: USA and Mexico’s Violations


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1     of the Rights of Asylum-Seekers.80 In compiling the report, Amnesty International
2     interviewed more than 120 asylum seekers as well as approximately 25 government
3     officials and 40 civil society organizations. The report documents numerous in-
4     stances in which CBP officials denied asylum seekers access to the asylum system
5     at five different POEs along the U.S.-Mexico border. The report details the following
6     conduct:
7                 a. CBP officials coerce asylum seekers into recanting their fear of perse-
8                    cution on videotape and threaten to deport them back to their home
9                    countries if they do not comply;
10                b. CBP officials tell asylum seekers that they will first have to get a
11                   “ticket” from Mexican authorities before seeking asylum;
12                c. CBP officials coerce asylum seekers into signing a voluntary return pa-
13                   per under the threat that, if they do not, then they will be deported and
14                   will never be allowed into the United States; and
15                d. CBP officials tell Mexican asylum seekers that there is no more asylum
16                   for Mexicans.
17             Answer: Defendants admit only that this paragraph describes select portions
18    of the cited Amnesty International report, which speaks for itself.
19
               109. In October 2018, Amnesty International issued a subsequent report en-
20
      titled USA: ‘You Don’t Have Any Rights Here’: Illegal Pushbacks, Arbitrary Deten-
21
      tion & Ill-Treatment of Asylum-Seekers in the United States,81 documenting CBP’s
22
      continuing practice of turnbacks at POEs in California, Arizona and Texas, and con-
23
      cluding that, in 2017 and 2018, the U.S. government had “intensified a systematic
24
      and dangerous de facto policy of illegal pushbacks against asylum seekers, in order
25
26
27    80
           See Facing Walls, supra note 38.
28    81
           You Don’t Have Any Rights Here, supra note 40.

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1     to prevent them from requesting protection at official U.S. ports-of-entry.” In addi-
2     tion to the conduct outlined above, the report details the following:
3                a. CBP used “slowdown” tactics to force asylum seekers to wait for days
4                   or weeks in Mexico before allowing them to seek protection at POEs;
5                b. At several POEs, CBP officials temporarily stopped receiving any asy-
6                   lum seekers;
7                c. CBP erected temporary checkpoints in the centers of international
8                   bridges to Mexico at various POEs, where CBP officers instructed pe-
9                   destrians without valid Mexican travel documents to return to Mexico
10                  or called Mexican officials to remove such individuals from the bridge.
11            Answer: Defendants admit only that this paragraph describes select portions
12    of the cited Amnesty International report, which speaks for itself.
13
              110. In August 2018, the Washington Office on Latin America (“WOLA”),
14
      a non-profit human rights research and advocacy organization, published a thorough
15
      report entitled ‘Come Back Later’: Challenges for Asylum Seekers Waiting at Ports
16
      of Entry.82 WOLA’s report, based on years of documentary research and a visit to
17
      the U.S.-Mexico border in June 2018, details the following developments:
18
                 a. There has recently been “a marked slow-down” in CBP’s processing of
19
                    asylum seekers at POEs, leading to long lines of individuals and fami-
20
                    lies waiting to present themselves to seek asylum;
21
                 b. In June 2018, CBP officials at the Nogales POE had allowed a backlog
22
                    of 113 people, including 48 families, who were waiting in Nogales,
23
                    Mexico to present themselves to seek asylum;
24
                 c. CBP officials “have positioned themselves on the [physical] border,
25
                    pre-screening people before they are allowed to enter U.S. territory and
26
                    repeatedly denying asylum-seekers entry into the country, forcing them
27
28    82
           Come Back Later, supra note 75.

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1                    to wait days or even weeks in hot and in some areas dangerous Mexican
2                    border towns”;
3                 d. CBP officials at smaller POEs tell asylum seekers that they no longer
4                    process asylum claims at those POEs, and that the migrants must travel
5                    to larger POEs many miles away; and
6                 e. Mexican government officials block access to the McAllen POE on the
7                    Reynosa side, and detain asylum seekers who lack the proper travel
8                    documents to be in Mexico.
9              Answer: Defendants admit only that this paragraph describes select portions
10    of the cited WOLA report, which speaks for itself.
11
               111. In May 2017, Human Rights First, a respected non-governmental or-
12
      ganization, published an exhaustive report entitled, “Crossing the Line: U.S. Border
13
      Agents Illegally Reject Asylum Seekers.”83 In that report, Human Rights First details
14
      firsthand accounts of CBP officials turning back asylum seekers without referring
15
      them for further screening or immigration court proceedings at POEs across the
16
      U.S.-Mexico border. The report details the following conduct:
17
                  a. CBP officials simply ignore requests by individuals to seek asylum;
18
                  b. CBP officials give false information about U.S. laws and procedures,
19
                     such as saying that “the United States is not giving asylum anymore”
20
                     and “[President] Trump says we don’t have to let you in”;
21
                  c. CBP officials mock and intimidate asylum seekers;
22
                  d. CBP officials impose a “gauntlet” and “charade” of procedures, includ-
23
                     ing a “ticketing” system, to discourage asylum seekers; and
24
                  e. CBP officials coerce asylum seekers into denouncing any fear of per-
25
                     secution.
26
               Answer: Defendants admit only that this paragraph describes select portions
27
28    83
           See Crossing the Line, supra note 32.

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1     of the cited Human Rights First report, which speaks for itself.
2
            112. Despite the complete lack of statistics or recordkeeping on CBP’s fail-
3
      ure to comply with the law, Human Rights First’s Report references more than 125
4
      cases of CBP turning back individuals and families seeking asylum at POEs along
5
      the U.S.-Mexico border between November 2016 and April 2017. This is likely a
6
      small fraction of the number of asylum seekers who were illegally denied access to
7
      the asylum process during that period.
8
            Answer: Defendants admit that they do not record the number of people in-
9
      structed to wait in Mexico pursuant to their metering/queue management procedures.
10
      Defendants admit that the cited Human Rights First report purports to document
11
      more than 125 cases of CBP turning people back at ports of entry along the U.S.-
12
      Mexico border between November 2016 and April 2017; Defendants presently lack
13
      knowledge or information sufficient to form a belief as to the truth of that allegation
14
      and the remaining allegations in this paragraph.
15
16          113. In July 2018, Human Rights First supplemented its 2017 report with an
17    issue brief documenting researchers’ visits to seven international bridges in June
18    2018, at Hidalgo, Texas; Brownsville, Texas; Roma, Texas; Progreso, Texas; La-
19    redo, Texas; and El Paso, Texas. The researchers found:
20              a. At all seven bridges visited, “CBP installed new checkpoints at the in-
21                 ternational border line” where “agents conduct document screening
22                 ahead of the processing center” and regularly turn back asylum seekers;
23              b. CBP agents tell asylum seekers at the bridges that the POE is “full” or
24                 “at capacity,” which leaves asylum seekers “stranded for days or weeks
25                 in dangerous or difficult conditions”;
26              c. Asylum seekers whom CBP fails to process “face extreme heat, lack of
27                 food, water, and bathroom facilities, [and] in some areas, they also face
28                 grave dangers and risks,” particularly kidnapping;

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1                 d. A shelter in Tijuana, Mexico, was broken into and set on fire “likely
2                    because a group of transgender women were seeking refuge there after
3                    being turned away several times by [CBP]”; and
4                 e. CBP officers tell asylum seekers that they cannot cross at the Stanton
5                    Street Bridge POE in El Paso, Texas.84
6              Answer: Defendants admit only that this paragraph describes select portions
7     of the cited Human Rights First supplement, which speaks for itself.
8
               114. From December 2016 to the present, the Women’s Refugee Commis-
9
      sion, a non-profit organization that advocates for women and children fleeing vio-
10
      lence and persecution, has investigated and documented numerous instances in
11
      which CBP officials have turned asylum seekers away and refused to process them
12
      at various POEs along the U.S.-Mexico border, including POEs in San Ysidro and
13
      Calexico, California; Nogales and San Luis, Arizona; Santa Teresa, New Mexico;
14
      and El Paso, Laredo, and McAllen, Texas. The Women’s Refugee Commission has
15
      documented the following conduct:
16
                  a. CBP officials tell asylum seekers there is no space for them;
17
                  b. CBP officials tell asylum seekers that the policies have changed and
18
                     that they no longer qualify for asylum;
19
                  c. CBP officials threaten to call Mexican immigration authorities to re-
20
                     move asylum seekers from the POEs;
21
                  d. CBP officials threaten asylum seekers with prolonged detention in the
22
                     U.S. if they pursue their asylum claims;
23
                  e. CBP officials threaten physical force to remove asylum seekers from
24
                     the POEs;
25
                  f. CBP officials forcibly remove asylum seekers from the POEs;
26
                  g. CBP officials tell asylum seekers to go away;
27
28    84
           Zero-Tolerance Criminal Prosecutions, supra note 67, at 8–9.

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1              h. CBP officials tell asylum seekers that they must coordinate with Mex-
2                  ican immigration authorities in order to be processed;
3              i. CBP officials, in coordination with Mexican officials and agents, filter
4                  out asylum seekers who lack valid travel documents;
5              j. CBP officials deny asylum seekers the right to apply for asylum at cer-
6                  tain POEs; and
7              k. CBP places officials, and sometimes semi-permanent structures, at the
8                  middle of international bridges to pre-screen migrants.
9           Answer: Defendants lack knowledge or information sufficient to form a be-
10    lief as to whether the Women’s Refugee Commission purports to have documented
11    the conduct alleged in this paragraph.
12
            115. From October 2016 through the present, the Project in Dilley, which
13
      provides pro bono legal services to mothers and children detained at the South Texas
14
      Family Residential Center in Dilley, Texas, has identified more than 100 asylum-
15
      seeking mothers who were turned back by CBP officials at POEs along the U.S.-
16
      Mexico border, including POEs in San Ysidro, California; Calexico, California; San
17
      Luis, Arizona; Nogales, Arizona; El Paso, Texas; Del Rio, Texas; Eagle Pass, Texas;
18
      Laredo, Texas; Roma, Texas; McAllen, Texas; Los Indios, Texas; and Brownsville,
19
      Texas. The Project in Dilley has documented the following conduct:
20
               a. CBP officials tell asylum seekers that asylum law is no longer in effect;
21
               b. CBP officials tell asylum seekers that they have orders to send away
22
                   everyone who is seeking asylum;
23
               c. CBP officials tell asylum seekers that the POE is full and that they must
24
                   wait to be processed, causing some asylum seekers to wait days or
25
                   weeks without access to shelter, food, water, or bathrooms;
26
               d. CBP officials threaten to deport asylum seekers to their home countries;
27
                   and
28

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1              e. CBP officials use physical force to remove asylum seekers from POEs,
2                  including by handcuffing them, throwing them to the ground, shoving
3                  them and dragging them out of the POEs.
4           Answer: Defendants lack knowledge or information sufficient to form a be-
5     lief as to whether the Project in Dilley has identified more than 100 asylum-seeking
6     mothers who were “turned back” at the San Ysidro, Calexico, San Luis, Nogales, El
7     Paso, Del Rio, Eagle Pass, Laredo, Roma, McAllen, Los Indios, and Brownsville
8     ports of entry or whether the Project in Dilley purports to have documented the con-
9     duct alleged in this paragraph.
10
            116. Since December 2015, representatives of Plaintiff Al Otro Lado have
11
      accompanied more than 160 asylum seekers to the San Ysidro POE. Several repre-
12
      sentatives have witnessed firsthand and/or otherwise documented the tactics em-
13
      ployed by CBP to prevent asylum seekers from accessing the U.S. asylum process.
14
      Al Otro Lado representatives have documented the following conduct:
15
               a. CBP officials tell asylum seekers they have to apply for asylum at the
16
                   U.S. Consulate in Mexico or the U.S. Embassy in their home countries;
17
               b. CBP officials tell asylum seekers that they must first obtain a “ticket”
18
                   from Mexican immigration in order to seek asylum;
19
               c. CBP officials tell asylum seekers that they are not processing asylum
20
                   seekers at that POE and they must go to another POE to be processed;
21
               d. CBP officials tell asylum seekers that they cannot seek asylum at that
22
                   time and must be put on a waiting list;
23
               e. CBP officials require asylum seekers to register with migrant shelters
24
                   in Mexico which control the flow of asylum seekers to the POEs;
25
               f. CBP officials tell asylum seekers that they do not qualify for asylum;
26
               g. CBP officials coerce asylum seekers into withdrawing their asylum
27
                   claims, including by threatening that they will be deported if they do
28

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1                  not do so;
2               h. CBP officials threaten asylum seekers with forced separation from their
3                  children, prolonged detention, and eventual deportation;
4               i. CBP officials subject asylum seekers to verbal abuse and degradation
5                  during the inspection process;
6               j. CBP officials ask asylum seekers to present paperwork they are not re-
7                  quired to present; and
8               k. CBP officials threaten U.S. attorneys attempting to assist asylum seek-
9                  ers with ultra vires removal to Mexico.
10          Answer: Defendants lack knowledge or information sufficient to form a be-
11    lief as to whether representatives of Al Otro Lado have accompanied more than 160
12    asylum seekers to the San Ysidro port of entry since December 2015 or whether they
13    have documented the conduct alleged in this paragraph.
14
            117. On January 13, 2017, various non-governmental organizations submit-
15
      ted an administrative complaint to DHS’ Office for Civil Rights and Civil Liberties
16
      (“CRCL”) and the OIG.85 The administrative complaint provided specific examples
17
      of CBP turning back asylum seekers at POEs along the U.S.-Mexico border and
18
      urged CRCL and OIG to conduct a prompt and thorough investigation into this ille-
19
      gal practice and take swift corrective action.
20
            Answer: Defendants admit the allegations in this paragraph.
21
22          118. Meanwhile, Defendants’ illegal turnbacks continue. In fact, as previ-
23    ously noted, CBP has acknowledged its Turnback Policy in sworn testimony before
24
      85
25       See Am. Immigration Council at al., Complaint Re: U.S. Customs and Border
      Protection’s Systemic Denial of Entry to Asylum Seekers at Ports of Entry on U.S.-
26
      Mexico Border 1–2 (Jan. 13, 2017), https://www.americanimmigrationcoun-
27    cil.org/sites/default/files/general_litigation/cbp_systemic_denial_of_entry_to_asy-
28    lum_seekers_advocacy_document.pdf.


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1     Congress.86
2             Answer: Defendants deny they are engaging in “illegal turnbacks.” Defend-
3     ants deny that CBP or its employees acknowledged a “Turnback Policy” in sworn
4     testimony before Congress.
5
      E.      Defendants’ Policy and Practices Have Denied Each of the Class Plain-
6             tiffs Access to the Asylum Process
7     Plaintiff Abigail Doe
8             119. Abigail is a native and citizen of Mexico. She is the mother of two chil-
9     dren under the age of ten, with whom she previously lived in Central Mexico. In
10    May 2017, Abigail’s husband disappeared after he refused to allow drug cartel mem-
11    bers to use his tractor-trailer to transport drugs.
12            Answer: Defendants admit that Abigail is a native and citizen of Mexico and
13    is the mother of two children who were minors at the time the original complaint
14    was filed. Defendants lack knowledge or information sufficient to form a belief as
15    to the truth of the remaining allegations in this paragraph.
16
17            120. When Abigail reported her husband’s disappearance to governmental

18    authorities, members of the drug cartel abducted her, held her at gunpoint, and threat-

19    ened to kill her and her children if she continued to investigate her husband’s disap-

20    pearance. One cartel member told Abigail that she had to leave if she wanted to live.

21    Fearing for her life, Abigail fled to Tijuana with her children to seek asylum in the

22    United States.

23            Answer: Defendants lack knowledge or information sufficient to form a be-

24    lief as to the truth of the allegations in this paragraph.

25            121. After arriving in Tijuana, Abigail and her children immediately sought
26    access to the asylum process by presenting themselves at the San Ysidro POE. At
27
28    86
           Wagner Testimony, supra note 43, at 289–90.

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1     the POE, Abigail informed CBP officials of her intent to apply for asylum and her
2     fear of returning to Mexico. CBP officials repeatedly misinformed Abigail that she
3     did not qualify for asylum. One CBP official threatened that her children would be
4     taken away from her if they allowed her to cross the border and again misinformed
5     her that only the Mexican government could help her.
6              Answer: Defendants admit that CBP officers encountered Abigail and her
7     children without entry documents inside the San Ysidro port of entry on May 24,
8     2017, where she informed CBP officers that she wanted to go live with her family
9     in San Clemente, California. Defendants deny all remaining allegations in this para-
10    graph.
11
               122. CBP officials coerced Abigail into signing a document in English
12
      which she could not read and did not understand. The document stated that she did
13
      not have a fear of returning to Mexico and was withdrawing her application for ad-
14
      mission. CBP officials then instructed Abigail to say that she had agreed to accept
15
      the assistance of the Mexican government and used a video camera to record her
16
      statement. A CBP official then took Abigail and her children back to Mexico and
17
      left them to fend for themselves.
18
               Answer: Defendants admit that Abigail signed a Form I-275, Withdrawal of
19
      Application for Admission/Consular Notification, on May 24, 2017, which has the
20
      legal effect of withdrawing her application for admission. Defendants admit that the
21
      Form I-275 is written in English, but aver that Abigail’s processing was conducted
22
      in Spanish. Defendants admit that Abigail’s withdrawal is video-recorded. Defend-
23
      ants deny all remaining allegations in this paragraph.
24
25             123. The statements CBP coercively obtained from Abigail were and are still
26    false; Abigail does fear returning to and staying in Mexico and believes seeking as-
27    sistance from the Mexican government would be futile.
28

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1           Answer: Defendants deny that they coerced Abigail into withdrawing her ap-
2     plication for admission. Defendants lack knowledge or information sufficient to
3     form a belief as to the truth of the remaining allegations in this paragraph.
4
            124. Following the filing of the initial Complaint in this case, Defendants
5
      made arrangements to facilitate the entry of Abigail and her children into the United
6
      States.
7
            Answer: Defendants admit the allegations in this paragraph.
8
9     Plaintiff Beatrice Doe
10          125. Beatrice is a native and citizen of Mexico. In May 2017, Beatrice fled
11    her hometown in Mexico with her three children, ages seven, eleven and fifteen, and
12    her nephew. Beatrice’s nephew was targeted by the Zetas, a Mexican drug cartel that
13    controls most of Southern Mexico, for failing to pay a fee that the Zetas demanded
14    from all individuals who worked in the market. The Zetas threatened to kill Be-
15    atrice’s nephew and to harm his family if he did not pay the fees. The cartel also
16    pressured Beatrice’s nephew to join their forces and threatened to increase the fee if
17    he refused. On two occasions when Beatrice’s nephew failed to pay the fees, the
18    Zetas beat him up.
19          Answer: Defendants admit that Beatrice is a native and citizen of Mexico and
20    is the mother of three children who were minors at the time the original complaint
21    was filed. Defendants lack knowledge or information sufficient to form a belief as
22    to the truth of the remaining allegations in this paragraph.
23
            126. Beatrice herself suffered severe domestic violence at the hands of her
24
      husband. In May 2017, she reported his abuse to two government agencies. When
25
      Mexican government officials subsequently requested that Beatrice’s husband meet
26
      with them, he responded that he would continue to do what he wanted with Beatrice
27
      and his children. Terrified, Beatrice left their house the same day.
28

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1           Answer: Defendants lack knowledge or information sufficient to form a be-
2     lief as to the truth of the allegations in this paragraph.
3
            127. Beatrice fled with her children and nephew and traveled to Tijuana in
4
      order to seek access to the asylum process in the United States. Initially, Beatrice
5
      and her family sought access to the asylum process by presenting themselves at the
6
      Otay Mesa POE. When Beatrice expressed their intent to seek asylum, a CBP official
7
      told her that asylum-related services were not provided at that port, and directed her
8
      to go to the San Ysidro POE. Beatrice and her family then attempted twice to seek
9
      access to the asylum process at the San Ysidro POE, but CBP officials turned them
10
      away both times.
11
            Answer: Defendants lack knowledge or information sufficient to form a be-
12
      lief as to the truth of the allegations in this paragraph.
13
14          128. The first time Beatrice and her family presented themselves at the San
15    Ysidro POE, she explained that their lives were at risk in Mexico and that she was
16    afraid of her husband. CBP officials misinformed her that the U.S. government had
17    no obligation to help her or her family, that they did not have a right to enter the
18    United States because they were not born there, and that she should seek help from
19    the Mexican government.
20          Answer: Defendants admit that CBP officers encountered Beatrice and her
21    children without entry documents inside the San Ysidro port of entry on May 25,
22    2017. Defendants aver that Beatrice stated that she wanted a work permit to enter
23    the United States and live in San Diego. Defendants aver that Beatrice expressed no
24    fear of returning to Mexico and requested to voluntarily return to Mexico. Defend-
25    ants lack knowledge or information sufficient to form a belief as to the truth of the
26    remaining allegations in this paragraph.
27
            129. Another CBP official then threatened to take Beatrice’s nephew away
28

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1     from her and to put her in jail if she refused to sign an English document which she
2     did not understand. Believing that she had no other option, she signed the document.
3     CBP officials then escorted Beatrice and her family out of the POE.
4            Answer: Defendants lack knowledge or information sufficient to form a be-
5     lief as to the truth of the allegations in the first sentence of this paragraph. Defendants
6     admit that Beatrice withdrew her application for admission, and that Beatrice’s pro-
7     cessing was conducted in Spanish.
8
             130. The statements CBP coercively obtained from Beatrice were and are
9
      still false; Beatrice and her children fear returning to and staying in Mexico.
10
             Answer: Defendants deny that they coerced Beatrice into withdrawing her
11
      application for admission. Defendants lack knowledge or information sufficient to
12
      form a belief as to the truth of the remaining allegations in this paragraph.
13
14           131. The next day, Beatrice and her family returned to seek access to the
15    asylum process by presenting themselves at the San Ysidro POE. A CBP official
16    who recognized Beatrice from the day before misinformed her that she had no right
17    to enter the United States or seek asylum, and that she would be put in jail for three
18    years if she returned to the POE. After another CBP official separately threatened to
19    transfer Beatrice’s nephew to Mexican authorities and return him to Southern Mex-
20    ico, CBP officials again escorted Beatrice and her family out of the San Ysidro POE.
21           Answer: Defendants lack knowledge or information sufficient to form a be-
22    lief as to the truth of the allegations in this paragraph.
23
             132. Following the filing of the initial Complaint in this case, Defendants
24
      made arrangements to facilitate the entry of Beatrice and her children into the United
25
      States.
26
             Answer: Defendants admit the allegations in this paragraph.
27
28

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1     Plaintiff Carolina Doe
2           133. Carolina is a native and citizen of Mexico. In May 2017, Carolina fled
3     her hometown in Mexico with her three children, ages nine, fifteen and eighteen,
4     after her brother-in-law, a high-ranking police official, was kidnapped, tortured and
5     killed by members of a drug trafficking cartel. His dismembered body was found in
6     garbage bags in a cemetery. Carolina’s husband witnessed the kidnapping and
7     showed Carolina a picture of one of the men who was involved. Drug cartel members
8     threatened Carolina’s husband after the murder, and Carolina and her husband saw
9     the van used in the kidnapping drive by their house twice. Two men followed Caro-
10    lina and her daughters on her way home from work, and several men came to their
11    home at night. Carolina was terrified and hid with her daughters in the bathroom
12    because she feared for her life and the lives of her daughters.
13          Answer: Defendants admit that Carolina is a native and citizen of Mexico and
14    is the mother of three children who were nine, fifteen, and eighteen of age at the time
15    the original complaint was filed. Defendants lack knowledge or information suffi-
16    cient to form a belief as to the truth of the remaining allegations in this paragraph.
17
            134. In May 2017, Carolina fled in the middle of the night with her daughters
18
      and traveled to Tijuana in order to seek access to the asylum process in the United
19
      States. Carolina and her daughters presented themselves at the San Ysidro POE, and
20
      Carolina explained that they were afraid of returning to Mexico and wanted to seek
21
      asylum. CBP officials locked them in a room overnight at the San Ysidro POE. In
22
      the morning, a CBP official told Carolina that she would not be granted asylum and
23
      misinformed her that the protection she was seeking in the United States could be
24
      provided by the Mexican authorities. The CBP official threatened to take away Car-
25
      olina’s fifteen-year-old U.S. citizen daughter and put her in foster care, and told Car-
26
      olina that if she did not want her daughter taken away from her, then she had to make
27
      a statement on video that she was not afraid of returning to Mexico.
28

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1           Answer: Defendants admit that CBP officers encountered Carolina and her
2     children without entry documents inside the San Ysidro port of entry on May 17,
3     2017, at approximately 10:00 PM (Pacific). Defendants admit that Carolina was held
4     at the port overnight. Defendants aver that, in the morning, Carolina stated that she
5     was coming from Guerrero, Mexico, and wanted to live in the Portland, Oregon area
6     with family. Defendants lack knowledge or information sufficient to form a belief
7     as to the truth of the remaining allegations in this paragraph.
8
            135. The CBP officials coerced Carolina into recanting her fear on video.
9
      Carolina initially did not respond as the CBP officials instructed her to do because
10
      the responses they told her to say were not true. Carolina was afraid and wanted to
11
      respond that she was very scared to return to Mexico. One of the CBP officials re-
12
      peated that the only way Carolina and her daughters would be able to leave volun-
13
      tarily without her U.S. citizen daughter being taken away from her was if Carolina
14
      stated on video that she was not scared. Having been locked in a room overnight,
15
      Carolina was tired and scared and felt like she was in jail. The CBP officials contin-
16
      ued to coerce her until she finally did what they told her to do, believing she had no
17
      choice.
18
            Answer: Defendants admit that Carolina signed a Form I-275, Withdrawal of
19
      Application for Admission/Consular Notification, on May 18, 2017, which has the
20
      legal effect of withdrawing her application for admission. Defendants admit that the
21
      Form I-275 is written in English, but aver that Carolina’s processing was conducted
22
      in Spanish. Defendants deny that they coerced Carolina into withdrawing her appli-
23
      cation for admission. Defendants lack knowledge or information sufficient to form
24
      a belief as to the truth of the remaining allegations in this paragraph.
25
26          136. The CBP officials also coerced Carolina into signing a document in
27    English which she could not read and did not understand. The document stated that
28    she did not have a fear of returning to Mexico and was withdrawing her application

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1     for admission. The statements CBP coercively obtained from Carolina were and are
2     still false; Carolina does fear returning to and staying in Mexico.
3            Answer: Defendants admit that Carolina signed a Form I-275, Withdrawal of
4     Application for Admission/Consular Notification, on May 18, 2017, which has the
5     legal effect of withdrawing her application for admission. Defendants admit that the
6     Form I-275 is written in English, but aver that Carolina’s processing was conducted
7     in Spanish. Defendants deny that they coerced Carolina into withdrawing her appli-
8     cation for admission. Defendants deny all remaining allegations in this paragraph.
9
             137. Several days after CBP turned back Carolina and her daughters at the
10
      POE, Carolina made arrangements for her U.S. citizen daughter to cross into the
11
      United States. Following the filing of the initial Complaint in this case, Defendants
12
      made arrangements to facilitate the entry of Carolina and her other children into the
13
      United States.
14
             Answer: Defendants lack knowledge or information sufficient to form a be-
15
      lief as to the truth of the allegations in the first sentence of this paragraph. Defendants
16
      admit the allegations in the second sentence of in this paragraph.
17
18    Plaintiff Dinora Doe
19           138. Dinora is a native and citizen of Honduras. MS-13 gang members re-
20    peatedly threatened to kill Dinora and her then-seventeen-year-old daughter if they
21    did not leave their house. After receiving the third threat, they fled to another city
22    where they remained in hiding.
23           Answer: Defendants admit that Dinora is a native and citizen of Honduras.
24    Defendants lack knowledge or information sufficient to form a belief as to the truth
25    of the remaining allegations in this paragraph.
26
             139. When Dinora and her daughter subsequently returned home, three MS-
27
      13 members held them captive for three days and repeatedly raped each of them in
28

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1     front of the other.
2            Answer: Defendants lack knowledge or information sufficient to form a be-
3     lief as to the truth of the allegations in this paragraph.
4
             140. When Dinora and her daughter finally escaped, they fled to a shelter in
5
      Mexico. However, after being threatened by MS-13 gang members again in Mexico,
6
      they knew they had to leave.
7
             Answer: Defendants lack knowledge or information sufficient to form a be-
8
      lief as to the truth of the allegations in this paragraph.
9
10           141. On three separate occasions in August 2016, Dinora and her daughter
11    sought access to the asylum process by presenting themselves at the Otay Mesa POE
12    and expressing their intent to seek asylum in the United States. Each time, CBP of-
13    ficials turned them away.
14           Answer: Defendants lack knowledge or information sufficient to form a be-
15    lief as to the truth of the allegations in this paragraph.
16
             142. During Dinora’s first attempt, CBP officials misinformed her that there
17
      was no asylum in the United States and escorted Dinora and her daughter outside the
18
      POE.
19
             Answer: Defendants lack knowledge or information sufficient to form a be-
20
      lief as to the truth of the allegations in this paragraph.
21
22           143. During her second attempt later the same day, one CBP official misin-
23    formed Dinora that there was no asylum available in the United States for Central
24    Americans and that if they returned to the POE, they would be handed over to Mex-
25    ican authorities and deported to Honduras.
26           Answer: Defendants lack knowledge or information sufficient to form a be-
27    lief as to the truth of the allegations in this paragraph.
28

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1           144. During her third attempt the next morning, a CBP official misinformed
2     Dinora that she could pass through the POE, but would have to leave her daughter
3     behind. When Dinora insisted that she and her daughter had a right to apply for asy-
4     lum, CBP officials escorted them out of the POE.
5           Answer: Defendants lack knowledge or information sufficient to form a be-
6     lief as to the truth of the allegations in this paragraph.
7
            145. Following the filing of the initial Complaint in this case, Defendants
8
      made arrangements to facilitate the entry of Dinora and her daughter into the United
9
      States.
10
            Answer: Defendants admit the allegations in this paragraph.
11
12    Plaintiff Ingrid Doe
13          146. Ingrid is a native and citizen of Honduras. At the time the initial Com-
14    plaint was filed, Ingrid had two children and was pregnant with her third child.
15          Answer: Defendants admit the allegations in this paragraph.
16
            147. 18th Street gang members murdered Ingrid’s mother and three siblings.
17
      They also threatened to kill Ingrid.
18
            Answer: Defendants lack knowledge or information sufficient to form a be-
19
      lief as to the truth of the allegations in this paragraph.
20
21          148. For several years, Ingrid and her children were subject to severe abuse
22    by her partner and the father of her son and the child that she was expecting. Ingrid’s
23    partner regularly raped Ingrid, sometimes in front of her children. He would also
24    burn and beat Ingrid. One day, Ingrid’s partner put a gun to Ingrid’s head and threat-
25    ened to kill her.
26          Answer: Defendants lack knowledge or information sufficient to form a be-
27    lief as to the truth of the allegations in this paragraph.
28

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1           149. In June 2017, Ingrid fled with her children to Tijuana, where they
2     sought access to the asylum process by presenting themselves at the Otay Mesa POE.
3           Answer: Defendants lack knowledge or information sufficient to form a be-
4     lief as to the truth of the allegations in this paragraph.
5
            150. When they arrived at the Otay Mesa POE, Ingrid approached CBP of-
6
      ficials and expressed her intent to seek asylum. The CBP officials misinformed In-
7
      grid that they could not help her at the Otay Mesa POE and that she must go to the
8
      San Ysidro POE.
9
            Answer: Defendants lack knowledge or information sufficient to form a be-
10
      lief as to the truth of the allegations in this paragraph.
11
12          151. Ingrid immediately went to the San Ysidro POE with her children to
13    present herself and seek access to the asylum process. She approached several CBP
14    officials, and expressed her intent to seek asylum. One of the officials misinformed
15    Ingrid that there was no asylum and that she could not pass through the POE because
16    she did not have any documents. Ingrid again stated that she wanted to seek asylum
17    and that she could not go back to Honduras because she and her children would be
18    killed. The CBP official responded that there was a new law in the United States that
19    meant that there was no more asylum. Another CBP official then escorted Ingrid and
20    her children out of the port.
21          Answer: Defendants lack knowledge or information sufficient to form a be-
22    lief as to the truth of the allegations in this paragraph.
23
            152. Following the filing of the initial Complaint in this case, Defendants
24
      made arrangements to facilitate the entry of Ingrid and her children into the United
25
      States.
26
            Answer: Defendants admit the allegations in this paragraph.
27
28

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1     Plaintiff Roberto Doe
2           153. Roberto is a native and citizen of Nicaragua. Roberto fled Nicaragua in
3     early September 2018 after receiving targeted threats of violence from the Nicara-
4     guan government and paramilitaries allied with the government.
5           Answer: Defendants admit the allegations in the first sentence of this para-
6     graph. Defendants lack knowledge or information sufficient to form a belief as to
7     the truth of the remaining allegations in this paragraph.
8
            154. Roberto traveled through Mexico and arrived in Reynosa, Tamaulipas
9
      on September 29, 2018. On October 2, 2018, he sought access to the asylum process
10
      by presenting himself at the Hidalgo POE. Roberto was part of a group of six Nica-
11
      raguan nationals and one Honduran who were waiting in line. The group approached
12
      the U.S. immigration officials who were standing at the middle point of the bridge
13
      that divides the United States from Mexico, and told the U.S. officials that they
14
      wanted to seek asylum in the United States.
15
            Answer: Defendants lack knowledge or information sufficient to form a be-
16
      lief as to the truth of the allegations in this paragraph.
17
18          155. One of the U.S. officials responded that he had to talk to his office and
19    made a call on his radio in English. He then directed Roberto and the rest of the
20    group to stand to one side. After that, the U.S. official informed the group that they
21    could not enter the POE, which was “all full.” The U.S. official indicated that the
22    group might have to wait for “hours, days, or weeks” before he could seek asylum.
23          Answer: Defendants lack knowledge or information sufficient to form a be-
24    lief as to the truth of the allegations in this paragraph.
25
            156. A short while later, a female U.S. official made another call, and Rob-
26
      erto heard her say in Spanish that someone would come and pick up some people. A
27
      few minutes later, a Mexican immigration official arrived and asked to see the group
28

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1     members’ papers. After Roberto and the rest of the group handed over their papers,
2     the Mexican official instructed them to come with him. One of the Nicaraguans
3     asked the U.S. official to help them, saying that the Mexican immigration officials
4     would deport them. The U.S. official responded that he did not care and did nothing.
5           Answer: Defendants lack knowledge or information sufficient to form a be-
6     lief as to the truth of the allegations in this paragraph.
7
            157. The Mexican immigration official took Roberto and the rest of the
8
      group to the Mexican side of the bridge, where he left them in an office with Mexican
9
      immigration officials. While the group waited, various officials spoke on the phone.
10
      Roberto heard one of the officials say that they needed seven or eight spaces for the
11
      next deportation transport.
12
            Answer: Defendants lack knowledge or information sufficient to form a be-
13
      lief as to the truth of the allegations in this paragraph.
14
15          158. Eventually, the Mexican officials confiscated the asylum seekers’
16    phones and escorted them to a small bathroom, where they were forced to wait,
17    crowded together, for about an hour. While they were waiting, a Mexican official
18    entered the bathroom and told them that they did not have the right to apply for
19    asylum in the United States, and that it was a crime to try to do so. The Mexican
20    official indicated that he was in communication with the U.S. authorities and that if
21    they came back to the bridge and attempted to seek asylum, the U.S. officials would
22    turn them over to the Mexican authorities and they would be deported to Nicaragua.
23    The Mexican officials subsequently returned their papers and directed them to leave.
24          Answer: Defendants lack knowledge or information sufficient to form a be-
25    lief as to the truth of the allegations in this paragraph.
26
            159. At the time the First Amended Complaint was filed, Roberto desired to
27
      return immediately to the Hidalgo POE to seek access to the asylum process, but
28

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1     based on his past experience with CBP’s practices at the U.S.-Mexico border, he
2     feared that he would be turned away again and deported to Nicaragua. Defendants
3     subsequently agreed to allow Roberto to access the asylum process if he returned to
4     the Hidalgo POE. Roberto returned to the bridge on October 18, 2018, and as he was
5     about to walk onto the pedestrian footbridge to walk to the POE, Mexican immigra-
6     tion officials detained him. Roberto has been in Mexican government custody since
7     that date, and on information and belief, his refoulement to Nicaragua is imminent.
8              Answer: Defendants admit that they made arrangements to facilitate Rob-
9     erto’s entrance into the United States. Defendants lack knowledge or information
10    sufficient to form a belief as to the truth of the remaining allegations in this para-
11    graph.
12
      Plaintiff Maria Doe
13
               160. Maria is a citizen of Guatemala and a permanent resident of Mexico.
14
      She was married to a Mexican man and has two children who were born in Mexico.
15
               Answer: Defendants admit that Maria is a citizen of Guatemala and that she
16
      is the mother of two minor children who were born in Mexico. Defendants lack
17
      knowledge or information sufficient to form a belief as to the truth of the remaining
18
      allegations in this paragraph.
19
20             161. Maria lived in Chiapas, Mexico for seven years with her husband and
21    children. Maria left her husband, who was very abusive toward her and her children,
22    after learning that he was involved with cartels. After she left, the cartels began
23    searching for Maria and her children. For about two years, Maria and her children
24    searched for a safe place to live, in Guatemala and in Mexico, but the cartels invari-
25    ably found them and went after them. Maria’s ex-husband remains involved with
26    cartels and continues to threaten Maria and her children.
27             Answer: Defendants lack knowledge or information sufficient to form a be-
28    lief as to the truth of the allegations in this paragraph.

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1           162. In September 2018, Maria traveled with her children to Nuevo Laredo,
2     Mexico. On September 10, 2018, Maria and her children sought access to the asylum
3     process by presenting themselves at the Laredo POE around 8:00 p.m. As they ap-
4     proached the midpoint of the bridge to the United States, CBP officials stopped Ma-
5     ria and her children and asked to see their identification. Maria told the U.S. officials
6     that she wanted to seek asylum in the United States. The U.S. officials told her to
7     wait on the Mexican side of the bridge until they called her.
8           Answer: Defendants lack knowledge or information sufficient to form a be-
9     lief as to the truth of the allegations in this paragraph.
10
            163. After a few minutes, two Mexican officials walked toward her from the
11
      Mexican side of the bridge. The Mexican officials told Maria that the United States
12
      officials would not let her cross the bridge, but that they could help if she paid them
13
      $1,500 for herself and her children. Maria did not have money to pay the bribe, and
14
      instead traveled with her children to Reynosa, Mexico, to try to cross a different
15
      bridge to the United States.
16
            Answer: Defendants lack knowledge or information sufficient to form a be-
17
      lief as to the truth of the allegations in this paragraph.
18
19          164. After Maria arrived in Reynosa, she did not feel safe going to the bridge
20    immediately. While staying at a shelter in Reynosa, Maria met an American lawyer
21    who agreed to accompany her to the Hidalgo POE.
22          Answer: Defendants lack knowledge or information sufficient to form a be-
23    lief as to the truth of the allegations in this paragraph.
24
            165. On September 19, 2018, Maria and her children, accompanied by the
25
      American lawyer, sought access to the asylum process by presenting themselves at
26
      the Hidalgo POE. They walked up to the bridge in Reynosa. They were at the turn-
27
      stile at the entrance to the bridge and had only taken a few steps when a Mexican
28

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1     immigration official demanded to see their identification documents. After Maria
2     gave him their documents, the Mexican official started screaming that Maria was
3     abusing her Mexican residence by trying to cross the bridge to seek asylum. He
4     warned her that he would rip up her identity documents if she did not leave the
5     bridge. Although Maria and her lawyer maintained that she had the right to seek
6     asylum, she and her children left the bridge for fear that the Mexican official would
7     hurt them or destroy their documents and deport them to Guatemala.
8           Answer: Defendants lack knowledge or information sufficient to form a be-
9     lief as to the truth of the allegations in this paragraph.
10
            166. Maria and her children returned to the shelter for two weeks before at-
11
      tempting to seek access to the asylum process again. On October 9, 2018, Maria and
12
      her children, again accompanied by the American lawyer, sought access to the pro-
13
      cess by presenting themselves at the Hidalgo POE for the second time. When they
14
      arrived at the middle of the bridge, Maria started to tell the U.S. officials that she
15
      sought asylum. At that moment, however, a Mexican immigration officer grabbed
16
      Maria’s arm and demanded to see her papers. Maria told the Mexican officer that
17
      she was a legal resident of Mexico with two Mexican children and showed him her
18
      papers. The officer told her that the Mexican residency permit did not allow her to
19
      go to the United States, and he ordered her to go to a station on the Mexican side of
20
      the border. Although Maria and the lawyer insisted that Maria had a right to seek
21
      asylum in the United States, the Mexican official called for backup.
22
            Answer: Defendants lack knowledge or information sufficient to form a be-
23
      lief as to the truth of the allegations in this paragraph.
24
25          167. Meanwhile, the American lawyer explained to the U.S. officials stand-
26    ing at the bridge that Maria wanted to seek asylum and that she and her children
27    were in danger. The U.S. officials said that what was happening had nothing to do
28    with them.

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1           Answer: Defendants lack knowledge or information sufficient to form a be-
2     lief as to the truth of the allegations in this paragraph.
3
            168. The Mexican officials took Maria to an office at the foot of the bridge
4
      and separated her from her children and the lawyer. They took Maria into a small
5
      room and told her that if she came back to the Hidalgo POE, they would revoke her
6
      Mexican residency.
7
            Answer: Defendants lack knowledge or information sufficient to form a be-
8
      lief as to the truth of the allegations in this paragraph.
9
10          169. At the time the First Amended Complaint was filed, Maria feared for
11    her life in Mexico and desired to return to a POE to seek access to the asylum pro-
12    cess, but based on her past experiences with CBP’s practices at the U.S-Mexico bor-
13    der, she feared that she and her children would be turned away again or deported to
14    Guatemala. Maria and her children feared for their lives in Mexico. After they ar-
15    rived in Reynosa, they received multiple phone calls from blocked numbers, which
16    Maria believes were from cartel members trying to track her location. On or around
17    October 8, 2018, Maria’s ex-husband called her directly and threatened her.
18          Answer: Defendants lack knowledge or information sufficient to form a be-
19    lief as to the truth of the allegations in this paragraph.
20
            170. Following the filing of the First Amended Complaint in this case, De-
21
      fendants made arrangements to facilitate the entry of Maria and her children into the
22
      United States.
23
            Answer: Defendants admit the allegations in this paragraph.
24
25    Plaintiffs Úrsula Doe and Juan Doe
26          171. Úrsula and Juan are natives and citizens of Honduras. They are a mar-
27    ried couple with two children. They left Honduras with their children in August 2018
28    out of fear for their lives and the lives of their children.

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1           Answer: Defendants admit that Úrsula and Juan are natives and citizens of
2     Honduras. Defendants lack knowledge or information sufficient to form a belief as
3     to the truth of the remaining allegations in this paragraph.
4
            172. Úrsula saw members of a Honduran gang kill her brother in 2014. The
5
      gang knows she witnessed the murder and have repeatedly warned Úrsula and Juan
6
      of harm to their family. Gang members have called the family, gone to their house,
7
      and threatened to hurt their children.
8
            Answer: Defendants lack knowledge or information sufficient to form a be-
9
      lief as to the truth of the allegations in this paragraph.
10
11          173. Úrsula and Juan fled Honduras with their children to seek access to the
12    asylum process in the United States. They traveled to Mexico, where they were
13    robbed at gunpoint by three men who took all their money. Eventually they made it
14    to Nuevo Laredo, Mexico, in late September 2018.
15          Answer: Defendants lack knowledge or information sufficient to form a be-
16    lief as to the truth of the allegations in this paragraph.
17
            174. The day after they arrived in Nuevo Laredo, Úrsula, Juan, and their
18
      children went to the international bridge around 2:00 pm and sought access to the
19
      asylum process by presenting themselves at the Laredo POE. When they arrived at
20
      the middle of the bridge, U.S. officials told them they could not pass because the
21
      port was closed. Although Juan insisted that they wanted to request asylum, one of
22
      the officials said that they had to wait their turn, the port was closed, and they could
23
      not pass.
24
            Answer: Defendants lack knowledge or information sufficient to form a be-
25
      lief as to the truth of the allegations in this paragraph.
26
27          175. Úrsula, Juan, and their children subsequently traveled to Reynosa to
28    seek access to the asylum process by presenting themselves at the Hidalgo POE.

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1     They went to the bridge in Reynosa with their children around 5:00 a.m. Shortly
2     after they passed through the turnstile, a Mexican official grabbed their documents
3     and ordered them to walk with him back to Mexico.
4           Answer: Defendants lack knowledge or information sufficient to form a be-
5     lief as to the truth of the allegations in this paragraph.
6
            176. The Mexican official took Úrsula and Juan to a waiting room. A differ-
7
      ent Mexican official took Juan aside and warned him that he and his family could be
8
      deported. Úrsula, Juan, and their children were forced to wait all day without much
9
      food or water. Around 6:00 or 7:00 p.m., they were allowed to leave.
10
            Answer: Defendants lack knowledge or information sufficient to form a be-
11
      lief as to the truth of the allegations in this paragraph.
12
13          177. At the time the First Amended Complaint was filed, Úrsula and Juan
14    desired to seek access to the asylum process in the United States, but based on their
15    past experience with CBP’s practice at the U.S.-Mexico border, they feared that they
16    would be turned away again or deported to Honduras. At that time, they feared for
17    their lives in Reynosa.
18          Answer: Defendants lack knowledge or information sufficient to form a be-
19    lief as to the truth of the allegations in this paragraph.
20
            178. Defendants subsequently made arrangements to facilitate the entry of
21
      Juan, Úrsula, and their children into the United States.
22
            Answer: Defendants admit the allegations in this paragraph.
23
24    Plaintiff Victoria Doe
25          179. Victoria is a sixteen-year old female native and citizen of Honduras.
26    She is an unaccompanied minor and the mother of a one-year old child. In 2017,
27    members of the infamous 18th Street gang held her at gunpoint and threatened her
28    with death if she did not submit herself sexually to the leader of the gang. Fearful

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1     for her life, she was able to flee to a separate part of Honduras. Shortly thereafter,
2     the very same gang members followed her and repeated the same threats, demanding
3     that she submit and become the property of the gang.
4            Answer: Defendants admit that Victoria is a native and citizen of Honduras,
5     and that she was 16 years old and had a one-year-old child at the time the original
6     Complaint was filed. Defendants lack knowledge or information sufficient to form
7     a belief as to the truth of the remaining allegations in this paragraph.
8
             180. Victoria came to Tijuana with a refugee caravan in April 2018, intend-
9
      ing to seek asylum in the United States. She lived in a migrant shelter for four months
10
      but was in constant fear of murder and other crime and was threatened by male
11
      strangers on a number of occasions. She was also fearful that she would be forced
12
      into sex trafficking as the 18th Street Gang had attempted.
13
             Answer: Defendants lack knowledge or information sufficient to form a be-
14
      lief as to the truth of the allegations in this paragraph.
15
16           181. On October 8, 2018, Victoria sought to access the asylum process by
17    presenting herself at the San Ysidro POE, despite her fears that she and her son
18    would be subject to the U.S. child separation policy. When she arrived, she informed
19    the CBP officials of her intent to apply for asylum and her fear of returning to Hon-
20    duras. In response, the CBP official told her that she could not apply for asylum at
21    that time, and that she had to speak with a Mexican officer instead. The CBP official
22    did not give further instruction as to which Mexican officer or where to locate the
23    officer.
24           Answer: Defendants lack knowledge or information sufficient to form a be-
25    lief as to the truth of the allegations in this paragraph.
26
             182. At the time the First Amended Complaint was filed, Victoria desired to
27
      return immediately to seek access to the asylum process by presenting herself at the
28

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1     San Ysidro POE, but based on her past experience with CBP’s practice at the U.S.-
2     Mexico border, she understood that she would likely be turned away again. Victoria
3     was fearful of remaining in Tijuana, for her life and the life of her son. She could
4     not remain and believed seeking assistance from the Mexican government would be
5     futile.
6               Answer: Defendants lack knowledge or information sufficient to form a be-
7     lief as to the truth of the allegations in this paragraph.
8
                183. Following the filing of the First Amended Complaint in this case, De-
9
      fendants made arrangements to facilitate the entry of Victoria and her child into the
10
      United States.
11
                Answer: Defendants admit the allegations in this paragraph.
12
13    Plaintiff Bianca Doe
14              184. Bianca is a native and citizen of Honduras. She is a transgender woman.
15    Bianca suffered physical violence and extreme discrimination while in Honduras
16    because she is transgender. She was targeted by the infamous MS-13 gang who tried
17    to recruit her. Rather than join, and fearing for her life, she fled Honduras on April
18    2, 2018.
19              Answer: Defendants admit the allegations in the first and second sentences of
20    this paragraph. Defendants lack knowledge or information sufficient to form a belief
21    as to the truth of the remaining allegations in this paragraph.
22
                185. Bianca arrived in Tapachula, Mexico and then later Mexico City, where
23
      she faced much of the same harassment and discrimination, including by police and
24
      federal officials. Eventually she reached Tijuana on September 19, 2018. She pro-
25
      ceeded to seek access to the asylum process by presenting herself at the San Ysidro
26
      POE. CBP officials informed her that she could not apply for asylum because they
27
      were “full.” Instead, they told her to seek assistance from Mexican workers in white
28

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1     shirts. She did not see any and returned to a local shelter where she was staying.
2           Answer: Defendants lack knowledge or information sufficient to form a be-
3     lief as to the truth of the allegations in this paragraph.
4
            186. Bianca returned the following day to seek access to the asylum process
5
      at the San Ysidro POE. She identified the Mexican workers in white shirts who in-
6
      formed her that they handled the asylum “waitlist” process. She was given a number,
7
      “919” which reflected her place on the waitlist. The Mexican workers told her that
8
      when her number was called she would be able proceed to the POE. She was in-
9
      formed that she would have to wait multiple weeks.
10
            Answer: Defendants lack knowledge or information sufficient to form a be-
11
      lief as to the truth of the allegations in this paragraph.
12
13          187. Desperate for her life, her safety, and with little resources, on or about
14    September 28th, 2018, at 1:00 a.m. Bianca approached the U.S.-Mexico border fence
15    abutting the beach and climbed over the fence into U.S. territory. Eventually a U.S.
16    Border Patrol guard spotted her on U.S. soil and demanded that she climb back over
17    the fence and into Mexico or else he would call the Mexican authorities. 188. On
18    October 8, 2018, Bianca attempted once again to seek access to the asylum process
19    by presenting herself at the San Ysidro POE. At the POE CBP official “Soto” denied
20    Bianca’s request to seek asylum, again informing her that they were “full.” He in-
21    structed Bianca to stand aside and wait for a Mexican official. No Mexican official
22    came and she left.
23          Answer: Defendants lack knowledge or information sufficient to form a be-
24    lief as to the truth of the allegations in this paragraph.
25
            188. At the time the First Amended Complaint was filed, Bianca desired to
26
      return immediately to seek access to the asylum process by presenting herself at the
27
      San Ysidro POE, but based on her past experience with CBP’s practice at the U.S.-
28

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1     Mexico border, she understood that she would likely be turned away again.
2           Answer: Defendants lack knowledge or information sufficient to form a be-
3     lief as to the truth of the allegations in this paragraph.
4
            189. Bianca was fearful of remaining in Tijuana. She could not remain and
5
      believed seeking assistance from the Mexican government would be futile.
6
            Answer: Defendants lack knowledge or information sufficient to form a be-
7
      lief as to the truth of the allegations in this paragraph.
8
9           190. Following the filing of the First Amended Complaint in this case, De-
10    fendants made arrangements to facilitate Bianca’s entry into the United States.
11          Answer: Defendants admit the allegations in this paragraph.
12
      Plaintiff Emiliana Doe
13
            191. Emiliana is a native and citizen of Honduras. She is a transgender
14
      woman. She was threatened with violence and death by transnational drug dealers
15
      and gang members in Honduras. She was raped on multiple occasions by police of-
16
      ficers. In May 2017, she was kidnapped and held for three days, and eventually
17
      thrown out of a moving car. In April 2018, she was abducted by four drug dealers,
18
      beaten for over six hours, pistol whipped, thrown out of a moving truck, and ordered
19
      to sell drugs. She was refused medical attention because she is transgender.
20
            Answer: Defendants admit the allegations in the first and second sentences of
21
      this paragraph. Defendants lack knowledge or information sufficient to form a belief
22
      as to the truth of the remaining allegations in this paragraph.
23
24          192. Emiliana fled Honduras on June 5, 2018 and embarked on the arduous
25    journey through Mexico, where she was again repeatedly raped and threatened with
26    death. She eventually reached Tijuana in September 2018. Emiliana intended to seek
27    access to the asylum process in the United States, but was unsure how. She spoke
28    with a stranger who was also attempting to apply for asylum who informed her that

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1     she needed to get on the “waiting list.” She proceeded to the seek access to the asy-
2     lum process by going to the San Ysidro POE and speaking with two women who
3     gave her a number, “1014,” which reflected her place on a waitlist. They told Emi-
4     liana to come back in six weeks.
5           Answer: Defendants lack knowledge or information sufficient to form a be-
6     lief as to the truth of the allegations in this paragraph.
7
            193. Given the dangers in Tijuana, particularly to transgender women, Emi-
8
      liana could not wait six weeks and instead on October 8, 2018, she sought access to
9
      the asylum process by presenting herself at the San Ysidro POE to ask for asylum.
10
      When she informed a CBP official that she wished to seek asylum in the United
11
      States, he responded that she could not because they were “full,” and instead ordered
12
      her to wait off to the side until a Mexican immigration official could come over. No
13
      official ever came.
14
            Answer: Defendants lack knowledge or information sufficient to form a be-
15
      lief as to the truth of the allegations in this paragraph.
16
17          194. At the time the First Amended Complaint was filed, Emiliana desired
18    to return immediately to seek access to the asylum process by presenting herself at
19    the San Ysidro POE, but based on her past experience with CBP’s practice at the
20    U.S.-Mexico border, she understood that she would likely be turned away again.
21    Emiliana was fearful of remaining in Tijuana. She could not remain and believed
22    seeking assistance from the Mexican government would be futile.
23          Answer: Defendants lack knowledge or information sufficient to form a be-
24    lief as to the truth of the allegations in this paragraph.
25
            195. Following the filing of the First Amended Complaint in this case, De-
26
      fendants made arrangements to facilitate Emiliana’s entry into the United States.
27
            Answer: Defendants admit the allegations in this paragraph.
28

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1     Plaintiff César Doe
2           196. César is a native and citizen of Honduras. Earlier in 2018, the 18th
3     Street gang demanded that he join the gang at threat of death. He refused. The gang
4     later kidnapped him and kept him in an abandoned house in the mountains. He was
5     able to escape, and fled Honduras the next day.
6           Answer: Defendants admit the allegations in the first sentence of this para-
7     graph. Defendants lack knowledge or information sufficient to form a belief as to
8     the truth of the remaining allegations in this paragraph.
9
            197. César reached Tijuana on August 1, 2018 with the intention of seeking
10
      access to the asylum process in the United States. César approached the plaza im-
11
      mediately before the San Ysidro POE where he was approached by members of
12
      “Grupo Beta.” Grupo Beta informed him that he would need to go through them to
13
      apply for asylum. They explained that they would put him on a list and give him a
14
      number, and only when his number was called could he apply for asylum.
15
            Answer: Defendants lack knowledge or information sufficient to form a be-
16
      lief as to the truth of the allegations in this paragraph.
17
18          198. Soon thereafter, Grupo Beta began racially segregating individuals into
19    three groups: Africans, Central Americans, and Mexicans. They placed César in the
20    Central America group and then Mexican officials arrested him and placed him into
21    detention. César was detained for twelve days and Mexican officials threatened to
22    deport him on multiple occasions. A local shelter eventually secured César’s release
23    from detention.
24          Answer: Defendants lack knowledge or information sufficient to form a be-
25    lief as to the truth of the allegations in this paragraph.
26
            199. Continuing to fear for his life in Tijuana, César returned to the San
27
      Ysidro POE to seek access to the asylum process, and he spoke with Grupo Beta. He
28

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1     was eventually placed on the waitlist and given number “740.” After waiting a few
2     weeks, César sought access to the asylum process by presenting himself at the San
3     Ysidro POE with two staff members from Al Otro Lado. César informed CBP offi-
4     cials that he intended to seek asylum in the United States and that he feared return
5     to his home country. The CBP officials refused to let him pass or seek asylum.
6           Answer: Defendants lack knowledge or information sufficient to form a be-
7     lief as to the truth of the allegations in this paragraph.
8
            200. After waiting another few weeks, in September 2018 César sought ac-
9
      cess to the asylum process once again by presenting himself at the San Ysidro POE.
10
      Members of Grupo Beta intercepted him and threatened to call Mexican immigration
11
      officials and child protective services on him. The individuals pushed César toward
12
      the corner the plaza near the POE and called Mexican immigration. A staff member
13
      from Al Otro Lado escorted César back to the shelter.
14
            Answer: Defendants lack knowledge or information sufficient to form a be-
15
      lief as to the truth of the allegations in this paragraph.
16
17          201. At the time the First Amended Complaint was filed, César desired to
18    return immediately to seek access to the asylum process by presenting himself at the
19    San Ysidro POE, but based on his past experience with CBP’s practice at the U.S.-
20    Mexico border, he understood that he would likely be turned away again. César was
21    fearful of remaining in Tijuana. He could not remain and believed seeking assistance
22    from the Mexican government would be futile.
23          Answer: Defendants lack knowledge or information sufficient to form a be-
24    lief as to the truth of the allegations in this paragraph.
25
            202. Following the filing of the First Amended Complaint in this case, De-
26
      fendants made arrangements to facilitate César’s entry into the United States.
27
            Answer: Defendants admit the allegations in this paragraph.
28

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1                                V. LEGAL BACKGROUND
2     A.    U.S. Law Requires that Asylum Seekers Who Present Themselves at
3           POEs Have Meaningful Access to the Asylum Process

4           203. U.S. law requires CBP to give individuals who present themselves at

5     POEs and express a desire to apply for asylum or a fear of persecution in their home

6     countries the opportunity to seek protection in the United States without unreasona-

7     ble delay.

8           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no

9     response is required. To the extent the Court requires a response, Defendants admit

10    that aliens who are within a U.S. port of entry have a statutory right to apply for

11    asylum under 8 U.S.C. § 1158. Defendants deny that aliens outside the United States

12    have a statutory right to apply for asylum under 8 U.S.C. § 1158. Defendants admit

13    that CBP has a legal obligation to resolve matters presented to it within a reasonable

14    time, and aver that the inquiry into what constitutes reasonableness is highly fact-

15    specific.

16          204. Specifically, the Immigration and Nationality Act (“INA”) and its im-
17    plementing regulations set forth a variety of ways in which such individuals may
18    seek protection in the United States. See, e.g., 8 U.S.C. § 1157 (admission of refu-
19    gees processed overseas); 8 U.S.C. § 1158 (asylum); 8 U.S.C. § 1231(b)(3) (re-
20    striction of removal to a country where individual’s life or freedom would be threat-
21    ened); 8 C.F.R. §§ 208.16–18 (protection under the Convention Against Torture).
22          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
23    response is required. To the extent the Court requires a response, Defendants admit
24    that 8 U.S.C. § 1157 applies to aliens who are outside the United States. Defendants
25    admit that the remaining allegations in this paragraph provide examples of ways in
26    which an alien might seek humanitarian protection in the United States.
27
28          205. The INA provides that any noncitizen “who is physically present in the


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1     United States or who arrives in the United States” has a statutory right to apply for
2     asylum, irrespective of such individual’s status. 8 U.S.C. § 1158(a)(1). The INA also
3     specifies processes that must be followed when an individual states a desire to seek
4     asylum or expresses a fear of returning to his or her home country. See 8 U.S.C.
5     § 1158(d)(1) (“The Attorney General shall establish a procedure for the considera-
6     tion of asylum applications filed [by individuals physically present in the United
7     States or who arrive in the United States].”). Under the INA, CBP must either:
8                 a. Refer the asylum seeker for a credible fear interview (see 8 U.S.C.
9                    § 1225(b)(1));
10                b. Place the asylum seeker directly into regular removal proceedings by
11                   issuing a Notice to Appear (“NTA”), which will then allow the asylum
12                   seeker to pursue his or her asylum claim before an immigration judge
13                   (see 8 U.S.C. §§ 1225(b)(2), 1229, 1229a); or
14                c. Parole the asylum seeker temporarily into the United States for urgent
15                   humanitarian reasons or significant public benefit (see 8 U.S.C.
16                   § 1182(d)(5)(A)).
17             Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
18    response is required. To the extent the Court requires a response, Defendants admit
19    that, in general and subject to exceptions, aliens within the United States have a
20    statutory right to apply for asylum under 8 U.S.C. § 1158(a)(1). Defendants admit
21    that the INA directs the Attorney General to establish a procedure for the consider-
22    ation of asylum applications filed under 8 U.S.C. § 1158(a). Defendants generally
23    admit that an arriving alien who is inadmissible under 8 U.S.C. §§ 1182(a)(6)(C) or
24    (a)(7) and who indicates either an intention to apply for asylum or a fear of persecu-
25    tion must be referred for a credible fear interview. See 8 U.S.C. § 1225(b)(1)(A)(ii).
26    Defendants aver that the Court dismissed without leave to amend the individual
27    Plaintiffs’ section 706(1) claims that are based on subparagraph (b) of this para-
28    graph.

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1           206. The U.S. government recognized that the duty to allow a noncitizen
2     access to the asylum process is “not discretionary.” See, e.g., Federal Defendant’s
3     Reply Brief in Support of Motion for Summary Judgment and Dismissal for Lack of
4     Jurisdiction, cited in Munyua v. United States, No. 03-4538, 2005 U.S. Dist. LEXIS
5     11499, at *16–19 (N.D. Cal. Jan. 10, 2005) (“[D]efendant acknowledges that [the
6     immigration officers] did not have the discretion to ignore a clear expression of fear
7     of return or to coerce an alien into withdrawing an application for admission”).
8           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
9     response is required. To the extent the Court requires a response, Defendants admit
10    that the federal government offered the quoted statement in a reply brief in a 2004
11    district court case, but aver that the alien in that case was at the San Francisco Inter-
12    national Airport—i.e., within a U.S. port of entry—during the relevant time period.
13    See Federal Defs.’ Reply Br. in Support of Mot. for Summ. J. and Dismissal for Lack
14    of Jurisdiction (Dkt. No. 83), at 2–3, Munyua v. United States, No. 03-cv-4538 (N.D.
15    Cal. Nov. 22, 2004). Defendants admit that they have no discretion to ignore a clear
16    expression of fear or to coerce an alien into withdrawing an application for admis-
17    sion when that alien is inside a U.S. port of entry. Defendants deny that 8 U.S.C.
18    §§ 1158(a) or 1225 impose a duty on CBP as to aliens outside the United States.
19
            207. CBP is responsible for the day-to-day operation of POEs along the
20
      U.S.-Mexico border. CBP’s obligations include inspecting and processing individu-
21
      als who present themselves at POEs to enable them to pursue their claims for asylum
22
      in the United States. CBP officials themselves are not authorized to evaluate, grant
23
      or reject an individual’s asylum claim.
24
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
25
      response is required. To the extent the Court requires a response, Defendants admit
26
      the allegations in the first sentence of this paragraph. Defendants admit the allega-
27
      tions in the second sentence of this paragraph only to the extent that the phrase “at a
28

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1     port of entry” refers to an individual who has crossed the international border into a
2     port of entry. Defendants deny that the allegations in the third sentence of this para-
3     graph are an accurate statement of law, and aver that 8 U.S.C. § 1225(b)(1)(E) gov-
4     erns who may act as an “asylum officer.”
5
            208. All noncitizens arriving at POEs along the U.S.-Mexico border must be
6
      inspected by CBP officials. See 8 U.S.C. § 1225(a)(3) (“All [noncitizens] . . . who
7
      are applicants for admission or otherwise seeking admission . . . shall be inspected
8
      by immigration officers.”) (emphasis added). During inspection, CBP officials must
9
      determine whether a noncitizen may be admitted to the United States. See 8 U.S.C.
10
      § 1182(a) (specifying grounds of inadmissibility). In order to make this determina-
11
      tion, CBP scrutinizes an individual’s entry documents. See 8 U.S.C. § 1181(a) (out-
12
      lining documentation requirements for the admission of noncitizens into the United
13
      States). Asylum seekers often flee their countries on very short notice and thus fre-
14
      quently lack valid entry documents. Once a CBP official makes a determination of
15
      inadmissibility, the individual becomes subject to removal from the United States.
16
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
17
      response is required. To the extent the Court requires a response, Defendants gener-
18
      ally admit the allegations in the first, second, third, and fifth sentences of this para-
19
      graph only insofar as they refer to an alien who has crossed the international border
20
      into the United States, and deny them to any other extent. Defendants lack
21
      knowledge or information sufficient to form a belief as to the truth of the allegations
22
      in the fourth sentence of this paragraph.
23
24          209. CBP officials must then place the noncitizen into either expedited re-
25    moval proceedings under 8 U.S.C. § 1225(b) or regular removal proceedings under
26    8 U.S.C. § 1229.
27          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
28    response is required. To the extent the Court requires a response, Defendants deny

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1     the allegations in this paragraph as an inaccurate and incomplete statement of law.
2
            210. Expedited removal proceedings involve a more streamlined process
3
      than regular removal proceedings and are reserved for people apprehended at or near
4
      the border. See 8 U.S.C. § 1225(b)(1)(A)(i) (permitting certain persons who are seek-
5
      ing admission at the border to the United States to be expeditiously removed without
6
      a full immigration judge hearing). However, Congress included important safe-
7
      guards in the expedited removal statute in an effort specifically to protect asylum
8
      seekers.
9
            Answer: This paragraph consists of Plaintiffs’ legal conclusions and charac-
10
      terizations, to which no response is required. To the extent the Court requires a re-
11
      sponse, Defendants admit that the INA speaks for itself.
12
13          211. The INA unequivocally states that if a noncitizen placed in expedited
14    removal proceedings “indicates either an intention to apply for asylum . . . or a fear
15    of persecution, the [CBP] officer shall refer the [noncitizen] for an interview by an
16    asylum officer.” 8 U.S.C. § 1225(b)(1)(A)(ii) (emphasis added). The requirement to
17    refer an asylum seeker placed in expedited removal proceedings to an asylum officer
18    is mandatory.
19          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
20    response is required. To the extent the Court requires a response, Defendants admit
21    the allegations in this paragraph. Defendants aver, however, that only aliens who are
22    on U.S. soil are capable of being placed into expedited removal proceedings.
23
            212. Likewise, the applicable regulations promulgated under the INA rein-
24
      force that if an individual in expedited removal proceedings asserts an intention to
25
      apply for asylum or a fear of persecution, then “the inspecting officer shall not pro-
26
      ceed further with removal of the [noncitizen] until the [noncitizen] has been referred
27
      for an interview by an asylum officer.” 8 C.F.R. § 235.3(b)(4) (emphasis added).
28

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1           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
2     response is required. To the extent the Court requires a response, Defendants admit
3     the allegations in this paragraph. Defendants aver, however, that only aliens who are
4     on U.S. soil are capable of being placed into expedited removal proceedings.
5
            213. Importantly, CBP officials must read a form to noncitizens subject to
6
      expedited removal advising them of their right to speak to an asylum officer if they
7
      express a desire to apply for asylum or a fear of returning to their home countries.
8
      See 8 C.F.R. § 235.3(b)(2)(i); DHS Form I-867A.
9
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
10
      response is required. To the extent the Court requires a response, Defendants admit
11
      the allegations in this paragraph, but aver that only aliens who are on U.S. soil are
12
      capable of being placed into expedited removal proceedings.
13
14          214. Affirming that the CBP officials themselves are not authorized to adju-
15    dicate asylum claims, the regulations specifically charge asylum officers from U.S.
16    Citizenship and Immigration Services with making initial determinations as to
17    whether there is a “significant possibility” that an individual can establish eligibility
18    for asylum. See 8 C.F.R. § 235.3(b)(4); see also 8 U.S.C. § 1225(b)(1)(B)(ii). This
19    is because asylum officers are trained in the often complicated and evolving law
20    surrounding asylum, and thus are uniquely positioned to conduct such interviews,
21    which themselves require particular interviewing and assessment skills as well as
22    comprehension of the social and political contexts from which asylum seekers flee.
23    In fact, the INA specifically defines “asylum officer” as an immigration officer who
24    “has had professional training in country conditions, asylum law, and interview tech-
25    niques comparable to that provided to full-time adjudicators of applications under
26    section 1158.” 8 U.S.C. § 1225(b)(1)(E).
27          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
28    response is required. To the extent the Court requires a response, Defendants admit

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1     with respect to the allegations in the first sentence of this paragraph that only an
2     asylum officer may make an initial determination as to whether there is a significant
3     possibility that an individual can establish eligibility for asylum, but deny that an
4     asylum officer is required by regulation or statute to be employed by U.S. Citizen-
5     ship and Immigration Services (USCIS). With respect to the allegations in the sec-
6     ond sentence of this paragraph, Defendants admit that asylum officers receive pro-
7     fessional training in country conditions, asylum law, and interview techniques. De-
8     fendants admit the allegations in the third sentence of this paragraph.
9
            215. Applicants who establish that they have a “significant possibility” of
10
      proving their eligibility for asylum receive positive credible fear determinations.
11
      They are taken out of the expedited removal system altogether and placed into reg-
12
      ular removal proceedings, where they have the opportunity to submit an asylum ap-
13
      plication, develop a full record before an Immigration Judge, appeal to the Board of
14
      Immigration Appeals, and seek judicial review of an adverse decision. 8 U.S.C.
15
      § 1225(b)(1)(B)(ii); 8 C.F.R. §§ 235.6(a)(1)(ii), (iii).
16
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
17
      response is required. To the extent the Court requires a response, Defendants admit
18
      the allegations in this paragraph only insofar as they are consistent with the cited
19
      statue and regulations and only insofar as they refer to aliens inside the United States.
20
21          216. Alternatively, CBP officials may place noncitizens directly into regular
22    removal proceedings by issuing an NTA. 8 U.S.C. §§ 1225(b)(2), 1229(a)(1), 1229a.
23    Once in regular removal proceedings, the asylum seeker can submit an asylum ap-
24    plication and must receive a full hearing before an Immigration Judge, file an ad-
25    ministrative appeal with the Board of Immigration Appeals, and seek judicial re-
26    view. 8 U.S.C. § 1229a(a)(1) (“An immigration judge shall conduct proceedings for
27    deciding the inadmissibility or deportability of an alien.”).
28          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no

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1     response is required. To the extent the Court requires a response, Defendants admit
2     the allegations in this paragraph only insofar as it applies to aliens inside the United
3     States.
4
               217. At the discretion of the DHS Secretary, an individual may also be tem-
5
      porarily paroled into the United States for urgent humanitarian reasons or significant
6
      public benefit. When the purposes of such parole have been served, the individual
7
      must be returned to the custody from which he was paroled, after which his case will
8
      continue to be handled in the same manner as that of any other applicant for admis-
9
      sion to the United States. 8 U.S.C. § 1182(d)(5)(A).
10
               Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
11
      response is required. To the extent the Court requires a response, Defendants admit
12
      the allegations in this paragraph only insofar as they apply to aliens inside the United
13
      States.
14
15             218. Despite these prescribed procedures, CBP has implemented a policy
16    and regularly employs a variety of egregious practices (including those described
17    above) that have one unlawful result: directly or constructively depriving Class
18    Plaintiffs, and the asylum seekers they represent, of meaningful access to the asylum
19    process, and thereby violating their right to seek asylum under U.S. law.
20             Answer: Defendants deny the allegations in this paragraph.
21
               219. Acknowledging the illegality of the Trump administration’s ongoing
22
      pushbacks of asylum seekers at the border, the House Appropriations Committee
23
      called on DHS in July 2018 to “ensure that the United States is meeting its legal
24
      obligations, to include reminding field officers and agents about CBP’s legal respon-
25
      sibilities to ensure that asylum-seekers can enter at POES.”87
26
               Answer: Defendants admit that a draft of the 2019 Department of Homeland
27
28    87
           Bill Report Draft, supra note 78, at 4.

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1     Security Appropriations Bill contains this statement.
2
      B.    Defendants Have No Authority Under the INA to Turn Back a Noncitizen
3           Seeking Admission at a POE
4           220. CBP’s authority is limited to that granted by Congress in the INA.
5     Nothing in the INA authorizes Defendants, through their officers and employees, to
6     turn back a noncitizen who seeks admission at a POE.
7           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
8     response is required. To the extent the Court requires a response, Defendants aver
9     that the Executive has the constitutional and statutory authority and duty to control
10    the border, and that the INA vests the Secretary of Homeland Security with the au-
11    thority and duty to control the flow of travel across the border into the ports of entry.
12
13          221. When inspecting a noncitizen who arrives at a POE, CBP officials must

14    follow the procedures mandated by Congress in 8 U.S.C. § 1225. Pursuant to this

15    section, CBP officials are limited to the following possible actions with respect to

16    any arriving noncitizen who is not clearly and beyond a doubt entitled to be admitted:

17              a. Place arriving noncitizens who are inadmissible under one of two

18                 grounds specified by statute in expedited removal proceedings pursuant

19                 to 8 U.S.C. § 1225(b)(1)(A)(i);

20              b. Refer any noncitizen placed in expedited removal proceedings who ex-

21                 presses either an intent to apply for asylum or a fear of persecution if

22                 returned to his or her home country to an asylum officer for a credible

23                 fear   interview    pursuant    to   8   U.S.C.    §§    1225(b)(1)(A)(ii),

24                 1225(b)(1)(B);

25              c. Place “other” arriving noncitizens (i.e., those who are not placed in ex-

26                 pedited removal proceedings under 8 U.S.C. § 1225(b)(1)(A) and who

27                 are neither crewmen nor stowaways) in removal proceedings under 8

28                 U.S.C. § 1229a pursuant to 8 U.S.C. § 1225(b)(2);


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1               d. Follow other removal procedures with respect to noncitizens suspected
2                  of being inadmissible on terrorism or related security grounds pursuant
3                  to 8 U.S.C. § 1225(c); or
4               e. Accept from the noncitizen a voluntary (i.e., non-coerced) withdrawal
5                  of her application for admission pursuant to 8 U.S.C. § 1225(a)(4) and
6                  8 C.F.R. § 235.4.
7           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
8     response is required. To the extent the Court requires a response, Defendants admit
9     the allegations in the first sentence of this paragraph. With respect to the remaining
10    allegations in this paragraph, Defendants admit only that the INA and the legal au-
11    thorities implementing it and interpreting it speak for themselves.
12
            222. Defendants, through their officers, employees, and agents, act without
13
      authority and in violation of the law when they directly deny an individual access to
14
      the U.S. asylum process at a POE.
15
            Answer: This paragraph consists of Plaintiffs’ legal conclusions and charac-
16
      terizations, to which no response is required. To the extent the Court requires a re-
17
      sponse, Defendants admit only that an alien who is physically present in the United
18
      States or who arrives in the United States may apply for asylum.
19
20          223. Defendants, through their officers, employees, and agents, act without
21    authority and in violation of the law when they constructively deny an individual’s
22    access to the asylum process by unreasonably delaying their ability to present them-
23    selves at a POE.
24          Answer: This paragraph consists of Plaintiffs’ legal conclusions and charac-
25    terizations, to which no response is required. To the extent the Court requires a re-
26    sponse, Defendants deny they have constructively denied anyone access to the asy-
27    lum process and aver instead that they permit aliens without entry documents to
28    cross the border into a port of entry as the ports’ processing capacities permit.

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1               224. Moreover, Defendants’ Turnback Policy is ultra vires.
2               Answer: Defendants deny they have implemented a “Turnback Policy.” De-
3     fendants aver that their metering/queue management procedures are not ultra vires.
4
      C.        Class Plaintiffs Are Entitled to Procedural Due Process Rights Under the
5               Fifth Amendment to the U.S. Constitution
6               225. The Due Process Clause of the Fifth Amendment to the U.S. Constitu-
7     tion prohibits the federal government from depriving any person of “life, liberty, or
8     property, without due process of law.” U.S. Const. Amend. V. In addition, where
9     Congress has granted statutory rights and has directed an agency to establish a pro-
10    cedure for providing such rights, the Constitution requires the government to estab-
11    lish a fair procedure and to abide by that procedure. In the asylum context, U.S. law
12    mandates that asylum seekers be provided with such process. Multiple courts have
13    recognized that such procedural rights are critical in the asylum context and can re-
14    sult in life or death decisions, because applicants wrongly denied asylum can be
15    subject to death or other serious harm in their home countries. See, e.g., Marincas v.
16    Lewis, 92 F.3d 195, 203 (3d Cir. 1996) (“The basic procedural rights Congress in-
17    tended to provide asylum applicants . . . are particularly important because an appli-
18    cant erroneously denied asylum could be subject to death or persecution if forced to
19    return to his or her home country.”).
20              Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
21    response is required. To the extent the Court requires a response, Defendants admit
22    that Plaintiffs have accurately quoted the Due Process Clause, but deny that either
23    the Fifth Amendment or the statutory right to apply for asylum extend extraterrito-
24    rially.
25
26              226. The INA and its implementing regulations provide Class Plaintiffs with

27    the right to be processed at a POE and granted meaningful access to the asylum

28    process. See, e.g., 8 U.S.C. §§ 1158(a)(1), 1225(a)(3), 1225(b)(1)(A)(ii),


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1     1225(b)(1)(B), 1225(b)(2). By systematically turning away asylum seekers present-
2     ing themselves at POEs along the U.S.-Mexico border or unreasonably delaying
3     their inspections—and thus directly or constructively denying them access to the
4     asylum process, Defendants have failed to comply with the due process procedures
5     for processing asylum seekers under the INA and its implementing regulations.
6           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
7     response is required. To the extent the Court requires a response, Defendants admit
8     that an alien who is physically present in the United States or who arrives in the
9     United States may apply for asylum. Defendants deny that they are “systematically
10    turning away asylum seekers presenting themselves at POEs along the U.S.-Mexico
11    border or unreasonably delaying their inspections,” and aver instead that CBP has
12    granted the ports the discretion to implement metering/queue management proce-
13    dures based on the ports’ processing capacities when it is necessary or appropriate
14    to facilitate orderly processing and to maintain the security of the port and safe and
15    sanitary conditions for the traveling public. See Ex. 1, Owen Memo.
16
      D.    The Non-Refoulement Doctrine Under International Law Requires Im-
17          plementation and Adherence to a Procedure to Ensure Prompt Access to
18          Asylum
19          227. The United States is obligated by a number of treaties and protocols to
20    adhere to the duty of non-refoulement—a duty that prohibits a country from return-
21    ing or expelling an individual to a country where he or she has a well-founded fear
22    of persecution and/or torture and that requires processes that ensure fair and efficient
23    administration of the asylum process.
24          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
25    response is required. To the extent the Court requires a response, Defendants admit
26    that they are bound to adhere to the duty of non-refoulement insofar as they are ob-
27    ligated by treaty, statute, or regulation.
28
            228. The Office of the United Nations High Commissioner for Refugees

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1     (“UNHCR”) has described non-refoulement as “the cornerstone of international ref-
2     ugee protection,” and notes that it is “of particular relevance to asylum-seekers.”88
3     The primary treaty source for the duty of non-refoulement is the 1951 Convention
4     on the Rights of Refugees. Article 33 of the Convention prohibits a state from re-
5     turning “a refugee in any manner whatsoever to the frontiers of territories where his
6     life or freedom would be threatened on account of his race, religion, nationality,
7     membership of a particular social group or political opinion.”89 As UNHCR has ex-
8     plained, the Treaty’s emphasis on “any manner” of refoulement reflects a state duty
9     to avoid using direct or indirect ways of subjecting a person to a risk of return to
10    persecution.90
11             Answer: Defendants admit only that Plaintiffs have accurately quoted certain
12    portions of the cited 2007 UNHCR advisory opinion. Defendants aver that Article
13    33.1 of the 1951 Convention on the Rights of Refugees states in its entirety: “No
14    Contracting State shall expel or return (“refouler”) a refugee in any manner whatso-
15    ever to the frontiers of territories where his life or freedom would be threatened on
16    account of his race, religion, nationality, membership of a particular social group or
17    political opinion.”
18
               229. In addition, the duty of non-refoulement extends not only to a person’s
19
      country of origin, “but also to any other place where a person has reason to fear
20
      threats to his or her life or freedom related to one or more of the grounds set out in
21
      the 1951 Convention, or from where he or she risks being sent to such a risk.”91
22
23    88
         Advisory Opinion on the Extraterritorial Application of Non-Refoulement Obliga-
24    tions under the 1951 Convention relating to the Status of Refugees and its 1967 Pro-
25    tocol, UNHCR (Jan. 26, 2007), http://www.unhcr.org/4d9486929.pdf.
      89
26         1951 Refugee Convention, Art. 33 (emphasis added).
      90
27         Id. at 7.
      91
28         Id. at 3 (citing UNHCR, Note on Non-Refoulement (EC/SCP/2), 1977 ¶4).


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1     Accordingly, a state must not only prevent return to danger, it must take affirmative
2     measures to prevent a risk of harm by “adopt[ing] a course that does not result in
3     [asylum seekers] removal, directly or indirectly, to a place where their lives or free-
4     dom would be in danger.”92 This includes “access to the territory and to fair and
5     efficient asylum procedures.”93
6              Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
7     response is required. To the extent the Court requires a response, Defendants admit
8     only that the 1951 Convention and the binding U.S. authorities interpreting it and
9     implementing it speak for themselves.
10
               230. The United States adopted the protections of Article 33 by signing onto
11
      the 1967 Protocol Relating to the Status of Refugees, which incorporated Articles 2-
12
      34 of the 1951 Convention.
13
               Answer: Defendants admit that the United States adheres to Articles 2
14
      through 34 of the 1951 Refugee Convention by virtue of its accession to the 1967
15
      Protocol Relating to the Status of Refugees on November 1, 1968.
16
17             231. The prohibition against refoulement is likewise central to other treaties
18    ratified by the United States, including the International Covenant on Civil and Po-
19    litical Rights (“ICCPR”) and the Convention Against Torture (“CAT”), both of
20    which prohibit returning an individual to harm and obligate the United States to im-
21    plement and follow legal procedures to protect refugees’ right to non-refoulement.94
22             Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
23    response is required. To the extent the Court requires a response, Defendants admit
24    only that the cited legal authorities and the binding U.S. authorities interpreting them
25
26
      92
           Id. at ¶ 8.
27    93
           Id. (emphasis added).
28    94
           See ICCPR, Art. 13; CAT, Art. 3.

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1     speak for themselves.
2
               232. In order to effectuate an asylum seeker’s right to non-refoulement, the
3
      United States is obligated to implement and follow procedures to ensure that his or
4
      her request for asylum be duly and efficiently considered. The United States imple-
5
      mented this legal obligation with the passage of the 1980 Refugee Act, which estab-
6
      lished a procedure for a noncitizen physically present in the United States or at a
7
      land border or POE to apply for asylum.95
8
               Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
9
      response is required. To the extent the Court requires a response, Defendants admit
10
      that U.S. statutory law, including the Refugee Act of 1980, and the binding U.S.
11
      authorities interpreting it and implementing it speak for themselves.
12
13             233. In practice, the duty of non-refoulement covers not only those refugees
14    and asylum seekers already present inside the country, but also those who present
15    themselves at POEs along the U.S. border. The duty requires U.S. officials such as
16    Defendants to process those seeking to cross the U.S. border and not to deny or un-
17    reasonably delay their access to an efficient, lawful process to present a claim for
18    asylum.
19             Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
20    response is required. To the extent the Court requires a response, Defendants admit
21    only that an alien who is physically present in the United States or who arrives in the
22    United States may apply for asylum.
23
               234. The norm of non-refoulement is specific, universal and obligatory. It is
24
      so widely accepted that it has reached the status of jus cogens—a norm not subject
25
26
27
28    95
           See Refugee Act of 1980, Pub. L. No. 96-212, § 201(b), 94 Stat. 102 (1980).

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1     to derogation. Indeed, in 1996, the United Nations Executive Committee on the In-
2     ternational Protection of Refugees explicitly concluded that the non-refoulement
3     principle had achieved the status of a norm “not subject to derogation.”96 The prin-
4     ciple was recognized as such in the 1984 Cartagena Declaration on Refugees; was
5     included in a portion of the Refugee Convention from which derogation is not per-
6     mitted; and has been recognized by bodies, including the Inter-American Commis-
7     sion on Human Rights and the Organization of American States General Assembly.
8           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
9     response is required. To the extent the Court requires a response, Defendants deny
10    Plaintiffs’ characterizations of the non-refoulement obligation and therefore deny
11    the first and second sentences of this paragraph. Defendants aver that the cited au-
12    thorities speak for themselves.
13
            235. Defendants’ policy and actions to actively or constructively deny Class
14
      Plaintiffs, and the asylum seekers they represent, access to the U.S. asylum process
15
      violate their binding and enforceable obligations under international law.
16
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
17
      response is required. To the extent the Court requires a response, Defendants deny
18
      the allegations in this paragraph.
19
20                         VI. CLASS ACTION ALLEGATIONS
21          236. Class Plaintiffs bring this action pursuant to Federal Rules of Civil Pro-
22    cedure 23(a) and 23(b)(2) on behalf of themselves and all other persons similarly
23    situated. The proposed class is defined as follows:
24          All noncitizens who seek or will seek to access the U.S. asylum process
25          by presenting themselves at a POE along the U.S.-Mexico border and
            are denied access to the U.S. asylum process by or at the instruction of
26
27
      96
28      Executive Committee Conclusion No. 79, General Conclusion on International
      Protection (1996).

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1              CBP officials.
2              Answer: Defendants deny that Plaintiffs’ proposed class definition satisfies
3     the elements of Federal Rule of Civil Procedure 23.
4
               237. The class is so numerous that joinder of all members is impracticable.
5
      CBP’s misconduct toward asylum seekers at POEs along the U.S.-Mexico border
6
      has been the focus of monitoring, reporting and advocacy by numerous well-re-
7
      spected non-governmental organizations. These organizations have investigated and
8
      documented thousands of examples of asylum seekers being turned back by CBP
9
      officials. Many more asylum seekers likely have been the victims of this unlawful
10
      conduct as these abuses often go unreported. Asylum seekers who are turned back
11
      at the border are continuously moving and relocating, also making joinder impracti-
12
      cable.
13
               Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
14
      response is required. To the extent the Court requires a response, Defendants deny
15
      that Plaintiffs’ proposed class satisfies Rule 23(a)’s numerosity requirement.
16
17             238. There are questions of law and fact that are common to the class. The
18    class alleges common harms: denial of access to the asylum process at POEs along
19    the U.S.-Mexico border and a violation of the right not to be returned to countries
20    where they fear persecution. The class members’ entitlement to these rights is based
21    on a common core of facts. All members of the proposed class have attempted to
22    seek asylum by presenting themselves at a POE along the U.S.-Mexico border. All
23    of them have expressed a fear of persecution or a desire to apply for asylum, or
24    would have done so but for the conduct of Defendants. These facts entitle all of them
25    to the opportunity to seek asylum. Yet each class member has been and likely will
26    again be unlawfully denied access to the U.S. asylum process by CBP. Moreover,
27    all class members raise the same legal claims: that U.S. law requires CBP officials
28

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1     at POEs to give them meaningful access to the asylum process. Their shared com-
2     mon facts will ensure that judicial findings regarding the legality of the challenged
3     practices will be the same for all class members. Should Class Plaintiffs prevail, all
4     class members will benefit; each of them will be entitled to a prompt, lawful inspec-
5     tion at a POE along the U.S.-Mexico border and an opportunity to seek asylum.
6           Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
7     response is required. To the extent the Court requires a response, Defendants deny
8     that Plaintiffs’ proposed class satisfies Rule 23(a)’s commonality requirement.
9
            239. Class Plaintiffs’ claims are typical of the claims of the class. Class
10
      Plaintiffs and class members raise common legal claims and are united in their in-
11
      terest and injury. All Class Plaintiffs, like all class members, are asylum seekers to
12
      whom CBP officials unlawfully denied, whether actively or constructively, access
13
      to the U.S. asylum process after they presented themselves at POEs along the U.S.-
14
      Mexico border. Class Plaintiffs and class members are thus victims of the same,
15
      unlawful course of conduct.
16
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
17
      response is required. To the extent the Court requires a response, Defendants deny
18
      that Plaintiffs’ proposed class satisfies Rule 23(a)’s typicality requirement.
19
20          240. Class Plaintiffs are adequate representatives. Class Plaintiffs seek relief
21    on behalf of the class as a whole and have no interest antagonistic to other members
22    of the class. Class Plaintiffs’ mutual goal is to declare Defendants’ challenged poli-
23    cies and practices unlawful and to obtain declaratory and injunctive relief that would
24    cure this illegality. Class Plaintiffs seek a remedy for the same injuries as the class
25    members, and all share an interest in having a meaningful opportunity to seek asy-
26    lum. Thus, the interests of the Class Plaintiffs and of the class members are aligned.
27          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
28    response is required. To the extent the Court requires a response, Defendants deny

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1     that the individual Plaintiffs would be adequate representatives of the class Plaintiffs
2     seek to represent.
3
            241. Class Plaintiffs are represented by attorneys from the Southern Poverty
4
      Law Center, the Center for Constitutional Rights, the American Immigration Coun-
5
      cil, and Latham & Watkins LLP. Counsel have a demonstrated commitment to pro-
6
      tecting the rights and interests of noncitizens and, together, have considerable expe-
7
      rience in handling complex and class action litigation in the immigration field. Coun-
8
      sel have represented numerous classes of immigrants and other victims of systematic
9
      government misconduct in actions in which they successfully obtained class relief.
10
            Answer: Defendants admit that counsel for Al Otro Lado, Inc., and the indi-
11
      vidual Plaintiffs would be adequate class counsel.
12
13          242. Defendants have acted or refused to act on grounds that are generally
14    applicable to Class Plaintiffs and the class. Defendants have failed to provide Class
15    Plaintiffs and class members with meaningful access to the U.S. asylum process.
16    Defendants’ actions violate Class Plaintiffs’ and class members’ statutory, regula-
17    tory and constitutional rights to access to the asylum process. Declaratory and in-
18    junctive relief are appropriate remedies.
19          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
20    response is required. To the extent the Court requires a response, Defendants deny
21    that Plaintiffs’ proposed class satisfies Rule 23(b)(2). Defendants deny that Plaintiffs
22    are entitled to the relief they seek
23
            243. In the absence of a class action, there is substantial risk that individual
24
      actions would be brought in different venues, creating a risk of inconsistent injunc-
25
      tions to address Defendants’ common conduct.
26
            Answer: Defendants deny the allegations in this paragraph.
27
28

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1                               FIRST CLAIM FOR RELIEF
2                Declaratory and Injunctive Relief Against All Defendants
3                     (Violation of the Right to Seek Asylum Under the
4                             Immigration and Nationality Act)
5           244. Al Otro Lado and Class Plaintiffs reallege and incorporate by reference
6     each and every allegation contained in the preceding paragraphs as if set forth fully
7     herein.
8           Answer: Defendants repeat and incorporate by reference their answers to
9     each and every allegation contained in the preceding paragraphs as if set forth fully
10    herein.
11
            245. INA § 208(a)(1) (8 U.S.C. § 1158(a)(1)) gives any noncitizen who is
12
      physically present in or who arrives in the United States a statutory right to seek
13
      asylum, regardless of such individual’s immigration status.
14
            Answer: Defendants admit the allegations in this paragraph insofar as they
15
      refer to an alien who has crossed the border into the United States. Defendants deny
16
      the allegations in this paragraph insofar as they refer to an alien who has not crossed
17
      the border into the United States.
18
19          246. When a noncitizen presents himself or herself at a POE and indicates
20    an intention to apply for asylum or a fear of persecution, CBP officials must refer
21    the noncitizen for a credible fear interview under 8 U.S.C. § 1225(b)(1)(A)(ii) and
22    8 C.F.R. § 235.3(b)(4), or, in accordance with 8 U.S.C. § 1225(b)(2), place the
23    noncitizen directly into regular removal proceedings under 8 U.S.C. § 1229(a)(1).
24          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
25    response is required. To the extent the Court requires a response, Defendants admit
26    only that the INA and its implementing regulations speak for themselves.
27
            247. Class Plaintiffs presented themselves at POEs and either asserted an
28

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1     intention to apply for asylum or a fear of persecution in their countries of origin or
2     would have done so but for the Defendants’ conduct. Nevertheless, CBP officials
3     did not refer Class Plaintiffs to an asylum officer for credible fear interviews pursu-
4     ant to 8 U.S.C. § 1225(b)(1)(A)(ii), or, in accordance with 8 U.S.C. § 1225(b)(2),
5     place Class Plaintiffs directly into regular removal proceedings pursuant to 8 U.S.C.
6     § 1229(a)(1).
7           Answer: Defendants lack knowledge or information sufficient to form a be-
8     lief as to the truth of the allegations in this paragraph.
9
            248. Instead, in direct contravention of the INA, CBP officials engaged in
10
      unlawful tactics, including the implementation of the Turnback Policy, that actively
11
      or constructively denied Class Plaintiffs’ access to the statutorily prescribed asylum
12
      process and forced them to return to Mexico.
13
            Answer: Defendants deny that they or any CBP officials have implemented a
14
      “Turnback Policy” or sanctioned the use of unlawful tactics. Defendants deny the
15
      remaining allegations in this paragraph.
16
17          249. CBP officials’ treatment of Class Plaintiffs at the POEs and the U.S.-
18    Mexico border was inflicted at the instigation, under the control or authority, or with
19    the knowledge, consent, direction and/or acquiescence of Defendants.
20          Answer: Defendants deny the allegations in this paragraph.
21
            250. As a result of Defendants’ violations of the INA, Class Plaintiffs have
22
      been damaged—through the active or constructive denial of access to the asylum
23
      process and by being forced to return to Mexico or other countries where they face
24
      threats of further persecution.
25
            Answer: Defendants deny the allegations in this paragraph.
26
27          251. As a result of Defendants’ violations of the INA, Plaintiff Al Otro Lado
28    has been damaged—namely its core mission has been frustrated and it has been

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1     forced to divert substantial resources away from its programs to counteract CBP’s
2     unlawful practices at or near POEs along the U.S.-Mexico border.
3           Answer: Defendants deny the allegations in this paragraph.
4
            252. Defendants’ practices have resulted and will continue to result in irrep-
5
      arable injury, including a continued risk of violence and serious harm to Class Plain-
6
      tiffs and further violations of their statutory rights. Class Plaintiffs and Al Otro Lado
7
      do not have an adequate remedy at law to redress the violations alleged herein, and
8
      therefore seek injunctive relief restraining Defendants from continuing to engage in
9
      the unlawful policy and practices alleged herein.
10
            Answer: Defendants deny the allegations in this paragraph.
11
12          253. Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§ 2201
13    and 2202, this Court may declare the rights or legal relations of any party in any case
14    involving an actual controversy.
15          Answer: Defendants admit that this is an accurate statement of law, but deny
16    the allegations in this paragraph as they apply to this claim for relief.
17
            254. An actual controversy has arisen and now exists between Class Plain-
18
      tiffs and Al Otro Lado, on one hand, and Defendants, on the other. Class Plaintiffs
19
      and Al Otro Lado contend that Defendants’ Turnback Policy, as well as the conduct
20
      and practices carried out in reliance on it, as alleged in this Second Amended Com-
21
      plaint, violate the INA. On information and belief, Defendants contend that their
22
      Turnback Policy, conduct and practices are lawful.
23
            Answer: Defendants admit that there is an actual controversy between De-
24
      fendants and the individual Plaintiffs, as the individual Plaintiffs contend that De-
25
      fendants’ metering procedures are unlawful, and Defendants contend they are law-
26
      ful. Defendants deny the remaining allegations in this paragraph.
27
28          255. Class Plaintiffs and Al Otro Lado therefore request and are entitled to

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1     a judicial determination as to the rights and obligations of the parties with respect to
2     this controversy, and such a judicial determination of these rights and obligations is
3     necessary and appropriate at this time.
4           Answer: Defendants deny that Plaintiffs are entitled to the relief they seek.
5
                               SECOND CLAIM FOR RELIEF
6
                Declaratory Relief and Injunctive Relief Against All Defendants
7
                (Violation of Section 706(1) of the Administrative Procedure Act)
8
            256. Al Otro Lado and Class Plaintiffs reallege and incorporate by reference
9
      each and every allegation contained in the preceding paragraphs as if set forth fully
10
      herein.
11
            Answer: Defendants repeat and incorporate by reference their answers to
12
      each and every allegation contained in the preceding paragraphs as if set forth fully
13
      herein.
14
15          257. The Administrative Procedure Act (“APA”) (5 U.S.C. § 551, et. seq.)
16    authorizes suits by “[a] person suffering legal wrong because of agency action, or
17    adversely affected or aggrieved by agency action within the meaning of a relevant
18    statute.” 5 U.S.C. § 702. The APA also provides relief for a failure to act: “The
19    reviewing court shall . . . compel agency action unlawfully withheld or unreasonably
20    delayed.” 5 U.S.C. § 706(1).
21          Answer: Defendants admit that this is an accurate statement of law.
22
            258. CBP officials, at the instigation, under the control or authority of, or
23
      with the direction, knowledge, consent, or acquiescence of Defendants, have en-
24
      gaged in an unlawful widespread pattern or practice of denying and unreasonably
25
      delaying asylum seekers’ access to the asylum process by, among other tactics: ly-
26
      ing; using threats, intimidation and coercion; employing verbal abuse and applying
27
      physical force; physically blocking access to POE buildings; imposing unreasonable
28

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1     delays before granting access to the asylum process; denying outright access to the
2     asylum process; and denying access to the asylum process in a racially discrimina-
3     tory manner.
4              Answer: Defendants admit that, in the course of implementing their metering
5     procedures, CBP officers have utilized physical access controls at the ports of entry
6     along the U.S.-Mexico border and have, at times, instructed aliens without entry
7     documents that they must wait in Mexico until the port has sufficient capacity to
8     process them for admission. Defendants deny the remaining allegations in this par-
9     agraph.
10
               259. CBP officials, at the instigation, under the control or authority of, or
11
      with the direction, knowledge, consent, or acquiescence of Defendants, have also
12
      adopted and implemented the Turnback Policy, restricting access to the asylum pro-
13
      cess at POEs by mandating that CBP officers directly or constructively turn back
14
      asylum seekers at the border based on purported “capacity” constraints.
15
               Answer: Defendants deny the allegations in this paragraph.
16
17             260. Through this conduct, CBP officials have failed, in violation of the
18    APA, to take actions mandated by the following statutes and implementing regula-
19    tions:
20       • 8 U.S.C. § 1225(a)(1)(3) (“All aliens . . . who are applicants for admission or
21         otherwise seeking admission or readmission to or transit through the United
           States shall be inspected by immigration officers.”) (emphasis added);
22
         • 8 U.S.C. § 1225(b)(1)(A)(ii) (“If an immigration officer determines that an
23         alien . . . who is arriving in the United States . . . is inadmissible . . . and the
24         alien indicates either an intention to apply for asylum under section 1158 of
           this title or a fear of persecution, the officer shall refer the alien for an inter-
25
           view by an asylum officer . . . .”) (emphasis added);
26
         • 8 U.S.C. § 1225(b)(2) (“[I]n the case of an alien who is an applicant for ad-
27         mission, if the examining immigration officer determines that an alien seeking
28         admission is not clearly and beyond a doubt entitled to be admitted, the alien


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1              shall be detained for a proceeding under section 1229a of this title.”); and
2        • 8 C.F.R. § 235.3(b)(4) (“If an alien subject to the expedited removal provi-
3          sions indicates an intention to apply for asylum, or expresses a fear of perse-
           cution or torture, or a fear of return to his or her country, the inspecting officer
4          shall not proceed further with removal of the alien until the alien has been
5          referred for an interview by an asylum officer . . . .”) (emphasis added).
6              Answer: Defendants deny that they have implemented a “Turnback Policy”
7     or an unlawful, widespread pattern or practice that violates these statutory provi-
8     sions. Defendants deny that their metering practices violate these statutory provi-
9     sions.
10
               261. Through this conduct, CBP officials have also failed, in violation of the
11
      APA, to take the above-listed mandated actions without unreasonable delay.
12
               Answer: Defendants deny that any delay associated with the implementation
13
      of metering procedures is unreasonable.
14
15             262. Defendants’ repeated and pervasive failures to act, and/or to act within
16    a reasonable time, which denied and/or unreasonably delayed Class Plaintiffs’ ac-
17    cess to the statutorily prescribed asylum process, constitute unlawfully withheld and
18    unreasonably delayed agency action and therefore give rise to federal jurisdiction
19    and mandate relief under the APA.
20             Answer: This paragraph consists of legal conclusions, to which no response
21    is required. To the extent the Court requires a response, Defendants deny the allega-
22    tions in this paragraph.
23
               263. As a result of the acts constituting violations of the APA, Class Plain-
24
      tiffs have been damaged through the denial and/or unreasonable delay of access to
25
      the asylum process and by being forced to return to and/or wait in Mexico, where
26
      they face threats of further persecution.
27
               Answer: Defendants deny the allegations in this paragraph.
28

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1           264. As a result of the acts constituting violations of the APA, Plaintiff Al
2     Otro Lado has been damaged—namely, its core mission has been frustrated and it
3     has been forced to divert substantial resources away from its programs to counteract
4     CBP’s unlawful practices at POEs along the U.S.-Mexico border.
5           Answer: Defendants deny the allegations in this paragraph.
6
            265. Defendants’ Turnback Policy and widespread pattern or practice have
7
      resulted and will continue to result in irreparable injury, including a continued risk
8
      of violence and serious harm to Class Plaintiffs and further violations of their statu-
9
      tory and regulatory rights. Class Plaintiffs and Al Otro Lado do not have an adequate
10
      remedy at law to redress the violations alleged herein, and therefore seek injunctive
11
      relief restraining Defendants from continuing to engage in the unlawful practices
12
      alleged herein.
13
            Answer: Defendants deny the allegations in this paragraph.
14
15          266. Al Otro Lado and Class Plaintiffs have exhausted all available admin-
16    istrative remedies and have no adequate remedy at law.
17          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
18    response is required. To the extent the Court requires a response, Defendants deny
19    the allegations in this paragraph.
20
            267. Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§ 2201
21
      and 2202, this Court may declare the rights or legal relations of any party in any case
22
      involving an actual controversy.
23
            Answer: Defendants admit this is an accurate statement of law.
24
25          268. An actual controversy has arisen and now exists between Class Plain-
26    tiffs and Al Otro Lado, on one hand, and Defendants, on the other. Class Plaintiffs
27    and Al Otro Lado contend that Defendants’ Turnback Policy and sanctioning of
28

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1     CBP’s unlawful widespread pattern or practice at POEs along the U.S.-Mexico bor-
2     der, as alleged in this Complaint, violate the APA. On information and belief, De-
3     fendants contend that the Turnback Policy and widespread pattern or practice are
4     lawful.
5           Answer: Defendants admit that there is an actual controversy between De-
6     fendants and the individual Plaintiffs, as the individual Plaintiffs contend that De-
7     fendants’ metering procedures are unlawful, and Defendants contend they are law-
8     ful. Defendants deny the remaining allegations in this paragraph.
9
            269. Class Plaintiffs and Al Otro Lado therefore request and are entitled to
10
      a judicial determination as to the rights and obligations of the parties with respect to
11
      this controversy, and such a judicial determination of these rights and obligations is
12
      necessary and appropriate at this time.
13
            Answer: Defendants deny that Plaintiffs are entitled to the relief they seek.
14
15                              THIRD CLAIM FOR RELIEF
16              Declaratory Relief and Injunctive Relief Against All Defendants
17      (Violation of Section 706(2) of the Administrative Procedure Act—Agency
18         Action in Excess of Statutory Authority and Without Observance of
19                               Procedures Required by Law)
20          270. Al Otro Lado and Class Plaintiffs reallege and incorporate by reference
21    each and every allegation contained in the preceding paragraphs as if set forth fully
22    herein.
23          Answer: Defendants repeat and incorporate by reference their answers to
24    each and every allegation contained in the preceding paragraphs as if set forth fully
25    herein.
26
            271. Under the APA, “the reviewing court shall . . . hold unlawful and set
27
      aside agency action, finding, and conclusions found to be . . . in excess of statutory
28

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1     jurisdiction, authority, or limitations, or short of statutory right [and/or] without ob-
2     servance of procedure required by law.” 5 U.S.C. § 706(2)(C), (D).
3           Answer: Defendants admit that this is an accurate statement of law.
4
            272. Defendants, through implementation of the Turnback Policy and sanc-
5
      tioning of CBP’s unlawful widespread pattern or practice of denying and unreason-
6
      ably delaying asylum seekers’ access to the asylum process, have acted in excess of
7
      their statutorily prescribed authority and without observance of the procedures re-
8
      quired by law in violation of section 706(2) of the APA. See 5 U.S.C. §§ 706(2)(C),
9
      (D). Congress mandated the various procedures that Defendants and their officers,
10
      employees, and agents are authorized and required to follow when inspecting indi-
11
      viduals who seek admission at POEs. See 8 U.S.C. § 1225. Regulations implement-
12
      ing section 1225 also establish the required procedures for inspection of individuals
13
      who seek admission at POEs. See 8 C.F.R. § 235.3(b)(4). None of these procedures
14
      authorizes a CBP official to turn back a noncitizen seeking asylum at a POE, at the
15
      physical U.S.-Mexico border, or any place in between.
16
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
17
      response is required. To the extent the Court requires a response, Defendants deny
18
      they have implemented a “Turnback Policy.” Defendants aver instead that CBP has
19
      issued guidance permitting ports of entry along the U.S.-Mexico border to imple-
20
      ment metering procedures based on their operational capacities when necessary or
21
      appropriate to facilitating orderly processing and maintaining the security of the port
22
      and safe and sanitary conditions for the traveling public. See Ex. 1, Owen Memo.
23
      Defendants deny that the exercise of this discretion violates any of the cited provi-
24
      sions of law, and aver that the exercise of this discretion is authorized by the Exec-
25
      utive’s constitutional authority to control the border and Defendants’ statutory au-
26
      thority to manage the ports of entry.
27
28          273. In turning back Class Plaintiffs and purported class members at POEs

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1     or along the U.S.-Mexico border without following the procedures mandated by the
2     INA and its implementing regulations, CBP officials have acted and continue to act
3     in excess of the authority granted to them by Congress and without observance of
4     procedure required by law.
5           Answer: Defendants deny they have “turned back” anyone at ports of entry
6     along the U.S.-Mexico border, and aver instead that CBP has issued guidance per-
7     mitting ports of entry along the U.S.-Mexico border to implement metering proce-
8     dures based on their operational capacities when necessary or appropriate to facili-
9     tating orderly processing and maintaining the security of the port and safe and sani-
10    tary conditions for the traveling public. See Ex. 1, Owen Memo. Defendants deny
11    they have acted in excess of statutory authority or without observance of procedures
12    required by law.
13
            274. The Turnback Policy is a policy authorized by Defendants with the pur-
14
      pose of restricting and unreasonably delaying asylum seekers’ access to the U.S.
15
      asylum process on the basis of purported capacity constraints at U.S. POEs. Defend-
16
      ants’ own statements and communications, as well as a report of the DHS Office of
17
      Inspector General, confirm Defendants ordered the Turnback Policy and its imple-
18
      mentation by CBP. The Turnback Policy thus constitutes a final agency action under
19
      5 U.S.C. § 704 and a violation of 5 U.S.C. § 706(2).
20
            Answer: Defendants deny the allegations in this paragraph.
21
22          275. Furthermore, each instance where Defendants, through their officers,
23    employees, and agents, directly or constructively deny Class Plaintiffs or purported
24    class members access to the asylum process constitutes a final agency action under
25    5 U.S.C. § 704 and a violation of 5 U.S.C. § 706(2).
26          Answer: Defendants deny the allegations in this paragraph.
27
28

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1           276. As a result of the acts constituting violations of the APA, Class Plain-
2     tiffs have been damaged through the denial, restriction, and/or unreasonable delay
3     of access to the asylum process and by being forced to return to and/or wait in Mex-
4     ico where they face threats of further persecution and/or other serious harm.
5           Answer: Defendants deny the allegations in this paragraph.
6
            277. As a result of the acts constituting violations of the APA, Plaintiff Al
7
      Otro Lado has been damaged—namely, its core mission has been frustrated and it
8
      has been forced to divert substantial resources away from its programs to counteract
9
      CBP’s unlawful practices at POEs along the U.S.-Mexico border.
10
            Answer: Defendants deny the allegations in this paragraph.
11
12          278. Defendants’ Turnback Policy and widespread pattern or practice have
13    resulted and will continue to result in irreparable injury, including a continued risk
14    of violence and serious harm to Class Plaintiffs and further violations of their statu-
15    tory and regulatory rights. Class Plaintiffs and Al Otro Lado do not have an adequate
16    remedy at law to redress the violations alleged herein, and therefore seek injunctive
17    relief restraining Defendants from continuing to engage in the unlawful policy al-
18    leged herein.
19          Answer: Defendants deny the allegations in this paragraph.
20
            279. Al Otro Lado and Class Plaintiffs have exhausted all available admin-
21
      istrative remedies and have no adequate remedy at law.
22
            Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
23
      response is required. To the extent the Court requires a response, Defendants deny
24
      the allegations in this paragraph.
25
26          280. Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§ 2201
27    and 2202, this Court may declare the rights or legal relations of any party in any case
28    involving an actual controversy.

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1           Answer: Defendants admit that this is an accurate statement of law.
2
            281. An actual controversy has arisen and now exists between Class Plain-
3
      tiffs and Al Otro Lado, on one hand, and Defendants, on the other. Class Plaintiffs
4
      and Al Otro Lado contend that Defendants’ Turnback Policy and sanctioning of
5
      CBP’s unlawful widespread pattern or practice at POEs along the U.S.-Mexico bor-
6
      der, as alleged in this Complaint, violate the APA. On information and belief, De-
7
      fendants contend that the Turnback Policy and widespread pattern or practice are
8
      lawful.
9
            Answer: Defendants admit that there is an actual controversy between De-
10
      fendants and the individual Plaintiffs, as the individual Plaintiffs contend that De-
11
      fendants’ metering procedures are unlawful, and Defendants contend they are law-
12
      ful. Defendants deny the remaining allegations in this paragraph.
13
14          282. Class Plaintiffs and Al Otro Lado therefore request and are entitled to
15    a judicial determination as to the rights and obligations of the parties with respect to
16    this controversy, and such a judicial determination of these rights and obligations is
17    necessary and appropriate at this time.
18          Answer: Defendants deny that Plaintiffs are entitled to the relief they seek.
19
                               FOURTH CLAIM FOR RELIEF
20
                Declaratory Relief and Injunctive Relief Against All Defendants
21
                            (Violation of Procedural Due Process)
22
            283. Al Otro Lado and Class Plaintiffs reallege and incorporate by reference
23
      each and every allegation contained in the preceding paragraphs as if set forth fully
24
      herein.
25
            Answer: Defendants repeat and incorporate by reference their answers to
26
      each and every allegation contained in the preceding paragraphs as if set forth fully
27
      herein.
28

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1           284. The Due Process Clause of the Fifth Amendment to the U.S. Constitu-
2     tion prohibits the federal government from depriving any person of “life, liberty, or
3     property, without due process of law.” U.S. Const. Amend. V.
4           Answer: Defendants admit this is an accurate statement of law.
5
            285. Congress has granted certain statutory rights to asylum seekers, such as
6
      Class Plaintiffs and the asylum seekers they represent, and has directed DHS to es-
7
      tablish a procedure for providing such rights. The Due Process Clause thus requires
8
      the government to establish a fair procedure and to abide by that procedure.
9
            Answer: Defendants deny that Congress has granted any alien the statutory
10
      right to apply for asylum while he or she stands outside the United States. Defend-
11
      ants admit the remaining allegations in this paragraph only insofar as they relate to
12
      an alien standing inside the United States’ borders.
13
14          286. As set forth above, the INA and its implementing regulations provide
15    Class Plaintiffs the right to be processed at a POE and granted meaningful access to
16    the asylum process. See 8 U.S.C. §§ 1158(a)(1), 1225(a)(3), 1225(b)(1)(A)(ii),
17    1225(b)(1)(B), 1225(b)(2); see also 8 C.F.R. § 235.3(b)(4).
18          Answer: This paragraph consists of Plaintiffs’ legal conclusions, to which no
19    response is required. To the extent the Court requires a response, Defendants admit
20    only that the cited statutes and regulation speak for themselves.
21
            287. By adopting the Turnback Policy and using a variety of tactics to turn
22
      back asylum seekers at POEs along the U.S.-Mexico border, CBP officials have de-
23
      nied Class Plaintiffs access to the asylum process and failed to comply with proce-
24
      dures set forth in the INA and its implementing regulations.
25
            Answer: Defendants deny the allegations in this paragraph.
26
27          288. CBP officials’ treatment of Class Plaintiffs at the U.S.-Mexico border
28    was inflicted at the instigation, under the control or authority, or with the knowledge,

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1     consent, or acquiescence of Defendants.
2           Answer: Defendants deny the allegations in this paragraph.
3
            289. By denying Class Plaintiffs’ access to the asylum process, Defendants
4
      have violated Class Plaintiffs’ procedural due process rights under the Fifth Amend-
5
      ment to the U.S. Constitution.
6
            Answer: Defendants deny the allegations in this paragraph.
7
8           290. As a result of the Defendants’ violations of the Fifth Amendment to the
9     U.S. Constitution, Class Plaintiffs have been damaged through the denial of access
10    to the asylum process and by being forced to return to Mexico where they face threats
11    of further persecution.
12          Answer: Defendants deny the allegations in this paragraph.
13
            291. Defendants’ practices have resulted and will continue to result in irrep-
14
      arable injury, including a continued risk of violence and serious harm to Class Plain-
15
      tiffs and further violations of their constitutional rights. Class Plaintiffs do not have
16
      an adequate remedy at law to redress the violations alleged herein, and therefore
17
      seek injunctive relief restraining Defendants from engaging in the unlawful policy,
18
      conduct and practices alleged herein.
19
            Answer: Defendants deny the allegations in this paragraph.
20
21          292. An actual controversy exists between Class Plaintiffs, on one hand, and
22    Defendants, on the other. Class Plaintiffs contend that Defendants’ Turnback Policy
23    and sanctioning of CBP’s unlawful widespread pattern or practice at POEs along the
24    U.S.-Mexico border, as alleged in the Complaint, violate the Fifth Amendment to
25    the United States Constitution. On information and belief, Defendants contend that
26    the Turnback Policy and widespread pattern or practice are lawful.
27          Answer: Defendants admit that there is an actual controversy between De-
28

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1     fendants and the individual Plaintiffs, as the individual Plaintiffs contend that De-
2     fendants’ metering procedures are unlawful, and Defendants contend they are law-
3     ful. Defendants deny the remaining allegations in this paragraph.
4
            293. Class Plaintiffs therefore request and are entitled to a judicial determi-
5
      nation as to the rights and obligations of the parties with respect to this controversy,
6
      and such a judicial determination of these rights and obligations is necessary and
7
      appropriate at this time.
8
            Answer: Defendants deny the allegations in this paragraph.
9
10                                FIFTH CLAIM FOR RELIEF
11              Declaratory Relief and Injunctive Relief Against All Defendants
12                       (Violation of the Non-Refoulement Doctrine)
13          294. Class Plaintiffs reallege and incorporate by reference each and every
14    allegation contained in the preceding paragraphs as if set forth fully herein.
15          Answer: Defendants repeat and incorporate by reference their answers to
16    each and every allegation contained in the preceding paragraphs as if set forth fully
17    herein.
18
            295. CBP officials have systematically denied, or unreasonably delayed, ac-
19
      cess to the asylum process by Class Plaintiffs, and the asylum seekers they represent,
20
      in violation of customary international law reflected in treaties which the United
21
      States has ratified and implemented: namely, the specific, universal and obligatory
22
      norm of non-refoulement, which has also achieved the status of a jus cogens norm,
23
      and which forbids a country from returning or expelling an individual to a country
24
      where he or she has a well-founded fear of persecution and/or torture, whether it is
25
      her home country or another country.
26
            Answer: Defendants deny the allegations in this paragraph.
27
28          296. The duty of non-refoulement also requires the adoption of procedures

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1     to ensure prompt, efficient, and unbiased access to the asylum process.
2           Answer: Defendants deny the allegations in this paragraph.
3
            297. CBP officials’ treatment of Class Plaintiffs at the U.S.-Mexico border
4
      was inflicted at the instigation, under the control or authority, or with the knowledge,
5
      consent, direction or acquiescence of Defendants.
6
            Answer: Defendants deny the allegations in this paragraph.
7
8           298. Defendants’ conduct is actionable under the Alien Tort Statute,
9     28 U.S.C. § 1350, which authorizes declaratory and injunctive relief.
10          Answer: Defendants deny the allegations in this paragraph.
11
            299. As a result of the acts constituting violations of the jus cogens norm of
12
      non-refoulement, Class Plaintiffs have been damaged through denial or unreasona-
13
      ble delay of access to the asylum process and by being forced to return to Mexico or
14
      other countries where they face threats of further persecution.
15
            Answer: Defendants deny the allegations in this paragraph.
16
17          300. As a result of the acts constituting violations of the norm of non-re-
18    foulement, Al Otro Lado has been damaged—namely, its core mission has been frus-
19    trated and it has been forced to divert substantial resources away from its programs
20    to counteract CBP’s unlawful practices at POEs along the U.S.-Mexico border.
21          Answer: Defendants deny the allegations in this paragraph.
22
            301. Defendants’ practices have resulted and will continue to result in irrep-
23
      arable injury, including a continued risk of violence and serious harm to Class Plain-
24
      tiffs and further infringement of the protections afforded to them under international
25
      law. Class Plaintiffs and Al Otro Lado do not have an adequate remedy at law to
26
      redress the violations alleged herein, and therefore seek injunctive relief restraining
27
      Defendants from engaging in the unlawful conduct and practices alleged herein.
28

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1           Answer: Defendants deny the allegations in this paragraph.
2
            302. An actual controversy exists between Class Plaintiffs and Al Otro Lado,
3
      on one hand, and Defendants, on the other. Class Plaintiffs and Al Otro Lado contend
4
      that Defendants’ Turnback Policy, as well as the widespread pattern or practice car-
5
      ried out in reliance on it, as alleged in this Complaint, violate the norm of non-re-
6
      foulement. On information and belief, Defendants contend that their policy, conduct
7
      and practices are lawful.
8
            Answer: Defendants deny the allegations in this paragraph.
9
10          303. Class Plaintiffs and Al Otro Lado therefore request and are entitled to
11    a judicial determination as to the rights and obligations of the parties with respect to
12    this controversy, and such a judicial determination of these rights and obligations is
13    necessary and appropriate at this time.
14          Answer: Defendants deny Plaintiffs are entitled to the relief they seek.
15
                                    PRAYER FOR RELIEF
16
            304. WHEREFORE, Plaintiff Al Otro Lado and Class Plaintiffs respectfully
17
      request that the Court:
18
                a. Issue an order certifying a class of individuals pursuant to Federal Rule
19
                   of Civil Procedure 23(a) and 23(b)(2);
20
                b. Appoint the undersigned as class counsel pursuant to Federal Rule of
21
                   Civil Procedure 23(g);
22
                c. Issue a judgment declaring that Defendants’ Turnback Policy, as well
23
                   as the practices, acts and/or omissions described herein, give rise to
24
                   federal jurisdiction;
25
                d. Issue a judgment declaring that Defendants’ Turnback Policy, as well
26
                   as the practices, acts and/or omissions described herein, violate one or
27
                   more of the following:
28

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1                     (1) The Immigration and Nationality Act, based on violations of 8
2                          U.S.C. §§ 1158 and 1225;
3                     (2) Section 706(1) of the Administrative Procedure Act, based on the
4                          unlawful withholding and unreasonable delay of agency action
5                          mandated by 8 U.S.C. § 1225 and 8 C.F.R. § 235.3;
6                     (3) Section 706(2) of the Administrative Procedure Act;
7                     (4) The Due Process Clause of the Fifth Amendment; and
8                     (5) The duty of non-refoulement under international law;
9               e. Issue injunctive relief requiring Defendants to comply with the laws
10                  and regulations cited above;
11              f. Issue injunctive relief prohibiting Defendants, and any of their officers,
12                  agents, successors, employees, representatives, and any and all persons
13                  acting in concert with them or on their behalf, from continuing to im-
14                  plement the Turnback Policy and from engaging in the unlawful prac-
15                  tices, acts and/or omissions described herein at POEs along the U.S.-
16                  Mexico border;
17              g. Issue injunctive relief requiring Defendants to implement procedures to
18                  provide effective oversight and accountability in the inspection and
19                  processing of individuals who present themselves at POEs along the
20                  U.S.-Mexico border for the purpose of seeking asylum;
21              h. Award Plaintiffs their reasonable attorneys’ fees, costs and other ex-
22                  penses pursuant to 28 U.S.C. § 2412, and other applicable law; and
23              i. Grant any and all such other relief as the Court deems just and equita-
24                  ble.
25           Answer: This paragraph consists of Plaintiffs’ prayer for relief, to which no
26    response is required. To the extent the Court requires a response, Defendants deny
27    that Plaintiffs are entitled to any relief.
28

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1                                AFFIRMATIVE DEFENSES
2           1.     This Court does not have jurisdiction to review Defendants’ actions,
3     certify a class, or grant declaratory or injunctive relief related to Defendants’ imple-
4     mentation of 8 U.S.C. § 1225(b)(1). See 8 U.S.C. §§ 1252(a)(2)(A)(i)–(iv), (e);
5     Defs.’ Reply in Support of Mot. to Dismiss, at 5 n.4 (ECF No. 238); see also, e.g.,
6     Am. Order on Defs.’ Mot. to Dismiss, at 5 (ECF No. 280) (“This case turns on the
7     Section 1225(b) asylum procedure that Section 1158 incorporates.”).
8
9     DATED: August 16, 2019                  Respectfully submitted,

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11                                            Assistant Attorney General
12                                            WILLIAM C. PEACHEY
13                                            Director
14
                                              GISELA A. WESTWATER
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                                              /s/ Alexander J. Halaska
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1                                 CERTIFICATE OF SERVICE
2           I certify that on August 16, 2019, I served a copy of this document on the
3     Court and all parties of record by filing it with the Clerk of the Court through the
4     CM/ECF system, which will provide notice and an electronic link to this document
5     to all counsel of record.
6
7                                           /s/ Alexander J. Halaska
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